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                           Exhibit 38
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   1              IN THE UNITED STATES DISTRICT COURT
   2                  SOUTHERN DISTRICT OF FLORIDA
   3    ____________________________________
                                            )
   4    ALEKSEJ GUBAREV, XBT HOLDING S.A., )
        and WEBZILLA, INC.,                 )
   5                                        )
                       Plaintiffs,          )
   6    vs.                                 ) Case No.:
                                            ) 17-CV-60426-UU
   7    BUZZFEED, INC., and BEN SMITH,      )
                                            )
   8                   Defendants.          )
        ____________________________________)
   9
  10
  11                        ** CONFIDENTIAL **
  12             ** PURSUANT TO A PROTECTIVE ORDER **
  13
  14
  15                    VIDEOTAPED DEPOSITION OF
  16                           NIKOLAY DVAS
  17                         LIMASSOL, CYPRUS
  18                     THURSDAY, MAY 17, 2018
  19                            9:45 A.M.
  20
  21
  22
  23
  24
  25    REPORTED BY: BRENDA MATZOV, CA CSR 9243

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   1                Videotaped deposition of NIKOLAY DVAS,
   2    taken in the above-entitled cause pending in the
   3    United States District Court, Southern District of
   4    Florida, pursuant to notice, before BRENDA MATZOV,
   5    CA CSR 9243, at Elias Neocleous & Co., Neocleous
   6    House, 195 Makarious III Avenue, Floor -1, Limassol,
   7    Cyprus, on Thursday, the 17th day of May, 2018, at
   8    9:45 a.m.
   9
  10
  11    APPEARANCES:
  12    FOR PLAINTIFFS:
  13                BOSTON LAW GROUP, PC
                    By: VAL GURVITS, ESQ.
  14                825 Beacon Street
                    Suite 20
  15                Newton Centre, Massachusetts 02459
                    (617) 928-1800 / Fax (617) 928-1802
  16                vgurvits@bostonlawgroup.com
  17
  18    FOR DEFENDANT BUZZFEED, INC.:
  19                DAVIS WRIGHT TREMAINE, LLP
                    By: NATHAN SIEGEL, ESQ.
  20                     ALISON SCHARY, ESQ.
                    1919 Pennsylvania Avenue NW
  21                Suite 800
                    Washington, DC 20006-3401
  22                (202) 973-4200 / Fax (202) 973-4499
                    nathansiegel@dwt.com
  23                alisonschary@dwt.com
  24
  25

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   1    APPEARANCES (Continued):
   2    FOR DEFENDANT BUZZFEED, INC.:
   3                DAVIS WRIGHT TREMAINE, LLP
                    By: KATHERINE M. BOLGER, ESQ.
   4                1251 Avenue of the Americas
                    21st Floor
   5                New York, New York 10020-1104
                    (212) 489-8230 / Fax (212) 489-8340
   6                katebolger@dwt.com
   7
   8    ALSO PRESENT:
   9                ALON MATZOV, Videographer
  10                ALEKSEJ GUBAREV (partial)
  11
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   1                             I N D E X
   2    WITNESS
   3    Nikolay Dvas
   4
   5    EXAMINATION                                             PAGE
   6    By Mr. Siegel                                             20
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   9                          E X H I B I T S
  10    NUMBER           DESCRIPTION                         MARKED
  11    Exhibit 1        LinkedIn Profile of Nick Dvas
                         (No Bates Number)                        40
  12
        Exhibit 2        Website Article from
  13                     "www.linux.com" Entitled
                         "Exclusive Interview: Nick
  14                     Dvas of Servers.com," Print
                         Date May 16, 2018
  15                     (No Bates Number)                        44
  16    Exhibit 3        E-mail from Zach Cutler to
                         Nick Dvas, Dated September 22,
  17                     2015, Subject: "Thanks for
                         Contacting Cutler"
  18                     (Bates P-P000950)                        48
  19    Exhibit 4        E-mail from Zach Cutler to
                         Nick Dvas, Dated October 2,
  20                     2015, Subject: "Cutler
                         Proposal, as Requested"
  21                     and Related Attachment
                         (Bates P-P000962, Attachment
  22                     No Bates Number)                         49
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   1                          E X H I B I T S
   2    NUMBER           DESCRIPTION                         MARKED
   3    Exhibit 5        E-mail from Zach Cutler to
                         Nick Dvas, Dated October 13,
   4                     2015, Subject: "Re: Cutler
                         Proposal, as Requested" and
   5                     Related E-mail Chain
                         (Bates P-P000977 to P-P000980)           54
   6
        Exhibit 6        E-mail from Marilyn Gerber to
   7                     Nick Dvas and Others, Dated
                         October 26, 2015, Subject:
   8                     "Servers.com/Cutler PR Call
                         Recap - 26 Oct"
   9                     (Bates P-P001019)                        59
  10    Exhibit 7        E-mail from Marilyn Gerber to
                         Nick Dvas, Dated October 30,
  11                     2015, Subject: "RE: Examples
                         of Bylined Articles" and
  12                     Related E-mail Chain
                         (Bates P-P001024 to P-P001025)           62
  13
        Exhibit 8        E-mail from Nick Dvas to
  14                     Marilyn Gerber and Olga Galkina,
                         Dated November 14, 2015, Subject:
  15                     "Re: Checking In" and Related
                         E-mail Chain
  16                     (Bates P-P001039 to P-P001041)    63
  17    Exhibit 9        E-mail from Marilyn Gerber to
                         Nick Dvas and Others, Dated
  18                     December 2, 2015, Subject:
                         "Good News: Network World
  19                     Says 'Yes' to Bylined Article;
                         Form Must be Submitted" and
  20                     Related E-mail Chain
                         (Bates P-P001057)                        69
  21
        Exhibit 10       Article from Network World
  22                     Entitled "Technical Debt:
                         Hot to Assess It and Manage
  23                     It," Dated December 23, 2015
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   1                          E X H I B I T S
   2    NUMBER           DESCRIPTION                         MARKED
   3    Exhibit 11       E-mail from Nick Dvas to
                         Marilyn Gerber, Dated December 3,
   4                     2015, Subject: "Fwd: Percona
                         Partnership Press Release Draft"
   5                     and Related Attachment
                         (Bates P-P001058, Attachment
   6                     No Bates Number)                  71
   7    Exhibit 12       E-mail from Marilyn Gerber
                         to Nick Dvas and Olga Galkina,
   8                     Dated December 10, 2015, Subject:
                         "RE: Lux.reasons" and Related
   9                     E-mail Chain
                         (Bates P-P001080 to P-P001084)    72
  10
        Exhibit 13       E-mail from Marilyn Gerber
  11                     to Nick Dvas and Zach Cutler,
                         Dated December 17, 2015, Subject:
  12                     "RE: Good News - Forbes" and
                         Related E-mail Chain
  13                     (Bates P-P001098)                 74
  14    Exhibit 14       E-mail from Marilyn Gerber
                         to Nick Dvas and Others, Dated
  15                     December 28, 2015, Subject:
                         "Good News: CNBC Runs Luxembourg
  16                     Byliner" and Related E-mail Chain
                         (Bates P-P001126 to P-P001127)    74
  17
        Exhibit 15       E-mail from Nick Dvas to
  18                     Marilyn Gerber and Others,
                         Dated December 29, 2015,
  19                     Subject: "Re: Good News:
                         CNBC Runs Luxembourg Byliner"
  20                     and Related E-mail Chain
                         (Bates P-P001133 to P-P001136)           76
  21
        Exhibit 16       E-mail from Marilyn Gerber
  22                     to Nick Dvas and Olga Galkina,
                         Dated January 7, 2016, Subject:
  23                     "Servers.com/Cutler PR Call
                         Recap - Jan. 6"
  24                     (Bates P-P001158)                        77
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   1                          E X H I B I T S
   2    NUMBER           DESCRIPTION                         MARKED
   3    Exhibit 17       E-mail from Marilyn Gerber
                         to Nick Dvas and Others,
   4                     Dated January 17, 2016,
                         Subject: "Servers.com PR
   5                     Activity Report - December
                         2015" and Related Attachment
   6                     (Bates P-P001163, Attachment
                         No Bates Number)                         83
   7
        Exhibit 18       E-mail from Marilyn Gerber to
   8                     Nick Dvas, Dated February 10,
                         2016, Subject: "RE: Question
   9                     About Today's Call" and Related
                         E-mail Chain
  10                     (Bates P-P001180)                        84
  11    Exhibit 19       E-mail from Nick Dvas to
                         Marilyn Gerber and Others,
  12                     Dated February 18, 2016,
                         Subject: "Re: Need Immediate
  13                     Turnaround, Please! ... RE:
                         Post-Cloud" and Related E-mail
  14                     Chain and Attachment
                         (Bates P-P001191, Attachment
  15                     No Bates Number)                         86
  16    Exhibit 20       E-mail from Marilyn Gerber to
                         Olga Galkina and Others, Dated
  17                     February 22, 2016, Subject:
                         "Need Photo of Nick - As Soon
  18                     As Possible"
                         (Bates P-P001193 to P-P001194)           88
  19
        Exhibit 21       E-mail from Nick Dvas to
  20                     Marilyn Gerber and Others,
                         Dated February 23, 2016,
  21                     Subject: "Re: Need Photo
                         of Nick - As Soon As Possible"
  22                     and Related E-mail Chain
                         (Bates P-P001203 to P-P001205)           88
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   1                          E X H I B I T S
   2    NUMBER           DESCRIPTION                         MARKED
   3    Exhibit 22       E-mail from Marilyn Gerber
                         to Nick Dvas and Others,
   4                     Dated February 25, 2016,
                         Subject: "Nick's Article
   5                     Featured in Cloud Strategy
                         Magazine"
   6                     (Bates P-P001211 to P-P001213)           90
   7    Exhibit 23       Website Article from
                         "www.missioncriticalmagazine.com"
   8                     Entitled "Bare Metal Servers:
                         The Next Big Thing in Cloud
   9                     Hosting," Dated February 25,
                         2016
  10                     (No Bates Number)                 90
  11    Exhibit 24       E-mail from Nick Dvas to
                         Zach Cutler and Others, Dated
  12                     February 25, 2016, Subject:
                         "Re: Nick's Article Featured
  13                     in Cloud Strategy Magazine"
                         and Related E-mail Chain
  14                     (Bates P-P001214 to P-P001215)           94
  15    Exhibit 25       E-mail from Nick Dvas to
                         Zach Cutler, Dated March 14,
  16                     2016, Subject: "Re: PR Plan"
                         and Related E-mail Chain
  17                     (Bates P-P001227 to P-P001228)           94
  18    Exhibit 26       E-mail from Marilyn Gerber
                         to Nick Dvas and Others,
  19                     Dated March 23, 2016, Subject:
                         "SYS-CON Article Has Posted"
  20                     and Related E-mail Chain
                         (Bates P-P001240)                        96
  21
        Exhibit 27       E-mail from Zach Cutler to
  22                     Nick Dvas, Dated March 31,
                         2016, Subject: "Re: Good
  23                     News" and Related E-mail Chain
                         (Bates P-P001243)                        97
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    1                         E X H I B I T S
    2    NUMBER           DESCRIPTION                         MARKED
    3    Exhibit 28       Website Article from "www.inc.com"
                          Entitled "18 Tech Companies to
    4                     Get Excited About," Print Date
                          May 13, 2018
    5                     (No Bates Number)                  97
    6    Exhibit 29       Russian Website Article
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    8                     (Bates P-F000028 to P-F000045)         114
    9    Exhibit 31       Letter from Servers.com, Nick
                          Dvas, to Ketchum, Inc., Undated
   10                     (Bates KGlobal 000547)                 118
   11    Exhibit 32       E-mail from Olga Galkina to
                          Charles Dolan, Dated April 11,
   12                     2016, Subject: "Re: Checking
                          In" and Related E-mail Chain
   13                     (Bates P-P001256 to P-P001257)         123
   14    Exhibit 33       Russian Website Article from
                          "2016.russianinternetforum.ru"
   15                     (No Bates Number)                      123
   16    Exhibit 34       E-mail from Olga Galkina to
                          Charles Dolan, Dated June 12,
   17                     2016, Subject: "Forum"
                          (Bates P-P001294)                      127
   18
         Exhibit 35       E-mail from Nick Dvas to Modupeh
   19                     Jahamaliah, Dated August 23,
                          2016, Subject: "Re: Bi-Weekly
   20                     Servers.com Conference Call"
                          and Related E-mail Chain
   21                     (Bates P-P001448 to P-P001449)   137
   22    Exhibit 36       (No Exhibit 36 was marked.)              --
   23    Exhibit 37       Document from KGlobal Entitled
                          "Servers.com: Proposal for
   24                     Public Relations Support"
                          (Bates KGlobal 001329 to 001336) 140
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    1                         E X H I B I T S
    2    NUMBER           DESCRIPTION                         MARKED
    3    Exhibit 38       E-mail from Nick Dvas to Charles
                          Dolan, Dated July 4, 2016, Subject:
    4                     "Signed Agreement" and Related
                          Attachment
    5                     (Bates P-P001336, Attachment
                          No Bates Number)                  140
    6
         Exhibit 39       E-mail from Charles Dolan to
    7                     Nick Dvas, Dated June 20, 2016,
                          Subject: "FW: Servers.com
    8                     Agreement" and Related E-mail
                          Chain
    9                     (Bates KGlobal 001493 to 001494) 144
   10    Exhibit 40       KGlobal Invoice, Dated July 5,
                          2016, Project: "Servers.com
   11                     Inc."
                          (Bates KGlobal 000705)                 146
   12
         Exhibit 41       E-mail from Nick Dvas to Charles
   13                     Dolan, Dated July 7, 2016, Subject:
                          "Re: Preliminary Notes on Our
   14                     Next Meeting" and Related E-mail
                          Chain
   15                     (Bates KGlobal 000711 to 000713) 147
   16    Exhibit 42       E-mail from Alexey Gubarev to
                          Charles Dolan and Nick Dvas,
   17                     Dated July 9, 2016, Subject:
                          "Re: [BULK] Preliminary Notes
   18                     on Our Next Meeting" and Related
                          E-mail Chain
   19                     (Bates P-P001342 to P-P001344)   149
   20    Exhibit 43       E-mail from Charles Dolan to
                          Alexey Gubarev and Others,
   21                     Dated July 10, 2016, Subject:
                          "Additional Information for
   22                     Our Meeting"
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    1                         E X H I B I T S
    2    NUMBER           DESCRIPTION                         MARKED
    3    Exhibit 44       E-mail from Alexey Gubarev to
                          Charles Dolan and Others, Dated
    4                     July 29, 2016, Subject: "Re:
                          Bloomberg Update" and Related
    5                     E-mail Chain
                          (Bates P-P001392)                      151
    6
         Exhibit 45       E-mail from Nick Dvas to Charles
    7                     Dolan and Others, Dated August 2,
                          2016, Subject: "Re: Next
    8                     Conference Call" and Related
                          E-mail Chain
    9                     (Bates P-P001396)                 153
   10    Exhibit 46       E-mail from Alexey Gubarev to
                          Charles Dolan and Nick Dvas,
   11                     Dated July 28, 2016, Subject:
                          "Re: Tech Insider/Not Working"
   12                     and Related E-mail Chain
                          (Bates P-P001389)                      155
   13
         Exhibit 47       E-mail from Alexey Gubarev to
   14                     Charles Dolan and Others, Dated
                          August 10, 2016, Subject: "Re:
   15                     Coverage Report: Business Insider"
                          and Related E-mail Chain
   16                     (Bates P-P001436 to P-P001437)   158
   17    Exhibit 48       Website Printout from
                          "www.businessinsider.com"
   18                     Entitled "The CEO of the
                          Summer's Hottest Photography
   19                     App Says that Trippy Filters
                          are 'Just the Beginning,'"
   20                     Dated August 10, 2016
                          (Bates P-F000103 to P-F000114)         158
   21
         Exhibit 49       E-mail from Alexey Gubarev to
   22                     Modupeh Jahamaliah and Others,
                          Dated August 25, 2016, Subject:
   23                     "Re: Op-Ed Suggestions" and
                          Related E-mail Chain
   24                     (Bates P-P001450 to P-P001451)         162
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    1                         E X H I B I T S
    2    NUMBER           DESCRIPTION                         MARKED
    3    Exhibit 50       E-mail from Alexey Gubarev
                          to Charles Dolan and Others,
    4                     Dated August 31, 2016, Subject:
                          "Re: [BULK] Wall Street Journal"
    5                     and Related E-mail Chain
                          (Bates P-P001452 to P-P001453)   162
    6
         Exhibit 51       E-mail from Alexey Gubarev to
    7                     Modupeh Jahamaliah and Others,
                          Dated September 6, 2016, Subject:
    8                     "Re: Server.com Media Activity
                          Report" and Related E-mail Chain
    9                     and Attachment
                          (Bates P-P001456, Attachment
   10                     No Bates Number)                  166
   11    Exhibit 52       E-mail from Charles Dolan to
                          Nick Dvas, Dated September 14,
   12                     2016, Subject: "FW: Interview
                          with AppMaster/MyEmoji.com"
   13                     and Related E-mail Chain
                          (Bates KGlobal 001163 to 001164) 169
   14
         Exhibit 53       E-mail from Modupeh Jahamaliah
   15                     to Alexey Gubarev and Others,
                          Dated October 18, 2016, Subject:
   16                     "FW: AppMasters Episode is Live!"
                          (Bates KGlobal 002151)           169
   17
         Exhibit 54       E-mail from Modupeh Jahamaliah
   18                     to Nick Dvas and Others, Dated
                          September 20, 2016, Subject:
   19                     "Media Update and My Emoji Press
                          Release" and Related Attachment
   20                     (Bates KGlobal 001937 to 001939) 171
   21    Exhibit 55       E-mail from Modupeh Jahamaliah
                          to Alexey Gubarev and Others,
   22                     Dated October 11, 2016, Subject:
                          "Information on Forbes Reporter"
   23                     (Bates KGlobal 002476 to 002477) 173
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    1                         E X H I B I T S
    2    NUMBER           DESCRIPTION                         MARKED
    3    Exhibit 56       E-mail from Modupeh Jahamaliah
                          to Alexey Gubarev and Others,
    4                     Dated November 2, 2016, Subject:
                          "Information on WSJ"
    5                     (Bates KGlobal 002427 to 002428) 174
    6    Exhibit 57       E-mail from Modupeh Jahamaliah
                          to Alexey Gubarev and Others,
    7                     Dated November 2, 2016, Subject:
                          "Re: Upcoming Interviews" and
    8                     Related E-mail Chain
                          (Bates KGlobal 002409 to 002410) 175
    9
         Exhibit 58       E-mail from Modupeh Jahamaliah
   10                     to Darya Tkachenko and Nick Dvas,
                          Dated October 6, 2016, Subject:
   11                     "Re: Servers.com - Cloud Expo
                          Asia Press List" and Related
   12                     E-mail Chain
                          (Bates KGlobal 002336 to 002337) 176
   13
         Exhibit 59       E-mail from Modupeh Jahamaliah
   14                     to Darya Tkachenko and Others,
                          Dated October 14, 2016, Subject:
   15                     "Re: Servers.com to Present
                          Prisma ... / PR Newswire 48 Hour
   16                     Report" and Related E-mail Chain
                          (Bates KGlobal 002522 to 002526) 178
   17
         Exhibit 60       E-mail from Alexey Gubarev to
   18                     Charles Dolan and Nick Dvas,
                          Dated December 15, 2016, Subject:
   19                     "Re: Report on Our Efforts"
                          and Related E-mail Chain
   20                     (Bates KGlobal 000586 to 000590) 184
   21    Exhibit 61       E-mail from Nick Dvas to Charles
                          Dolan and Alexey Gubarev, Dated
   22                     December 21, 2016, Subject: "Re:
                          Reputation Management Services"
   23                     and Related E-mail Chain
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    1                         E X H I B I T S
    2    NUMBER           DESCRIPTION                         MARKED
    3    Exhibit 62       Document Entitled "White Ops,
                          The Methbot Operation," Dated
    4                     December 20, 2016
                          (No Bates Number)                      201
    5
         Exhibit 63       E-mail from Alexey Gubarev
    6                     to Charles Dolan and Nick
                          Dvas, Dated December 21, 2016,
    7                     Subject: "Re: Reputation
                          Management Services" and
    8                     Related E-mail Chain
                          (Bates KGlobal 000580 to 000582) 201
    9
         Exhibit 64       E-mail from Alexey Gubarev
   10                     to Charles Dolan and Nick
                          Dvas, Dated December 22, 2016,
   11                     Subject: "Re: Questions for
                          10:00 AM Call" and Related
   12                     E-mail Chain
                          (Bates P-P001536 to P-P001539)         203
   13
         Exhibit 65       E-mail from Nick Dvas to Charles
   14                     Dolan and Alexey Gubarev, Dated
                          December 22, 2016, Subject: "Re:
   15                     Additional Question" and Related
                          E-mail Chain
   16                     (Bates P-P001532 to P-P001533)   212
   17    Exhibit 66       E-mail from Nick Dvas to Charles
                          Dolan and Alexey Gubarev, Dated
   18                     December 23, 2016, Subject: "Re:
                          Draft - Servers.com Statement and
   19                     Q&A" and Related E-mail Chain
                          (Bates P-P001540 to P-P001541)    226
   20
         Exhibit 67       E-mail from Nick Dvas to Charles
   21                     Dolan and Alexey Gubarev and
                          Others, Dated January 6, 2017,
   22                     Subject: "Re: New Issue" and
                          Related E-mail Chain
   23                     (Bates P-P001546)                228
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    1                         E X H I B I T S
    2    NUMBER           DESCRIPTION                         MARKED
    3    Exhibit 68       E-mail from Nick Dvas to Charles
                          Dolan and Alexey Gubarev, Dated
    4                     January 9, 2017, Subject: "Re:
                          Meth.bot" and Related E-mail
    5                     Chain
                          (Bates P-P001547 to P-P001548)   229
    6
         Exhibit 69       E-mail from Charles Dolan to
    7                     Nick Dvas and Others, Dated
                          December 28, 2016, Subject:
    8                     "White Ops and Krebs"
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   10                     Nick Dvas and Alexey Gubarev,
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   11                     Subject: "Servers.com Daily
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   15                     December 24, 2016, Subject: "Re:
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   20                     Related E-mail Chain
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   22                     Services Suspension Due to
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   23                     Dated December 20, 2016
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    2    NUMBER           DESCRIPTION                         MARKED
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    1                         E X H I B I T S
    2    NUMBER           DESCRIPTION                         MARKED
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    5                     (Bates P-H000042)                279
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   11                     Interview Request" and Related
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    1                         E X H I B I T S
    2    NUMBER           DESCRIPTION                         MARKED
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           1           LIMASSOL, CYPRUS; THURSDAY, MAY 17, 2018
           2                             9:45 A.M.
           3
09:45:21   4               THE VIDEOGRAPHER: This is the beginning
09:45:23   5    of DVD No. 1 in the videotape deposition of Nikolay
09:45:28   6    Dvas, being taken on May 17th, 2018, at 9:45 a.m.,
09:45:37   7    at Elias Neocleous & Co., Limassol, Cyprus, in the
09:45:42   8    matter of Aleksej Gubarev, et al., versus Buzzfeed,
09:45:48   9    Inc., et al., being heard before the United States
09:45:54 10     District Court, Southern District of Florida,
09:45:56 11     case number 17-CV-60426-UU.
09:46:05 12                I am Alon Matzov. And the court
09:46:08 13     reporter is Brenda Matzov.
09:46:11 14                Would counsel please state their
09:46:14 15     appearances.
09:46:15 16                MR. SIEGEL: Nathan Siegel, of Davis
09:46:17 17     Wright Tremaine, for the defendants. And with
09:46:19 18     me are Kate Bolger and Alison Schary.
09:46:24 19                MR. GURVITS: Val Gurvits, of Boston
09:46:26 20     Law Group, for the plaintiffs and the deponent.
09:46:28 21                THE VIDEOGRAPHER: Would the court
09:46:29 22     reporter please swear in or affirm the witness.
09:46:33 23     //
09:46:33 24     //
09:46:33 25     //

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09:46:33   1                          NIKOLAY DVAS,
09:46:33   2         called as a witness, being first duly sworn,
09:46:33   3         was examined and testified as hereinafter
09:46:33   4         set forth.
09:46:33   5
09:46:33   6                           EXAMINATION
09:46:33   7    BY MR. SIEGEL:
09:46:33   8         Q.    Good morning, Mr. Dvas. As I think
09:46:49   9    you know, my name is Nathan Siegel. And I'll
09:46:52 10     be taking your deposition today.
09:46:53 11                Have you ever been deposed before?
09:46:57 12          A.    No.
09:46:57 13          Q.    Okay. Was -- you were here yesterday.
09:46:59 14                Is that the first time you've ever
09:47:01 15     seen this procedure happen?
09:47:03 16          A.    I saw this procedure yesterday.
09:47:05 17          Q.    Right. Yesterday was the --
09:47:06 18          A.    Yes.
09:47:06 19          Q.    -- first time you've ever done it?
09:47:10 20                So as -- as I think you saw, I'm going
09:47:12 21     to ask you a series of questions. If at any time
09:47:17 22     my questions aren't clear, feel free to tell me,
09:47:21 23     and -- and I will try to clarify them. And the
09:47:24 24     other thing is, because we have a court reporter
09:47:29 25     who's taking down the responses and can only take

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09:47:33   1    down verbal words, if you're going to say "yes"
09:47:36   2    or "no," say "yes" or "no" instead of just nodding
09:47:39   3    your head or the things that we normally do in
09:47:43   4    conversation. Okay?
09:47:43   5         A.    Okay.
09:47:44   6         Q.    What is your current job?
09:47:47   7         A.    Currently I'm the CEO of XBT Holding
09:47:49   8    and the CEO of Servers.com.
09:47:55   9         Q.    All right. Why do you hold the positions
09:47:58 10     of CEO of both of those companies?
09:48:01 11          A.    Because I was offered to hold these two
09:48:05 12     positions.
09:48:05 13          Q.    Okay. Do other XBT Holding subsidiaries
09:48:09 14     have different CEOs?
09:48:12 15          A.    Yes.
09:48:16 16          Q.    Okay. Why particularly Servers.com in
09:48:21 17     addition to the holding company?
09:48:23 18          A.    Because I have been working in Servers.com
09:48:26 19     before.
09:48:27 20          Q.    Okay. What is your education? Did you
09:48:36 21     go to university?
09:48:39 22          A.    Mechanical engineering.
09:48:40 23          Q.    At which university?
09:48:42 24          A.    St. Petersburg State Polytechnical
09:48:45 25     University.

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09:48:46   1         Q.    And were you born in Russia?
09:48:51   2         A.    In the Soviet Union.
09:48:53   3         Q.    In -- in what part of the Soviet Union?
09:48:55   4         A.    Russia.
09:48:57   5         Q.    I take it you're old enough to actually
09:49:00   6    have been born in the Soviet Union, when it was
09:49:03   7    the Soviet Union?
09:49:04   8         A.    It was the Soviet Union back then.
09:49:07   9         Q.    Okay. Where in Russia were you born?
09:49:09 10          A.    Leningrad.
09:49:13 11          Q.    And is -- what is the degree that
09:49:21 12     you attained when you attended university?
09:49:25 13          A.    Master of Science.
09:49:27 14          Q.    Master of Science.
09:49:29 15                And is that -- is -- I don't know
09:49:31 16     if you're familiar with the American education.
09:49:34 17                Is that the equivalent of a Master's
09:49:34 18     degree in the United States? Or are you not --
09:49:38 19          A.    I'm not aware enough of the American --
09:49:42 20          Q.    Okay.
09:49:42 21          A.    -- university system.
09:49:42 22          Q.    How many years did you attend university?
09:49:45 23          A.    Six.
09:49:45 24          Q.    And what did you do after that?
09:49:52 25          A.    I was working in an IT House company.

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09:50:00   1         Q.    In a --
09:50:00   2         A.    A company named IT House.
09:50:00   3         Q.    Okay. And what did they do?
09:50:03   4         A.    Hosting.
09:50:04   5         Q.    Is that what you did immediately after
09:50:06   6    leaving university?
09:50:09   7         A.    Yes.
09:50:12   8         Q.    And where is -- was that company located?
09:50:16   9         A.    St. Petersburg, Russia.
09:50:19 10          Q.    Okay. And how long were you there?
09:50:28 11          A.    For approximately 25 or 26 months.
09:50:32 12          Q.    Okay. And what did you do next?
09:50:37 13          A.    Hmm?
09:50:38 14          Q.    What did you do next?
09:50:39 15          A.    And then I joined Webzilla.
09:50:41 16          Q.    Okay. And at -- at the time -- what
09:50:46 17     year did you join Webzilla?
09:50:50 18          A.    I was the project manager.
09:50:53 19          Q.    For Webzilla?
09:50:54 20          A.    Yes.
09:50:55 21          Q.    In -- in what year did you start working
09:50:58 22     for Webzilla?
09:50:58 23          A.    When?
09:50:59 24          Q.    Yes.
09:51:00 25          A.    It was April 2013.

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09:51:09   1         Q.    Okay. And where did you start? Where
09:51:11   2    were you located when you joined?
09:51:13   3         A.    In St. Petersburg, Russia.
09:51:15   4         Q.    Okay. And how did you come to work
09:51:17   5    for Webzilla?
09:51:18   6         A.    Because I was offered to --
09:51:21   7         Q.    And --
09:51:21   8         A.    -- to do that.
09:51:22   9         Q.    And how did it come to be that you
09:51:25 10     interacted with somebody who -- well, strike
09:51:28 11     that.
09:51:28 12                Who offered that job to you?
09:51:30 13          A.    Konstantin Bezruchenko.
09:51:35 14          Q.    And how did you meet Mr. Bezruchenko?
09:51:37 15          A.    I met him at the conference.
09:51:39 16          Q.    Which conference?
09:51:40 17          A.    Hostobzor.
09:51:40 18          Q.    What's it?
09:51:40 19          A.    Hostobzor. I can spell it.
09:51:46 20          Q.    Okay.
09:51:46 21          A.    It's H-o-s-t-o-b-z-o-r.
09:51:52 22          Q.    And what is that conference?
09:51:54 23          A.    It's a conference for hosting providers.
09:51:57 24          Q.    And when did you meet him?
09:52:01 25          A.    It was May 2012.

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09:52:07   1         Q.    And what did the -- where was the
09:52:09   2    conference?
09:52:10   3         A.    In Roshchino.
09:52:13   4               MR. SIEGEL: Did you get that?
09:52:15   5               THE WITNESS: It's R-o-s-c-h-i-n-o [sic].
09:52:20   6         Q.    BY MR. SIEGEL: Is that in Russia?
09:52:21   7         A.    Yes.
09:52:23   8         Q.    And what happened in between -- it
09:52:26   9    sounds like there's roughly a year before you
09:52:30 10     joined Webzilla that you met Mr. Bezruchenko.
09:52:31 11                What happened during that year that
09:52:34 12     led you to join Webzilla?
09:52:40 13          A.    I was contacted by Konstantin and asked
09:52:45 14     to come to Cyprus to talk.
09:52:49 15          Q.    And who did you talk with when you came?
09:52:52 16          A.    I talked with Konstantin. I talked with
09:52:59 17     Aleksej Gubarev. And I talked with Rajesh Mishra.
09:53:05 18          Q.    And you said that you were the project
09:53:07 19     manager of Webzilla?
09:53:09 20          A.    Correct.
09:53:09 21          Q.    What does that mean?
09:53:12 22          A.    I was responsible for their project.
09:53:17 23          Q.    So is that the equivalent of being
09:53:21 24     the CEO of Webzilla?
09:53:22 25          A.    No.

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09:53:23   1         Q.    Okay. So explain to me the difference.
09:53:26   2               When you say -- what project is it that
09:53:29   3    you were responsible for?
09:53:30   4         A.    It was the cloud storage project. The
09:53:33   5    project of delivering the cloud storage service.
09:53:35   6         Q.    That -- that Webzilla offers?
09:53:38   7               Okay. Did you have employees that
09:53:40   8    worked for you, that reported to you?
09:53:43   9         A.    Yes, I did.
09:53:44 10          Q.    And who did you report to?
09:53:47 11          A.    To Konstantin Bezruchenko.
09:53:52 12          Q.    Okay. And how long were you the
09:53:54 13     project manager for Webzilla?
09:53:59 14          A.    For approximately a year and a half.
09:54:02 15          Q.    Okay. I take it that at some point
09:54:05 16     you moved to Cyprus?
09:54:12 17          A.    Yes.
09:54:13 18          Q.    When did that happen?
09:54:14 19          A.    It was end of June 2013.
09:54:19 20                (Court reporter clarification.)
09:54:19 21                THE WITNESS: End of June 2013.
09:54:22 22          Q.    BY MR. SIEGEL: '15?
09:54:23 23          A.    '13.
09:54:23 24          Q.    '13?
09:54:25 25          A.    Yes.

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09:54:25   1         Q.    So within a month or so after you
09:54:26   2    joined the company, within a couple of months
09:54:28   3    maybe?
09:54:28   4         A.    Within a couple of months.
09:54:30   5         Q.    Okay. And why did you move to Cyprus?
09:54:35   6         A.    Because I agreed with Konstantin that
09:54:37   7    I will move to Cyprus.
09:54:38   8         Q.    Okay. And did there come a time when
09:54:50   9    you had a different position than project manager
09:54:52 10     of Webzilla with -- with the -- with some --
09:54:57 11          A.    No. I -- I didn't have any different
09:54:59 12     position in Webzilla.
09:55:00 13          Q.    Ever?
09:55:01 14          A.    I didn't have any different position
09:55:03 15     in Webzilla. No.
09:55:06 16          Q.    Well, you're not the project manager
09:55:07 17     of Webzilla today; right?
09:55:09 18          A.    I don't have any position in Webzilla
09:55:11 19     today.
09:55:11 20          Q.    Okay. So did there come a time when
09:55:14 21     you stopped having a position with Webzilla?
09:55:16 22          A.    That's correct.
09:55:17 23          Q.    And when was that?
09:55:18 24          A.    It was fall 2014.
09:55:32 25          Q.    Okay. And what position did you

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09:55:35   1    start in the fall of 2014?
09:55:39   2           A.   Project manager for Servers.com.
09:55:41   3           Q.   Okay. Why did -- why the change?
09:55:45   4           A.   Because I was offered a different
09:55:48   5    position.
09:55:49   6           Q.   Did somebody replace you as project
09:55:51   7    manager of Webzilla?
09:55:55   8           A.   Yes.
09:55:56   9           Q.   Who?
09:55:56 10            A.   Vil Surkin.
09:55:59 11            Q.   Okay. And where did he work at the
09:56:03 12     time?
09:56:05 13            A.   At Webzilla.
09:56:06 14            Q.   What country?
09:56:07 15            A.   Cyprus.
09:56:08 16            Q.   Okay. And what is the difference
09:56:17 17     between -- well, I'm going to ask you first.
09:56:21 18                 What is Servers.com?
09:56:22 19            A.   Servers.com is a hosting company.
09:56:24 20            Q.   A hosting company.
09:56:25 21                 Would it be accurate to say that
09:56:28 22     Webzilla is also a hosting company?
09:56:30 23            A.   Webzilla is also a hosting company.
09:56:32 24            Q.   So what is the difference between the
09:56:34 25     two?

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09:56:37   1         A.    The name, the logo, the services, the
09:56:42   2    prices, the customers, the teams.
09:56:46   3         Q.    Okay. So let's go to the services.
09:56:51   4               What is the difference between the
09:56:53   5    services that Webzilla offer -- offers and
09:56:55   6    Servers.com offers?
09:57:00   7         A.    Webzilla and Servers.com offer
09:57:02   8    different services.
09:57:03   9         Q.    And what is different about the
09:57:06 10     services that they offer?
09:57:08 11          A.    They are different.
09:57:11 12          Q.    Okay. What services does Webzilla
09:57:14 13     offer that Services.com [sic] does not offer?
09:57:22 14          A.    Managed hosting.
09:57:23 15          Q.    Okay. So would it be -- from that
09:57:28 16     answer, can I infer that Servers.com offers
09:57:31 17     unmanaged hosting?
09:57:33 18          A.    Yes.
09:57:33 19          Q.    Okay. And what is the difference?
09:57:38 20          A.    The difference is that managed hosting
09:57:44 21     is managed by -- the responsibility for managing
09:57:52 22     of managed hosting lies on the service provider.
09:57:55 23          Q.    Okay.
09:57:59 24          A.    The responsibility for managing
09:58:01 25     unmanaged hosting lies on the customer.

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09:58:04   1         Q.    Okay. And when you provide managed
09:58:07   2    hosting, what kind of management services do
09:58:10   3    you provide?
09:58:16   4         A.    I don't know.
09:58:17   5         Q.    Well, you were the project manager
09:58:18   6    of Webzilla for a year and a half; right?
09:58:21   7         A.    Yes.
09:58:21   8         Q.    And you are saying you don't know
09:58:23   9    what --
09:58:23 10          A.    I don't know.
09:58:24 11          Q.    You have no idea what managed services
09:58:28 12     Webzilla provides?
09:58:29 13          A.    I have no idea.
09:58:31 14          Q.    Why is that?
09:58:37 15          A.    I didn't happen to learn that.
09:58:39 16          Q.    Okay. So it was not part of your
09:58:43 17     responsibilities as a project manager to know
09:58:45 18     what management [sic] services Webzilla provided?
09:58:48 19          A.    Absolutely not.
09:58:50 20          Q.    Why?
09:58:51 21          A.    It wasn't.
09:58:57 22          Q.    Okay. Who are -- who are the -- today --
09:59:06 23     right? -- who are the five biggest customers that
09:59:13 24     XBT Holding has?
09:59:20 25          A.    I don't have this information right now.

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09:59:21   1         Q.    Okay. Rather than giving me precisely
09:59:27   2    who the five might be --
09:59:28   3               Okay?
09:59:28   4         A.    Uh-huh.
09:59:28   5         Q.    -- give me five -- five names of five
09:59:31   6    customers that you consider large customers for
09:59:35   7    the company.
10:00:12   8         A.    That's Multiplay, 101XP, YzerChat.
10:00:25   9         Q.    YzerCheck [sic]?
10:00:28 10          A.    Y-z-e-r-C-h-a-t.
10:00:32 11          Q.    Okay.
10:00:32 12          A.    That was three; yes? Yes? That was
10:00:36 13     three?
10:00:38 14          Q.    Yes.
10:00:49 15          A.    IQ Options. IQ, like an IQ test,
10:00:51 16     Options. And Go Travel Unlimited.
10:01:15 17          Q.    Okay. What was the first one again?
10:01:18 18          A.    Multiplay.
10:01:20 19          Q.    Multiplay. Okay.
10:01:24 20          A.    Yes.
10:01:24 21          Q.    Do you know approximately how long
10:01:26 22     Multiplay has been a customer?
10:01:31 23          A.    I do.
10:01:32 24          Q.    How long?
10:01:38 25          A.    Approximately a year.

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10:01:39   1         Q.    Okay. What about 101X -- did you say
10:01:42   2    Expo?
10:01:47   3         A.    101XP.
10:01:47   4         Q.    XP.
10:01:51   5         A.    That has been for approximately 20
10:02:05   6    months.
10:02:09   7         Q.    So would that make it sometime in
10:02:12   8    late 2016 it became a customer?
10:02:18   9         A.    Sometime -- sometime in 2016.
10:02:21 10          Q.    Okay.
10:02:22 11          A.    Second half.
10:02:23 12          Q.    What about -- I'm not sure that
10:02:26 13     I could -- the third one was Y-z --
10:02:30 14          A.    YzerChat.
10:02:31 15          Q.    Okay. YzerChat.
10:02:33 16                How long?
10:02:34 17          A.    That's around 14 months -- more. No,
10:02:40 18     more. That's a late -- late 2016.
10:02:49 19          Q.    Okay. What --
10:02:49 20                (Court reporter clarification.)
10:02:49 21                THE WITNESS: Late 2016.
10:02:49 22          Q.    BY MR. SIEGEL: What about IQ Options?
10:02:52 23          A.    That I don't know.
10:02:53 24          Q.    And Go Travel?
10:02:55 25          A.    That I don't know.

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10:02:59   1         Q.     Okay. Do you think, for IQ Options,
10:03:02   2    it's been longer than a year?
10:03:04   3         A.     Yes.
10:03:09   4         Q.     Same -- and what about Go Travel?
10:03:12   5         A.     Longer than a year.
10:03:13   6         Q.     Longer than a year and a half for both
10:03:15   7    of those?
10:03:21   8         A.     Longer than a year and a half for both
10:03:23   9    of those.
10:03:24 10          Q.     Okay. Do any of those customers provide
10:03:29 11     as much as 5 percent of the revenue of the entire
10:03:33 12     company?
10:03:35 13          A.     That I don't know.
10:03:36 14          Q.     You don't? Do you have any idea?
10:03:50 15          A.     That I don't know.
10:03:51 16          Q.     Okay. Do any of them provide as much
10:03:56 17     as 1 percent of the revenue of the whole company?
10:03:59 18          A.     I don't know that for sure. Well,
10:04:02 19     actually, I -- I have to do the math. I'm
10:04:13 20     sorry.
10:04:16 21          Q.     Well, if -- if -- do you know
10:04:18 22     approximately how much revenue any of those
10:04:21 23     customers provide, putting aside the percentages?
10:04:28 24          A.     I know for some.
10:04:29 25          Q.     Okay. Tell me which ones you know

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10:04:31   1    and what -- and what the revenue is approximately.
10:04:36   2         A.    I know -- no, I don't know, actually,
10:04:40   3    Multiplay.
10:04:40   4               I know 101XP. That would be approximately
10:04:47   5    50,000 a month. 50,000 euro a month, not dollars.
10:04:54   6         Q.    Okay.
10:04:56   7         A.    And then I know YzerChat. That would
10:05:03   8    be 30,000. I don't remember which currency.
10:05:06   9         Q.    Okay.
10:05:08 10          A.    Either euros or dollars.
10:05:11 11          Q.    Any others?
10:05:12 12          A.    No. I don't know the revenue of others.
10:05:14 13          Q.    Do you believe that Multiplay provides
10:05:17 14     more revenue than 101XP or less revenue?
10:05:23 15          A.    That I don't know.
10:05:24 16          Q.    You don't know.
10:05:25 17                And what about IQ Options and Go Travel,
10:05:29 18     more or less?
10:05:39 19          A.    I don't know exact numbers of their
10:05:40 20     revenue. So no.
10:05:43 21          Q.    Okay. Do you think that there are
10:05:45 22     any customers -- or do you -- are there any
10:05:47 23     customers that provide as much as 100,000
10:05:52 24     euro a month in revenue currently?
10:06:09 25          A.    I don't know that for sure. No,

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10:06:15   1    I don't know that for sure.
10:06:17   2         Q.    I'm -- recognizing that you don't know
10:06:19   3    for certain -- I understand you don't have the
10:06:23   4    books in front of you.
10:06:24   5               Just as the CEO of the company, what
10:06:26   6    is your best estimate as to whether there are
10:06:28   7    any customers today who provide as much as
10:06:30   8    100,000 euro a month in revenue?
10:06:39   9         A.    My best estimate is that there are
10:06:41 10     such customers.
10:06:42 11          Q.    And are they among the five here?
10:06:45 12          A.    My -- I estimate that IQ Options is
10:06:47 13     such customer.
10:06:48 14          Q.    Okay. How much would you estimate that
10:06:51 15     IQ Options --
10:06:53 16          A.    I'm not -- I'm unable to give an estimate.
10:06:55 17          Q.    Okay. Do you think it's less than 200,000
10:07:03 18     euro?
10:07:04 19          A.    I'm unable to --
10:07:05 20          Q.    Okay.
10:07:05 21          A.    -- make any further estimates --
10:07:07 22          Q.    Okay.
10:07:07 23          A.    -- I'm afraid.
10:07:08 24          Q.    Does Servers have -- .com have any
10:07:10 25     policy about hosting adult content?

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10:07:13   1         A.    Yes.
10:07:14   2         Q.    What is that policy?
10:07:15   3         A.    It is not permitted.
10:07:17   4         Q.    And why is that?
10:07:18   5         A.    Because we don't want it.
10:07:21   6         Q.    And why does -- Webzilla does not
10:07:24   7    have that policy? Is that fair?
10:07:32   8         A.    I don't remember Webzilla policy by
10:07:33   9    heart.
10:07:34 10          Q.    Okay. As the project manager of
10:07:36 11     Webzilla, can you tell us whether there was
10:07:38 12     any adult content hosted on Webzilla when you
10:07:42 13     were the project manager?
10:07:46 14          A.    I didn't know that.
10:07:47 15          Q.    You don't know that?
10:07:49 16          A.    I didn't know that.
10:07:50 17          Q.    Okay. You know that Servers.com has
10:07:56 18     a policy not to host adult content; right?
10:08:00 19          A.    Yes.
10:08:00 20          Q.    You don't -- you say that you don't
10:08:01 21     know whether Webzilla has any policy about it
10:08:04 22     at all?
10:08:05 23          A.    I don't know.
10:08:05 24          Q.    Are there other subsidiaries of XBT
10:08:07 25     that host adult content? Or the servers that

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10:08:12   1    they provide host adult content customers?
10:08:14   2         A.    I don't know.
10:08:15   3         Q.    You don't know?
10:08:16   4         A.    I don't know.
10:08:16   5         Q.    You have no idea?
10:08:18   6         A.    No clue.
10:08:21   7         Q.    All right. You have no idea whether
10:08:23   8    adult content makes up even one tenth of 1 percent
10:08:27   9    of the activity on any server that is operated
10:08:34 10     by a customer, either managed by -- strike that.
10:08:38 11                I'm going to rephrase that question.
10:08:40 12                You have -- you have no idea whether
10:08:45 13     there is a -- on a single server that is either
10:08:48 14     managed by any XBT subsidiary or unmanaged
10:08:53 15     there is any adult content?
10:08:57 16          A.    I know there is adult content.
10:08:59 17          Q.    Okay. And are there particular
10:09:03 18     subsidiaries that you know that there is
10:09:04 19     adult content on?
10:09:09 20          A.    Now I know that Webzilla has adult
10:09:13 21     content customers.
10:09:16 22          Q.    You know that now?
10:09:18 23          A.    I know that now.
10:09:18 24          Q.    Okay.
10:09:18 25          A.    Your previous question was did I know

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10:09:22   1    that when I -- when I was a project manager.
10:09:23   2         Q.    Okay. How did you come to learn that
10:09:25   3    in between the time you became the project manager
10:09:28   4    of Webzilla and moved to another company?
10:09:30   5         A.    I was told by our CFO.
10:09:33   6         Q.    When were you told that?
10:09:36   7         A.    I don't remember.
10:09:38   8         Q.    How did that come up?
10:09:42   9         A.    He was explaining me our financial
10:09:45 10     audit report.
10:09:52 11                (Court reporter clarification.)
10:09:52 12                THE WITNESS: Our -- our audit report.
10:09:52 13          Q.    BY MR. SIEGEL: Okay.
10:09:52 14          A.    Which, as he told me -- because I
10:09:55 15     never read it -- contained the distribution
10:10:00 16     by industries, including the information that
10:10:03 17     Webzilla has -- that -- that Webzilla has
10:10:09 18     adult customers. [sic]
10:10:10 19          Q.    So why does Webzilla host adult
10:10:13 20     content and Servers.com doesn't?
10:10:18 21          A.    That's two questions.
10:10:19 22          Q.    Okay. Why does Webzilla host adult
10:10:23 23     content?
10:10:26 24          A.    Because it is legal.
10:10:28 25          Q.    Okay. So why do you not want it

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10:10:31   1    on Servers.com, but you don't mind having it
10:10:35   2    on Webzilla?
10:10:37   3               MR. GURVITS: Objection.
10:10:37   4               THE WITNESS: That's two questions.
10:10:39   5         Q.    BY MR. SIEGEL: No, it's actually
10:10:40   6    one question. And I'd like you to answer it.
10:10:48   7         A.    Then my answer is I don't know.
10:10:51   8         Q.    You have no idea why, within XBT, it
10:10:54   9    is permissible to have adult content on Webzilla
10:10:59 10     but not permissible on Servers.com?
10:11:03 11          A.    That's still two questions.
10:11:05 12          Q.    So you won't answer?
10:11:08 13          A.    I -- that's two questions. And
10:11:10 14     I can't give one answer to two questions.
10:11:13 15          Q.    Okay. Why don't you want it on
10:11:15 16     Servers.com?
10:11:16 17          A.    Because we don't want it.
10:11:18 18          Q.    Why?
10:11:22 19          A.    That's a wish. We don't want that.
10:11:25 20          Q.    Well, why don't you want it?
10:11:29 21          A.    I find it impossible to explain the
10:11:33 22     wishes and desires. We don't want that.
10:11:36 23          Q.    And you can't tell me why? It's just
10:11:38 24     a random thing?
10:11:44 25          A.    Yes.

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10:11:44   1         Q.     Okay. So why don't you want it on Web --
10:11:49   2    then why not the same for Webzilla? Why do you
10:11:53   3    want it on Webzilla?
10:11:54   4         A.     I don't know that.
10:11:55   5         Q.     You don't know?
10:11:56   6         A.     No.
10:11:56   7                MR. SIEGEL: Okay. Let's mark as
10:12:10   8    Exhibit 1 -- and why don't you -- can you maybe
10:12:22   9    pass it to Val?
10:12:23 10                 (Exhibit 1 marked.)
10:12:26 11                 THE WITNESS: This one goes to Val or
10:12:27 12     to me?
10:12:27 13                 MR. SIEGEL: The other one goes to Val.
10:12:27 14                 THE WITNESS: This one goes to Val?
10:12:27 15                 MR. SIEGEL: Yes, that one goes to --
10:12:27 16                 THE WITNESS: Yeah.
10:12:34 17          Q.     BY MR. SIEGEL: So, Mr. Dvas, this is
10:12:37 18     a -- a resume or curriculum vitae that was printed
10:12:43 19     out from your LinkedIn -- your -- your LinkedIn
10:12:47 20     site.
10:12:51 21                 Do you see that?
10:12:52 22          A.     (Examining.)
10:12:56 23          Q.     If you turn to the first page, where --
10:13:00 24     under where it says "COO of Servers.com," you
10:13:08 25     say that:

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10:13:08   1               "Building a breakthrough hosting
10:13:11   2    platform, bringing unsurpassed network
10:13:14   3    experience to customers."
10:13:15   4               Why is Servers.com a breakthrough
10:13:21   5    hosting platform? What do you mean by that?
10:13:23   6         A.    Because it's better than any --
10:13:24   7    than any other platform.
10:13:26   8         Q.    It's better than any other?
10:13:28   9         A.    Yes.
10:13:28 10          Q.    In what way? How is it better?
10:13:34 11          A.    It is better.
10:13:35 12          Q.    How is it better?
10:13:38 13          A.    Can you somehow, like, be a bit more
10:13:44 14     specific with this question?
10:13:45 15          Q.    Well, if I'm a customer -- let's say
10:13:48 16     I'm a potential customer; right?
10:13:49 17          A.    Let's not hypothesize.
10:13:52 18          Q.    Well, no --
10:13:53 19          A.    Well, I would be happy to discuss with
10:13:55 20     you as a potential customer if -- if you really
10:13:56 21     are -- okay.
10:14:01 22                MR. GURVITS: Nick, listen to the
10:14:02 23     question and answer it.
10:14:02 24                THE WITNESS: Okay. Sorry.
10:14:06 25          Q.    BY MR. SIEGEL: Yes.

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10:14:06   1               If I am a -- if I was a potential
10:14:10   2    customer of -- of Servers.com, what would you
10:14:12   3    tell me is better about Servers.com than your
10:14:18   4    competition?
10:14:22   5         A.    That question -- an answer to that
10:14:24   6    question requires too much of assumptions and
10:14:27   7    hypothesizing. I cannot answer that.
10:14:30   8         Q.    Really, you can't? You can't -- you
10:14:31   9    have no idea what you would tell a potential
10:14:34 10     customer is better about Servers.com?
10:14:37 11          A.    I have no idea of what I would tell
10:14:39 12     you if you were a potential customer.
10:14:41 13          Q.    Would you just tell me, oh, it's just
10:14:43 14     better, but I can't tell you why?
10:14:46 15          A.    I don't know what I would tell you.
10:14:48 16          Q.    Okay. What do you think is better
10:14:51 17     about Servers.com than your competitors?
10:14:57 18          A.    Everything.
10:14:59 19          Q.    Everything?
10:15:00 20                Give me three examples of what is
10:15:02 21     better, in your opinion.
10:15:26 22          A.    It is access to the global private
10:15:32 23     network. It is fast server provisioning time.
10:15:41 24                (Court reporter clarification.)
10:15:41 25                THE WITNESS: Fast server provisioning.

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10:15:41   1    And it is 40-gigabit connection to each server.
10:15:51   2         Q.     BY MR. SIEGEL: What about security?
10:15:54   3                Is the security on -- offered by
10:15:57   4    Servers.com better than your competitors?
10:15:58   5         A.     We --
10:16:00   6                MR. GURVITS: Objection.
10:16:00   7                THE WITNESS: Servers.com does not
10:16:09   8    offer security services.
10:16:11   9         Q.     BY MR. SIEGEL: Okay.
10:16:11 10          A.     It's a hosting company.
10:16:12 11          Q.     Does Webzilla?
10:16:14 12          A.     Webzilla does not offer security
10:16:15 13     services.
10:16:16 14          Q.     At all? It offers nothing to give
10:16:19 15     customers comfort that their -- the -- the
10:16:27 16     services they provide or they offer are secure?
10:16:31 17                 MR. GURVITS: Objection.
10:16:33 18                 THE WITNESS: I don't know.
10:16:35 19          Q.     BY MR. SIEGEL: You don't know?
10:16:38 20          A.     I don't know. Don't know.
10:16:49 21          Q.     Okay. There came a time when you
10:16:52 22     hired a public relations firm called the Cutler
10:16:55 23     firm; right?
10:16:57 24          A.     That's correct.
10:16:57 25          Q.     Okay. Up till that point, how was

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10:17:03   1    public relations handled?
10:17:10   2         A.    I don't know.
10:17:11   3         Q.    Well, who was responsible for it?
10:17:17   4         A.    The marketing team.
10:17:18   5         Q.    The marketing team at XBT?
10:17:26   6         A.    The marketing team -- teams of the
10:17:29   7    companies.
10:17:32   8         Q.    Okay. Prior to retaining the Cutler
10:17:37   9    firm, had any XBT subsidiary retained any outside
10:17:43 10     public relations firm?
10:17:45 11          A.    I don't know.
10:17:45 12          Q.    You don't know?
10:17:46 13          A.    (Witness shakes head in the negative.)
10:17:48 14                MR. SIEGEL: I'll show you Exhibit 2.
10:17:48 15                (Exhibit 2 marked.)
10:18:13 16          Q.    BY MR. SIEGEL: Exhibit 2 indicates
10:18:14 17     that it is an interview that you gave to
10:18:20 18     Linux.com.
10:18:23 19                Is that right?
10:18:39 20          A.    (Examining.) That is right.
10:18:40 21          Q.    What is Linux.com?
10:18:43 22          A.    It's a website.
10:18:44 23          Q.    And what is -- does it have a focus?
10:18:50 24          A.    I don't know.
10:18:52 25          Q.    How did it -- how did you come to be

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10:18:54   1    interviewed by Linux.com?
10:18:59   2           A.   I don't remember.
10:18:59   3           Q.   Okay. Do you remember who contacted
10:19:05   4    you about it?
10:19:06   5           A.   I don't remember.
10:19:07   6           Q.   Was it something that somebody in your
10:19:09   7    marketing department facilitated?
10:19:12   8           A.   I don't remember.
10:19:14   9           Q.   Why did you give this interview?
10:19:18 10            A.   Because someone -- I don't remember
10:19:29 11     who -- approached me and asked to do that.
10:19:32 12            Q.   And why did you say "yes"?
10:19:37 13            A.   I don't know. I wanted to.
10:19:39 14            Q.   And why did you want to?
10:19:44 15            A.   I find it hard to explain a wish.
10:19:47 16            Q.   Well, that's what we're here for.
10:19:50 17     So just explain to me the best you can why
10:19:51 18     you wanted to.
10:19:52 19            A.   I don't recollect any particular
10:19:54 20     reason for that.
10:19:55 21            Q.   Okay. Why were you looking to --
10:19:59 22     to potentially hire a public relations agency
10:20:03 23     at the time that you ultimately hired the Cutler
10:20:07 24     one?
10:20:15 25            A.   Because we believed that we can promote

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10:20:21   1    the brand of Servers.com.
10:20:24   2         Q.    Okay. And why did you -- why did you
10:20:28   3    want to hire a public relations agency to help
10:20:31   4    do that?
10:20:39   5         A.    Because we believed that public
10:20:49   6    relations is a part of marketing activities.
10:20:54   7         Q.    A part of what?
10:20:55   8         A.    Of marketing activities.
10:20:56   9         Q.    Okay. And why -- explain to me what
10:21:00 10     you mean by that.
10:21:03 11          A.    We believed that we need to have
10:21:08 12     marketing activities --
10:21:09 13          Q.    Uh-huh.
10:21:09 14          A.    -- to promote Servers.com brand.
10:21:13 15     And we believed that public relations is
10:21:17 16     a part of marketing activities.
10:21:21 17          Q.    I understand that.
10:21:21 18                My question was: Why is it a part?
10:21:24 19     Why did you believe it was a part of marketing
10:21:27 20     activities?
10:21:30 21          A.    I don't remember where I got this
10:21:31 22     knowledge.
10:21:32 23          Q.    Well, what did you believe that
10:21:34 24     a public relations firm would offer to you,
10:21:37 25     in terms of marketing activities, that you

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10:21:39   1    didn't have already?
10:21:51   2          A.   Nothing that we didn't have.
10:21:53   3          Q.   Then why would you hire one?
10:21:56   4          A.   Because it would improve something
10:21:59   5    that we had.
10:21:59   6          Q.   Okay. How did you hope to improve
10:22:04   7    it?
10:22:07   8          A.   We hoped to improve it with public
10:22:14   9    relations activities.
10:22:15 10           Q.   Okay. How? What were you looking --
10:22:18 11     what improvements were you looking for when
10:22:22 12     you hired an outside PR firm?
10:22:27 13           A.   We were looking for better brand
10:22:41 14     recognition.
10:22:41 15                (Court reporter clarification.)
10:22:41 16                THE WITNESS: Better brand recognition.
10:22:41 17                MR. SIEGEL: Okay.
10:22:41 18                MS. BOLGER: "Recognition."
10:22:41 19                THE WITNESS: "Brand recognition."
10:22:42 20           Q.   BY MR. SIEGEL: Right. And what
10:22:43 21     services did a public relations firm -- did
10:22:45 22     you hope that a public relations firm would
10:22:49 23     offer that would give you better brand
10:22:52 24     recognition?
10:22:56 25           A.   We were hoping they would get us

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10:23:02   1    publications.
10:23:03   2         Q.    Okay. Publicity; right?
10:23:06   3         A.    Publicity. Yes.
10:23:07   4         Q.    In media publications?
10:23:09   5         A.    In media. Yes.
10:23:16   6         Q.    Okay. Do you -- how did you come to
10:23:21   7    communicate with the Cutler firm? How did that
10:23:25   8    firm -- how did you ever even come to hear of
10:23:28   9    them?
10:23:31 10          A.    Aleksej Gubarev told me that such
10:23:35 11     firm exists.
10:23:35 12          Q.    Okay. And did Mr. Gubarev tell you
10:23:41 13     how he knew about them?
10:23:47 14          A.    Yes.
10:23:47 15          Q.    And what did he say?
10:23:50 16          A.    He told that one of the persons he --
10:23:55 17     one of the companies he knows were using them
10:23:59 18     and were happy.
10:24:01 19                MR. SIEGEL: Okay. So this is Exhibit 3.
10:24:09 20                (Exhibit 3 marked.)
10:24:09 21                THE WITNESS: Okay. (Examining.)
10:24:26 22          Q.    BY MR. SIEGEL: So Exhibit 3 appears
10:24:27 23     to be an e-mail from Zach Cutler to you saying:
10:24:35 24                "Thanks for contacting us."
10:24:38 25                So did -- did you reach out to

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10:24:41   1    Mr. Cutler?
10:24:45   2         A.    Yes.
10:24:46   3         Q.    Okay. Do you recall how you reached
10:24:49   4    out to him?
10:24:50   5         A.    No.
10:24:50   6         Q.    Okay. And was it by phone or e-mail
10:24:54   7    or text or ...
10:24:59   8         A.    I -- I don't have a confidence in that.
10:25:03   9    I -- I'm not confident what it was.
10:25:06 10                MR. SIEGEL: Okay. Let's mark this as
10:25:25 11     Exhibit 4.
10:25:26 12                (Exhibit 4 marked.)
10:25:26 13                THE WITNESS: Like those are different.
10:25:26 14     Wait.
10:25:26 15                MR. SIEGEL: Well, that's an attachment.
10:25:33 16                THE WITNESS: That's an attachment.
10:25:33 17     Okay. (Examining.)
10:25:37 18                MR. SIEGEL: And I'll just say for the
10:25:39 19     record that the -- both with respect to -- that
10:25:41 20     should go to Val; right?
10:25:48 21                Both with respect to Exhibit 4 and
10:25:51 22     other exhibits today that have attachments,
10:25:54 23     because the attachments were only provided
10:25:58 24     in the unmarked native files by the plaintiff,
10:26:02 25     that they do not have the same numbers -- the

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10:26:05   1    same Bates numbers that the other exhibits have.
10:26:10   2         Q.    BY MR. SIEGEL: So this e-mail, also
10:26:13   3    from Mr. Cutler to yourself, appears to indicate
10:26:15   4    that this is a proposal that the Cutler firm sent
10:26:19   5    to you?
10:26:20   6         A.    Uh-huh.
10:26:20   7         Q.    All right. Now, this is a little tough
10:26:27   8    because there are not page numbers.
10:26:29   9               I want you to go to the page -- it's
10:26:31 10     actually the tenth page. It says "Campaign
10:26:35 11     Elements" on the top of it, continued.
10:26:41 12          A.    Okay.
10:26:41 13          Q.    Do you see that?
10:26:43 14          A.    Yes.
10:26:43 15          Q.    Okay. So Mr. Cutler proposed that:
10:26:51 16                "Once credibility is established, the
10:26:53 17     press will seek commentary on timely topics from
10:26:56 18     Servers.com."
10:26:56 19                Is that a kind of service that you were
10:27:01 20     hoping to get?
10:27:04 21          A.    Wait a moment. I must be looking at
10:27:05 22     a different page.
10:27:06 23          Q.    Show me --
10:27:06 24          A.    Aah.
10:27:06 25          Q.    Show me what you're --

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10:27:06   1         A.    I'm looking here.
10:27:06   2         Q.    Yeah. Next page.
10:27:10   3         A.    Aah, next page.
10:27:10   4         Q.    Okay. So at the top of the page, it says:
10:27:13   5               "Campaign Elements" abbreviated continued.
10:27:14   6    (As read.)
10:27:16   7               Under "Industry commentary," it says:
10:27:18   8               "Once credibility is established, the
10:27:19   9    press will seek commentary on timely topics from
10:27:22 10     Servers.com."
10:27:22 11                That's the kind of service that you
10:27:24 12     were looking for that was competently provided?
10:27:30 13     Is that fair?
10:27:31 14          A.    That is fair.
10:27:31 15          Q.    Okay. Under "Thought Leadership," it
10:27:39 16     says:
10:27:39 17                "Raise key executives' profiles with
10:27:40 18     bylined articles."
10:27:42 19                That's also something you were hoping
10:27:45 20     to accomplish?
10:27:47 21          A.    That's what I was advised to accomplish.
10:27:52 22          Q.    By who?
10:27:53 23          A.    By Zach Cutler.
10:27:57 24          Q.    Okay. What did you understand the term
10:27:58 25     "thought leadership" to mean?

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10:28:06   1         A.    It meant publicly stated expertise.
10:28:16   2         Q.    Okay. And expert -- expertise is --
10:28:20   3         A.    Expertise.
10:28:22   4         Q.    It's fine.
10:28:22   5         A.    Sorry.
10:28:22   6         Q.    It's -- it's --
10:28:22   7         A.    My English is --
10:28:23   8         Q.    The word is correct. The pronunciation
10:28:26   9    is --
10:28:28 10          A.    Okay.
10:28:28 11          Q.    -- is regional anyway.
10:28:32 12                So a public expertise about what?
10:28:37 13          A.    In what field?
10:28:38 14          Q.    Yeah.
10:28:43 15          A.    Hosting.
10:28:44 16          Q.    Okay. So, in other words, thought
10:28:49 17     leadership involved being held out to the
10:28:51 18     public as experts in something; right?
10:28:53 19                MR. GURVITS: Objection.
10:28:54 20          Q.    BY MR. SIEGEL: Okay.
10:29:01 21          A.    Can you please repeat the question?
10:29:03 22          Q.    It's all right. I'll -- I'll -- I'll
10:29:05 23     strike that and move on.
10:29:10 24                There -- go two pages over where it says:
10:29:15 25                "Target Media."

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10:29:15   1               Right? So these are the kind of media
10:29:22   2    publications they indicated that they would target.
10:29:25   3    So they include, for example, Forbes, CNNMoney,
10:29:30   4    The Economist, The Guardian, Bloomberg.
10:29:33   5               Are those among the type of publications
10:29:35   6    that you were hoping to get publicity in, if they
10:29:42   7    succeeded?
10:29:42   8         A.    No.
10:29:43   9         Q.    No? Not at all?
10:29:47 10          A.    No.
10:29:48 11          Q.    So what were you looking for?
10:29:55 12          A.    We were not looking for any specific
10:29:58 13     media.
10:30:02 14          Q.    Just media in general?
10:30:08 15          A.    Just the right media for us.
10:30:09 16          Q.    And what was the right media for you?
10:30:12 17          A.    We didn't know that.
10:30:13 18          Q.    So you wanted to get advice from them
10:30:17 19     about what media would be most appropriate for
10:30:20 20     you? Is that fair?
10:30:21 21          A.    No.
10:30:21 22          Q.    No?
10:30:22 23          A.    No.
10:30:24 24          Q.    So if you didn't know what media would
10:30:27 25     be the most appropriate -- right? -- for you,

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10:30:30   1    how did you expect to find that out?
10:30:38   2           A.   We expected them to know that --
10:30:40   3           Q.   Okay.
10:30:41   4           A.   -- and to do that.
10:30:43   5           Q.   And to do that. Okay.
10:30:44   6                So is it fair to say you -- you left
10:30:47   7    it up to them to choose what target media would
10:30:50   8    be most appropriate for you?
10:30:52   9           A.   That's correct.
10:30:52 10            Q.   Okay.
10:30:57 11                 MR. SIEGEL: Okay. Let's mark this as
10:31:11 12     Exhibit 5.
10:31:17 13                 (Exhibit 5 marked.)
10:31:17 14                 MR. SIEGEL: And there's Val's copy.
10:31:23 15                 THE WITNESS: Oh. I pass it down marked;
10:31:25 16     yes?
10:31:26 17                 MR. SIEGEL: Yes.
10:31:29 18                 THE WITNESS: Okay. Give me some time.
10:31:33 19     (Examining.)
10:31:33 20            Q.   BY MR. SIEGEL: Okay. This indicates
10:31:45 21     that it's an e-mail from Mr. Cutler to you --
10:31:47 22            A.   Uh-huh.
10:31:47 23            Q.   -- with, again, a series of proposals.
10:31:56 24            A.   Uh-huh.
10:32:01 25            Q.   Actually, if you turn to the second

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10:32:03   1    page of the e-mail --
10:32:04   2         A.    Uh-huh.
10:32:05   3         Q.    -- it indicates that you told Mr. Cutler
10:32:14   4    that you were -- on the top on October 9th at 6:19
10:32:19   5    p.m. -- or he tells you -- I'm sorry.
10:32:23   6               "We can do an average of at least three
10:32:26   7    publications at $7,500" a "month." (As read.)
10:32:29   8               And you then asked him for $5,000
10:32:31   9    a month retainer or three publications at the
10:32:31 10     same price?
10:32:29 11                (Court reporter clarification.)
10:32:29 12                MR. SIEGEL: Sure. Sorry. Sorry.
10:32:29 13          Q.    BY MR. SIEGEL: It looks like on Friday,
10:32:38 14     October 19th [sic], at 11:16 a.m. you e-mailed
10:32:43 15     him saying: Is the $7,500 retainer for two
10:32:47 16     publications?
10:32:48 17                And you asked him: Can we have either
10:32:50 18     a 5,000 retainer or three publications at the
10:32:54 19     same price?
10:32:55 20                Correct?
10:32:55 21          A.    Yes.
10:32:56 22          Q.    Okay. And he said:
10:32:56 23                "We can do an average of at least three
10:32:57 24     publications at $7,500" a "month. Would you like
10:33:00 25     to proceed?" (As read.)

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10:33:01   1               Right?
10:33:01   2         A.    That's what the e-mail says. Yes.
10:33:05   3         Q.    Right.
10:33:05   4               And then you ultimately did proceed
10:33:07   5    with $7,500 a month; right?
10:33:10   6         A.    I don't remember that.
10:33:10   7         Q.    Okay. So the -- the record will be
10:33:11   8    what -- the invoices will say what they say.
10:33:14   9         A.    Yeah. When I see the invoice, I will
10:33:14 10     be --
10:33:14 11          Q.    Okay.
10:33:14 12          A.    -- able to --
10:33:18 13          Q.    Okay. If you look at the first page.
10:33:26 14                So he, again, at the top is giving you
10:33:29 15     examples of media that -- that he thinks would
10:33:32 16     be appropriate to target; right?
10:33:33 17          A.    Yes.
10:33:35 18          Q.    Okay. And -- and as I understand, from
10:33:37 19     your last answer, you were going to leave it up
10:33:39 20     to them to -- to make that decision?
10:33:41 21          A.    Yes.
10:33:41 22          Q.    Okay. If you go maybe -- you see four
10:33:47 23     bullet points from the bottom, it says:
10:33:53 24                "Position CEO as an industry expert and
10:33:56 25     influential thought leader in the space. Offer

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10:33:59   1    as a resource to comment on industry trends and
10:34:01   2    news stories."
10:34:02   3               Who was the CEO that was being talked
10:34:06   4    about here?
10:34:09   5         A.    I don't know who is -- who he has been
10:34:11   6    talking about.
10:34:12   7         Q.    Was that -- do you know whether -- was
10:34:14   8    that you or Mr. Gubarev?
10:34:16   9         A.    I don't know who was he talking about --
10:34:18 10          Q.    Okay.
10:34:19 11          A.    -- in this e-mail.
10:34:20 12          Q.    Who do you think?
10:34:24 13          A.    I prefer not to make guesses.
10:34:25 14          Q.    Okay. And, again, where he says
10:34:29 15     "Nominate CEO and other executives to speak on
10:34:33 16     panels or keynotes and key industry conferences,
10:34:35 17     to build visibility and thought leadership of
10:34:38 18     brand," do you know which CEO he's talking about?
10:34:41 19          A.    I don't know who he is talking about.
10:34:43 20          Q.    Just -- do you know which company's
10:34:54 21     CEO he was referring to?
10:35:13 22          A.    It isn't written here explicitly.
10:35:15 23     And I don't know what other person meant
10:35:19 24     other than what --
10:35:20 25          Q.    Okay.

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10:35:20   1         A.    -- is said in the e-mail.
10:35:22   2         Q.    Well, based on the -- the roughly
10:35:24   3    three months that you worked with them --
10:35:26   4         A.    Uh-huh.
10:35:26   5         Q.    -- does that give you an understanding
10:35:30   6    of who they were talking about?
10:35:36   7         A.    No, it's still --
10:35:36   8         Q.    In other words, based on the --
10:35:38   9         A.    It's still --
10:35:38 10          Q.    -- work that actually --
10:35:39 11          A.    -- it's still -- it's still hypothesizing
10:35:40 12     about what -- what they were talking about in this
10:35:43 13     e-mail.
10:35:43 14          Q.    Okay.
10:35:47 15          A.    May I ask for a break once we are done
10:35:50 16     with this --
10:35:53 17          Q.    Sure.
10:35:53 18          A.    -- with this exhibit?
10:35:54 19          Q.    Sure. I'm going to ask just one more
10:35:55 20     question, and then we'll take a break. Okay?
10:35:58 21                The -- the folks at the Cutler firm
10:36:00 22     that you worked with primarily were based in
10:36:03 23     the United States; right?
10:36:05 24          A.    That's what they told.
10:36:08 25          Q.    That's what they said?

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10:36:09   1         A.     Yes.
10:36:12   2         Q.     Were you looking for an American-based
10:36:13   3    firm or a firm with an American-based office?
10:36:20   4         A.     No.
10:36:21   5         Q.     It didn't matter to you where in the
10:36:23   6    world they were based?
10:36:34   7         A.     I don't remember what were the factors
10:36:36   8    in consideration.
10:36:41   9         Q.     Okay. Did you consider any firms that
10:36:43 10     were based in any other parts of the world at
10:36:46 11     the time?
10:36:49 12          A.     No.
10:36:50 13          Q.     Just in America?
10:36:51 14          A.     We didn't consider any other company
10:36:54 15     at all.
10:36:55 16                 MR. SIEGEL: All right. Okay. Let's
10:36:57 17     take a break.
10:36:59 18                 THE VIDEOGRAPHER: Going off the record
10:36:59 19     at 10:36.
10:37:02 20                 (Recess from 10:36 a.m. to 10:49 a.m.)
10:49:44 21                 THE VIDEOGRAPHER: Back on the record
10:49:45 22     at 10:49.
10:49:48 23                 MR. SIEGEL: Okay. I'm going to show
10:49:50 24     you Exhibit 6.
10:49:54 25                 (Exhibit 6 marked.)

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10:50:05   1         Q.    BY MR. SIEGEL: Exhibit 6 is an e-mail
10:50:07   2    between Marilyn Gerber and yourself and a couple
10:50:11   3    of other folks.
10:50:11   4               Was Marilyn Gerber one of the people
10:50:13   5    at Cutler PR that you worked with?
10:50:16   6         A.    (Examining.) Yes.
10:50:18   7         Q.    Who is -- you look at the e-mail "To"
10:50:23   8    line. Who is "trankov@servers.com"?
10:50:27   9         A.    He was a marketing manager.
10:50:31 10          Q.    And is his name Alexey? Alexey Trankov?
10:50:36 11          A.    That's correct.
10:50:36 12          Q.    Is he still with any XBT company today?
10:50:40 13          A.    No.
10:50:42 14          Q.    And who was Olga Galkinka? Did I say
10:50:46 15     that right? Or Galkina?
10:50:52 16          A.    She was a PR manager.
10:50:56 17          Q.    A PR manager?
10:50:57 18          A.    Yes.
10:50:57 19          Q.    Did she report to Mr. Trankov?
10:51:00 20          A.    Yes.
10:51:00 21          Q.    Okay. And is she with the company
10:51:05 22     today?
10:51:06 23          A.    No.
10:51:10 24          Q.    Did they handle public relations
10:51:14 25     before you hired an outside public relations

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10:51:18   1    firm?
10:51:20   2         A.    No.
10:51:21   3         Q.    No?
10:51:21   4               Who did?
10:51:23   5         A.    No one did.
10:51:25   6         Q.    No one did.
10:51:29   7               So meaning -- was it something that
10:51:31   8    the company didn't really do until you hired
10:51:33   9    an outside firm?
10:51:35 10          A.    That's correct.
10:51:41 11          Q.    The e-mail indicates that Ms. Gerber
10:51:46 12     said that Cutler PR at the bottom would share
10:51:48 13     examples of bylined articles to use as a guide
10:51:51 14     to draft articles for placement, begin developing
10:51:54 15     a list of target media outlets.
10:51:58 16                This was all part of the -- the services
10:52:00 17     they were supposed to be offering you? Is that
10:52:03 18     fair?
10:52:11 19          A.    Yes.
10:52:12 20          Q.    Okay. This appears to indicate that
10:52:15 21     the e-mail was sent after a telephone call.
10:52:18 22                Did you -- do you have any process
10:52:20 23     of regular telephone calls with Cutler PR?
10:52:26 24          A.    No.
10:52:28 25          Q.    Not with Cutler?

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10:52:31   1         A.    Not with Cutler.
10:52:38   2         Q.    Okay. So you did have some telephone
10:52:39   3    calls with them; right?
10:52:41   4         A.    That's correct.
10:52:42   5         Q.    And is it -- was it simply they weren't
10:52:44   6    scheduled on any particular regular basis? In
10:52:48   7    other words, did you have weekly calls?
10:52:51   8         A.    I don't remember.
10:52:51   9         Q.    Okay. Fair enough.
10:52:52 10                (Exhibit 7 marked.)
10:53:00 11          Q.    BY MR. SIEGEL: I'll show you what's
10:53:01 12     been marked as Exhibit 7. Exhibit 7 is e-mails
10:53:38 13     between you and Ms. Gerber. If you look at the
10:53:43 14     second e-mail on page 1024 -- it's just -- it's
10:53:46 15     the first one --
10:53:47 16          A.    Uh-huh. (Examining.)
10:53:48 17          Q.    -- the first page. She's explaining
10:53:51 18     what the purpose of the placement of bylined
10:53:56 19     articles is. And you respond that:
10:54:02 20                "I have some ideas in mind I wish
10:54:04 21     to discuss."
10:54:07 22                What ideas did you have at the time?
10:54:09 23          A.    I don't remember.
10:54:10 24          Q.    You don't remember. Okay.
10:54:12 25                The next line says:

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10:54:14   1               "Can we use Skype/Viber/... (basically
10:54:19   2    any messenger)."
10:54:21   3               Did you communicate with them using
10:54:22   4    some sort of messenger service as well?
10:54:26   5         A.    Yes.
10:54:26   6         Q.    Which one?
10:54:28   7         A.    Skype.
10:54:29   8         Q.    Skype? Skype?
10:54:30   9         A.    Yeah.
10:54:31 10          Q.    And was that for telephone calls
10:54:35 11     only or also written messages back and forth?
10:54:43 12                MR. GURVITS: Objection.
10:54:45 13                MR. SIEGEL: Okay. Fair enough.
10:54:45 14          Q.    BY MR. SIEGEL: In what form did you
10:54:48 15     communicate on Skype?
10:54:53 16          A.    Calls.
10:54:54 17          Q.    Okay. Any texts or messages communicated
10:55:00 18     with words in print?
10:55:03 19          A.    I do not recollect that.
10:55:04 20                MR. SIEGEL: Okay. Okay. Let's go
10:55:13 21     to Exhibit 8.
10:55:21 22                (Exhibit 8 marked.)
10:55:47 23          Q.    BY MR. SIEGEL: Were -- strike that.
10:55:48 24                At the -- at this time in late 2015,
10:55:57 25     was your position COO of Servers.com? Is that

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10:56:00   1    accurate?
10:56:00   2         A.     That's correct.
10:56:04   3         Q.     Was there a CEO of Servers.com at the
10:56:07   4    time?
10:56:08   5         A.     Yes.
10:56:08   6         Q.     Who was that?
10:56:09   7         A.     Aleksej Gubarev.
10:56:11   8         Q.     And was there a CEO of XBT Holding at
10:56:16   9    the time?
10:56:18 10          A.     Yes.
10:56:19 11          Q.     And who was that?
10:56:20 12          A.     Aleksej Gubarev.
10:56:24 13          Q.     Does that refresh your recollection
10:56:25 14     as to who the CEO in the e-mail that we looked
10:56:28 15     at before must have been?
10:56:30 16          A.     (Examining.) No.
10:56:31 17          Q.     No?
10:56:32 18                 Was there any other CEO?
10:56:35 19          A.     There was no other CEO.
10:56:36 20          Q.     Okay. Now, let's look at the -- go
10:56:46 21     to page 141 -- 1041. I'm sorry.
10:56:51 22          A.     All right.
10:56:52 23          Q.     At the bottom Ms. Gerber says:
10:56:55 24                 "I'm touching base ... I'm working on
10:56:59 25     placing your 'Technical Debt' article with an

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10:57:00   1    appropriate tech trade media outlet." (As read.)
10:57:02   2               So you had drafted an article about
10:57:05   3    technical debt?
10:57:07   4         A.    Yes.
10:57:09   5         Q.    Why did you choose that top -- or
10:57:11   6    strike that.
10:57:11   7               Was that a topic that you chose?
10:57:14   8         A.    Yes.
10:57:15   9         Q.    Why?
10:57:19 10          A.    I don't remember the reason.
10:57:23 11          Q.    Okay. Was -- was there a reason
10:57:26 12     why you thought that would be a good topic
10:57:29 13     to -- to write about publicly?
10:57:34 14          A.    No. There was no such reason.
10:57:35 15          Q.    No reason at all?
10:57:37 16          A.    No. There was no such reason.
10:57:39 17          Q.    Was there any reason why you chose --
10:57:41 18          A.    No. I just offered it --
10:57:43 19          Q.    Uh-huh.
10:57:44 20          A.    -- to the PR company.
10:57:49 21          Q.    And you had said in the e-mail before
10:57:52 22     I had some other topics -- I have some topics,
10:57:54 23     plural, in mind?
10:57:57 24          A.    Uh-huh.
10:57:58 25          Q.    Why did you offer that particular one?

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10:58:06   1         A.    I don't remember.
10:58:06   2         Q.    Okay. Was there some -- did you think
10:58:09   3    there would be some benefit to the company in
10:58:13   4    commenting on technical debt?
10:58:15   5         A.    I didn't evaluate that.
10:58:18   6         Q.    You didn't think that?
10:58:23   7         A.    I didn't evaluate whether --
10:58:24   8         Q.    Oh, you didn't evaluate?
10:58:24   9         A.    -- whether it would or would not be
10:58:28 10     any benefit.
10:58:28 11          Q.    Okay.
10:58:28 12                THE COURT REPORTER: I'm sorry. You
10:58:28 13     were both talking at the same time. I didn't
10:58:28 14     hear everything.
10:58:28 15                THE WITNESS: I did not evaluate
10:58:29 16     whether there would or would not be a benefit
10:58:29 17     to the company.
10:58:31 18          Q.    BY MR. SIEGEL: And if you look at
10:58:32 19     the very top of page 1041 --
10:58:40 20          A.    Yes.
10:58:40 21          Q.    -- you -- you write a long e-mail that
10:58:42 22     starts on page 1039 that talks about launching
10:58:47 23     Percona server?
10:58:51 24          A.    Yeah.
10:58:52 25          Q.    So if you go to the very end of the

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10:58:54   1    e-mail, at the top of 1041 --
10:58:56   2         A.     Uh-huh.
10:58:56   3         Q.     -- you say:
10:58:58   4                "We're launching there" December 7th.
10:58:59   5    (As read.)
10:58:59   6                "By launch, I'd prepare an article
10:59:02   7    on the reason why Luxembourg is a perfect
10:59:04   8    destination for fintech company expansion
10:59:05   9    outside" the "U.S." (As read.)
10:59:10 10                 Right?
10:59:10 11          A.     Right.
10:59:12 12          Q.     Why did you choose that topic?
10:59:23 13          A.     Because I believed fintech is a good
10:59:27 14     vertical.
10:59:30 15          Q.     A good what? I'm sorry.
10:59:31 16          A.     Because I believed that fintech is
10:59:32 17     a good vertical, is a good segment.
10:59:36 18          Q.     Okay. And explain what "fintech" is.
10:59:41 19          A.     Financial technology.
10:59:50 20          Q.     Okay. And in your opinion, did you
10:59:52 21     think that Luxembourg was a perfect destination
10:59:55 22     for financial technology company expansion?
11:00:06 23          A.     I don't remember.
11:00:07 24          Q.     So does the -- do you believe that,
11:00:14 25     when you wrote this in November 2015, that

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11:00:18   1    there was a reason why Luxembourg is -- at
11:00:22   2    least at that time -- a perfect destination
11:00:26   3    for fintech company expansion outside the
11:00:29   4    United States?
11:00:30   5         A.    I don't remember.
11:00:30   6         Q.    Would you write something that you
11:00:32   7    just made up?
11:00:33   8         A.    I would.
11:00:34   9         Q.    You would. Okay.
11:00:35 10                You then go on to say:
11:00:42 11                "So we should target fintechs with
11:00:43 12     it. And at the highest possible level. I
11:00:45 13     mean, TechCrunch or VentureBeat at least."
11:00:49 14                Right?
11:00:49 15                What is VentureBeat?
11:00:52 16          A.    It's a media.
11:00:53 17          Q.    And what is TechCrunch?
11:00:56 18          A.    It's a media.
11:00:57 19          Q.    And why are -- were those, at least
11:00:58 20     in your view, at the highest level possible?
11:01:02 21          A.    I don't remember my reasoning.
11:01:06 22          Q.    Okay. Okay. Would it be -- if you
11:01:13 23     don't remember why, it would be fair to say
11:01:15 24     that you thought VentureBeat and TechCrunch
11:01:18 25     were high-level media?

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11:01:24   1            A.   I believed that.
11:01:25   2            Q.   Okay. Go to the very -- page 1039,
11:01:31   3    the last e-mail on that chain at the very top.
11:01:36   4    You write:
11:01:38   5                 "I've got your point here. However,
11:01:41   6    you've at least promised to give an idea of
11:01:42   7    list of outlets you're pursuing. Can you
11:01:44   8    share that?"
11:01:46   9                 Why did you write that?
11:02:09 10             A.   I don't remember.
11:02:09 11             Q.   Okay. Did you -- were you -- did you
11:02:16 12     feel like they were not providing the services
11:02:18 13     that you expected in as timely a manner as you
11:02:26 14     expected?
11:02:27 15             A.   Yes.
11:02:39 16                  MR. SIEGEL: Okay. Let's go to Exhibit 9.
11:02:52 17     And, actually, let's do 10 at the same time.
11:02:56 18                  (Exhibit 9 and Exhibit 10 marked.)
11:02:56 19                  THE WITNESS: Aah, this one is marked.
11:03:09 20     Okay.

11:03:13 21             Q.   BY MR. SIEGEL: So Exhibit 9, in the
11:03:16 22     first e-mail at the bottom of page 1057, is from
11:03:18 23     Marilyn Gerber to yourself, saying that they've
11:03:24 24     heard from the editor of Network World that they'd
11:03:26 25     be happy to take a look at it and that Network

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11:03:29   1    World reaches 520,000 unique monthly visitors.
11:03:33   2               And then Exhibit 10 is a article written
11:03:40   3    by you or bylined by you.
11:03:44   4               "Byline" means -- when we say "by."
11:03:47   5         A.    Yeah. (Examining.)
11:03:49   6         Q.    That was ultimately printed in Network
11:03:52   7    World; right? It was ultimately published in
11:03:54   8    Network World --
11:03:56   9         A.    Right.
11:03:56 10          Q.    -- correct?
11:03:56 11                Were you satisfied with the -- were
11:04:03 12     you happy about the publication of this article
11:04:06 13     in Network World?
11:04:08 14          A.    No.
11:04:08 15          Q.    Why not?
11:04:16 16          A.    I don't remember. I was not happy.
11:04:18 17     I don't remember.
11:04:20 18          Q.    You have no idea why you weren't happy?
11:04:22 19          A.    No.
11:04:22 20          Q.    Did you feel like it wasn't the -- the
11:04:26 21     caliber of publication that you were hoping for?
11:04:31 22          A.    I don't remember my line of reasoning.
11:04:33 23          Q.    Okay. You just remember you weren't
11:04:37 24     happy?
11:04:37 25          A.    Yes.

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11:04:37   1         Q.    Did you think that 520,000 unique
11:04:41   2    monthly visitors wasn't enough?
11:04:45   3         A.    I didn't consider that number at all.
11:04:46   4         Q.    Oh. But -- so you know you didn't
11:04:46   5    consider that number. But you can't remember
11:04:48   6    any other reason why you weren't happy?
11:04:50   7         A.    No. I -- I don't remember very good.
11:04:53   8         Q.    Okay.
11:04:53   9         A.    This number was not part of the
11:04:55 10     consideration.
11:04:55 11                MR. SIEGEL: Okay. We can do this one
11:05:12 12     very quickly. This is an e-mail and its attachment,
11:05:16 13     Exhibit 11.
11:05:18 14                (Exhibit 11 marked.)
11:05:18 15          Q.    BY MR. SIEGEL: And I'm -- I'm just
11:05:36 16     going to ask you. It -- it looks like one of
11:05:38 17     the services that Cutler provided for you was
11:05:43 18     working with you on press releases?
11:05:46 19          A.    (Examining.) Yes.
11:05:47 20          Q.    Okay. And this is just an example of
11:05:49 21     one that -- a draft that was ultimately approved
11:05:53 22     by you?
11:05:54 23          A.    Yes.
11:05:54 24          Q.    Why were you the person who approved
11:05:57 25     press releases at this point?

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11:06:02   1         A.    I don't know why.
11:06:03   2         Q.    Well, why you and not Mr. Trankov or
11:06:07   3    Ms. Galkina? If I'm pronouncing that right.
11:06:09   4         A.    I don't know why.
11:06:09   5         Q.    You don't know? You have no idea?
11:06:10   6         A.    No.
11:06:28   7               MR. SIEGEL: Okay. Let's mark this
11:06:29   8    as Exhibit 12.
11:06:37   9               (Exhibit 12 marked.)
11:06:49 10          Q.    BY MR. SIEGEL: Okay. So it looks like
11:06:53 11     if you go to the -- to the back of Exhibit 12, on
11:06:59 12     pages 1083 and 1084, you drafted an article about
11:07:02 13     Luxembourg; right?
11:07:05 14          A.    (Examining.) That's correct.
11:07:09 15          Q.    And then on 1081 and 1082, it appears
11:07:13 16     that Ms. Gerber made some suggestions for changes?
11:07:32 17          A.    Yes.
11:07:32 18          Q.    Okay. And then at the top of the page --
11:07:44 19          A.    Which page?
11:07:45 20          Q.    I'm sorry. At the top of 1080, the
11:07:47 21     first one, she says that they've:
11:07:55 22                "Pitched VentureBeat for placement
11:07:57 23     of your Luxembourg article."
11:07:58 24                And then:
11:07:59 25                "Depending on the response, we'll go

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11:08:01   1    to TechCrunch next."
11:08:03   2                Right?
11:08:03   3                And do you understand what the term --
11:08:05   4    the term "pitched" means?
11:08:22   5         A.     No.
11:08:24   6         Q.     You have no idea?
11:08:32   7         A.     I have a vague idea.
11:08:34   8         Q.     And what's the vague idea?
11:08:37   9         A.     That they offer it for publication
11:08:42 10     to someone at the outlet --
11:08:46 11          Q.     Okay.
11:08:46 12          A.     -- that is being talked about.
11:08:51 13          Q.     And I take it it was your hope that
11:08:55 14     their pitch-off, or whatever you call it, would
11:08:57 15     be successful?
11:08:58 16          A.     Yes.
11:08:58 17                 MR. SIEGEL: All right. Let's go off
11:09:09 18     the record a sec.
11:09:11 19                 THE VIDEOGRAPHER: Going off the record
11:09:12 20     at 11:08.
11:09:17 21                 (Recess from 11:08 a.m. to 11:12 a.m.)
11:12:41 22                 THE VIDEOGRAPHER: Back on the record
11:12:41 23     at 11:12.
11:12:48 24                 MR. SIEGEL: I'm going to show you
11:12:53 25     Exhibit 13.

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11:12:53   1               (Exhibit 13 marked.)
11:13:03   2               MR. GURVITS: Is there a copy for me?
11:13:04   3               THE WITNESS: Aah, sorry. Sorry.
11:13:07   4         Q.    BY MR. SIEGEL: Mr. Dvas, on Exhibit 13,
11:13:10   5    on the bottom e-mail in the chain, Zach writes:
11:13:21   6               "We have good news - received confirmation
11:13:23   7    from a Forbes writer we pitched that Servers will
11:13:26   8    be featured in an upcoming roundup list in Forbes
11:13:29   9    about great startups to watch."
11:13:29 10                You respond:
11:13:32 11                "Hi, Zach! That's what I call really
11:13:34 12     good news!"
11:13:35 13                Why did you think that was really good
11:13:37 14     news?
11:13:38 15          A.    (Examining.) Because I was expecting
11:13:41 16     to get some publicity.
11:13:45 17          Q.    Okay. And you thought that inclusion
11:13:50 18     in an article in Forbes would be good publicity?
11:13:59 19          A.    I thought that inclusion in -- at
11:14:04 20     least in Forbes about great startups would
11:14:08 21     be good publicity.
11:14:10 22          Q.    Okay.
11:14:25 23                (Exhibit 14 marked.)
11:14:34 24          Q.    BY MR. SIEGEL: Okay. Exhibit 14
11:14:36 25     is an e-mail from Ms. Gerber to yourself in

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11:14:41   1    which she says that your Luxembourg article
11:14:43   2    was published by CNBC.com; right?
11:14:49   3         A.    (Examining.) That's what's in the
11:14:51   4    e-mail.
11:14:52   5         Q.    Okay. It was published on CNBC.com;
11:14:54   6    right?
11:14:56   7         A.    Yes, it was.
11:14:56   8         Q.    Did you consider that an example of
11:15:08   9    good publicity?
11:15:14 10          A.    Yes.
11:15:14 11          Q.    Okay. So that was something that you --
11:15:17 12     never mind.
11:15:25 13                Why?
11:15:33 14          A.    I don't remember my line of reasoning.
11:15:34 15          Q.    Okay. Look at the -- go to the back
11:15:47 16     of the -- where it has your couple of sentences
11:15:54 17     that sort of summarizes who you are.
11:15:56 18                "Nikolay ... Dvas is COO of Servers.com."
11:16:01 19     (As read.)
11:16:01 20          A.    Uh-huh.
11:16:01 21          Q.    And the second sentence says:
11:16:02 22                "Nick has been working in the hosting
11:16:04 23     industry since 2010 and joined XBT Holding, now
11:16:07 24     the parent company of Servers.com, in 2013."
11:16:10 25                Right?

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11:16:10   1         A.    Uh-huh.
11:16:11   2         Q.    When you originally joined, you said
11:16:13   3    you were project manager for Webzilla.
11:16:15   4               Do you know why it just says "joined
11:16:19   5    XBT Holding" and doesn't mention Webzilla?
11:16:22   6         A.    I don't know that.
11:16:23   7         Q.    You don't know. Okay.
11:16:34   8               MR. SIEGEL: Fifteen.
11:16:34   9               (Exhibit 15 marked.)
11:16:47 10          Q.    BY MR. SIEGEL: At the top e-mail of
11:16:51 11     Exhibit 15 on page 1133 from you to Ms. Gerber,
11:16:56 12     you say:
11:16:57 13                "Hi Marilyn, this piece was re-posted
11:16:59 14     by Luxembourg PM ... nice job." (As read.)
11:17:04 15                Where was it re-posted by -- strike
11:17:07 16     that.
11:17:07 17                Does "PM" stand for "prime minister"?
11:17:11 18          A.    (Examining.) That's correct.
11:17:12 19          Q.    And where -- where did -- was it
11:17:13 20     re-posted?
11:17:16 21          A.    In his Twitter.
11:17:19 22          Q.    Okay. And why was it -- I take it
11:17:27 23     you were pleased with that? You were pleased
11:17:30 24     that that had happened?
11:17:31 25          A.    Yes.

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11:17:32   1         Q.    And why?
11:17:37   2         A.    I don't remember my line of reasoning.
11:17:40   3         Q.    You have no idea why you were pleased
11:17:43   4    that the prime minister of Luxembourg re-posted
11:17:46   5    your article?
11:17:49   6         A.    No.
11:17:50   7         Q.    Why did you tell her "nice job"?
11:17:57   8         A.    Because I was happy and it was as a
11:18:04   9    result of her job.
11:18:18 10                MR. SIEGEL: Okay. Let's do Exhibit 16.
11:18:24 11                (Exhibit 16 marked.)
11:18:34 12          Q.    BY MR. SIEGEL: So at the e-mail at the
11:18:36 13     top of Exhibit 16 from Ms. Gerber to yourself, the
11:18:40 14     subject is "Servers.com/Cutler PR Call Recap" --
11:18:45 15     right? -- on January 6th?
11:18:48 16          A.    (Examining.) That is the subject line.
11:18:50 17          Q.    She says:
11:18:51 18                "Hi, Nick. Good catching up with you
11:18:54 19     yesterday. Below is a list of action items that
11:18:56 20     we discussed."
11:18:57 21                Does that indicate that you all had a
11:19:00 22     telephone conversation on or about January 6th?
11:19:13 23          A.    Yes.
11:19:13 24          Q.    Okay. Towards the bottom of the e-mail,
11:19:17 25     next-to-last line, under the heading "Cutler PR

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11:19:22   1    to," it says:
11:19:23   2                "Pitch info about opening of Russia
11:19:26   3    office to U.S. media who might be able to cover
11:19:29   4    it."
11:19:29   5                Why was that something that you were
11:19:31   6    interested in having Cutler do?
11:19:34   7                MR. GURVITS: Objection.
11:20:00   8                THE WITNESS: Excuse me. Can you
11:20:01   9    please repeat the question?
11:20:03 10            Q.   BY MR. SIEGEL: Okay. This e-mail
11:20:06 11     follows a telephone call --
11:20:08 12            A.   Yeah.
11:20:08 13            Q.   -- that you had; right?
11:20:08 14            A.   Yeah. The -- the last question.
11:20:09 15            Q.   Okay. The last question is: Why was
11:20:17 16     the item, "Pitch info about opening of Russia
11:20:23 17     office to U.S. media who might be able to cover
11:20:25 18     it," an action item that you discussed on the
11:20:28 19     telephone call?
11:20:31 20            A.   It wasn't.
11:20:32 21            Q.   It wasn't?
11:20:33 22            A.   It wasn't.
11:20:33 23            Q.   You never talked about it?
11:20:35 24            A.   We never talked about it. Yes.
11:20:38 25            Q.   You think she just made this up?

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11:20:40   1         A.    No.
11:20:42   2         Q.    So where did that action item come
11:20:50   3    from?
11:20:54   4         A.    From misunderstanding of what was
11:21:00   5    discussed.
11:21:00   6         Q.    Okay. What was the misunderstanding?
11:21:04   7         A.    It was not about Russia office.
11:21:04   8         Q.    What was it about?
11:21:04   9               (Court reporter clarification.)
11:21:11 10                THE WITNESS: It was opening -- about
11:21:11 11     opening a data center. It's a bit complicated.
11:21:13 12     About opening a point of presence in a data
11:21:21 13     center in Russia.
11:21:22 14          Q.    BY MR. SIEGEL: Okay. So it's the --
11:21:22 15     it's the -- it's the term "office" that she
11:21:25 16     misunderstood?
11:21:26 17          A.    Correct.
11:21:26 18          Q.    Okay. And explain what was it that
11:21:34 19     you were planning to open in Russia, the data
11:21:37 20     center that you just referred to?
11:21:41 21          A.    We were planning to open the point
11:21:48 22     of presence in a data center in Russia.
11:21:52 23          Q.    I didn't hear the -- after "point of
11:21:54 24     presence."
11:21:54 25          A.    A point of presence in a data center

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11:21:57   1    in Russia.
11:21:57   2         Q.    Okay. And -- and what is a data center?
11:22:01   3         A.    Data center is a facility providing
11:22:05   4    space, cooling, and electricity for IT equipment.
11:22:11   5         Q.    Okay. So why were you interested in
11:22:15   6    having them pitch info about the opening of a
11:22:18   7    data center in Russia?
11:22:19   8         A.    A point of presence in a data center
11:22:22   9    in Russia.
11:22:22 10          Q.    Okay. Fair.
11:22:24 11                What do you mean by a "point of presence"?
11:22:28 12     In somebody else's data center? Is that what you
11:22:31 13     mean?
11:22:32 14          A.    That's correct.
11:22:33 15          Q.    And in whose data center?
11:22:38 16          A.    I don't know whose data center it is.
11:22:41 17          Q.    Well, where -- which point were you
11:22:43 18     going to be present -- were you planning to be
11:22:48 19     present in?
11:22:49 20          A.    Can you please rephrase the question?
11:22:51 21          Q.    In other words, you said a -- you were
11:22:52 22     going to be in a point of presence in a data center
11:22:55 23     in Russia; right?
11:22:56 24          A.    That's not exactly what I said.
11:23:00 25          Q.    Okay. Say it again.

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11:23:02   1         A.    We were about to open a point of presence
11:23:04   2    in a data center in Russia.
11:23:06   3         Q.    What do you mean by "point of presence"?
11:23:10   4         A.    It's a place where we run an equipment
11:23:19   5    to provide services.
11:23:22   6         Q.    Are there other companies that are
11:23:24   7    present in the same data center?
11:23:29   8         A.    I don't know that.
11:23:32   9         Q.    So I'll ask you again.
11:23:36 10                Did you own the data center --
11:23:38 11          A.    No.
11:23:38 12          Q.    -- that you were planning to be in?
11:23:40 13          A.    No.
11:23:40 14          Q.    Did you lease the data center that
11:23:41 15     you were planning to be in?
11:23:43 16          A.    No, we didn't.
11:23:44 17          Q.    So who owned the data center that you
11:23:47 18     were planning to be in?
11:23:50 19          A.    Some -- someone I don't know.
11:23:55 20          Q.    Okay. Was it owned by a private person?
11:23:57 21          A.    I don't know.
11:23:58 22          Q.    Was it owned by the government of Russia?
11:24:01 23          A.    I don't know.
11:24:01 24          Q.    You don't know?
11:24:03 25          A.    I don't know.

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11:24:03   1         Q.     So you were going to open a point of
11:24:05   2    presence in Russia, and you had absolutely no
11:24:10   3    idea who owned or leased the facility that you
11:24:15   4    were going to be present in?
11:24:18   5                MR. GURVITS: Objection.
11:24:23   6                THE WITNESS: Actually, correction.
11:24:23   7    The data center is owned by the company named
11:24:30   8    DataPro. I -- I knew that. Okay.
11:24:34   9         Q.     BY MR. SIEGEL: And what is the name?
11:24:36 10          A.     DataPro.
11:24:37 11          Q.     DataPro?
11:24:37 12          A.     Yes.
11:24:38 13          Q.     And is that a Russian company?
11:24:40 14          A.     Yes.
11:24:41 15          Q.     And so what was your relationship
11:24:44 16     to DataPro? Were you leasing space from them?
11:24:48 17     What -- what was the relationship that you had?
11:24:51 18          A.     That's correct.
11:24:51 19          Q.     Okay. And -- okay. So why were you
11:25:03 20     interested in pitching -- and having Cutler pitch
11:25:07 21     info about the opening of the Russia point of
11:25:09 22     presence to U.S. media who might be able to
11:25:13 23     cover it?
11:25:15 24          A.     Because we were interested in publicity
11:25:19 25     about our new launch.

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11:25:22   1         Q.    And why in the United States? Why were
11:25:26   2    you interested about having publicity about opening
11:25:31   3    a point of presence in Russia in the United States?
11:25:35   4         A.    Because we agreed with Cutler that they
11:25:38   5    will concentrate their activities in the United
11:25:41   6    States.
11:25:41   7         Q.    Okay. And -- and why was that information
11:25:47   8    that you thought would -- that you wanted to
11:25:51   9    publicize in the United States?
11:25:57 10          A.    Because we believed that there might
11:25:59 11     be U.S. companies interested in having hosting
11:26:05 12     services in Russia.
11:26:06 13          Q.    Okay. And -- and why? Why did you
11:26:14 14     think that was a possible market?
11:26:23 15          A.    I don't remember a particular reason.
11:26:34 16                MR. SIEGEL: Let's go to Exhibit 17,
11:26:37 17     which has an attachment.
11:26:39 18                (Exhibit 17 marked.)
11:27:13 19          Q.    BY MR. SIEGEL: So this is a e-mail
11:27:17 20     from Ms. Gerber to you, which attaches what
11:27:20 21     they call the:
11:27:21 22                "Servers.com PR Activity Report."
11:27:24 23                Right?
11:27:24 24          A.    (Examining.) That's correct.
11:27:25 25          Q.    What was your reaction to this report?

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11:27:28   1         A.     I don't remember.
11:27:29   2         Q.     You don't remember.
11:27:31   3                Were you pleased with it? Not pleased
11:27:34   4    with it?
11:27:35   5         A.     I don't remember.
11:27:35   6                MR. SIEGEL: Okay. All right. Let's
11:27:51   7    go to 18.
11:27:53   8                (Exhibit 18 marked.)
11:28:03   9         Q.     BY MR. SIEGEL: On Exhibit 18, at the
11:28:06 10     e-mail at the bottom from Ms. Gerber on 10 February,
11:28:09 11     2016, at 4:00, she says:
11:28:11 12                 "Hi, Nick. I see that Michael Fomichev
11:28:14 13     from the PR firm in Moscow will be on our call."
11:28:17 14                 Who is Michael Fomichev?
11:28:19 15          A.     (Examining.) He's a former employee
11:28:21 16     of Servers.com.
11:28:24 17          Q.     And was he working for a PR firm in
11:28:28 18     Moscow at the time?
11:28:31 19          A.     I don't know that.
11:28:32 20          Q.     Okay. Why was he going to be on a
11:28:36 21     call?
11:28:38 22          A.     I don't remember.
11:28:40 23          Q.     Did -- was -- do you believe that
11:28:45 24     he was working for Servers.com at this time?
11:28:49 25          A.     Yes, he was.

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11:28:51   1         Q.    As an employee of Servers.com?
11:28:53   2         A.    As an employee for Servers.com.
11:28:55   3         Q.    So do you think -- was that a mistake,
11:28:57   4    her referring to him as from a PR firm?
11:29:03   5         A.    I think it is.
11:29:03   6         Q.    Okay. Did you retain a public relations
11:29:06   7    firm in Russia?
11:29:10   8         A.    No.
11:29:10   9         Q.    No?
11:29:11 10          A.    No.
11:29:11 11          Q.    Okay. So when she refers to "the PR
11:29:16 12     firm in Moscow," do you have any idea what she
11:29:18 13     was talking about?
11:29:20 14          A.    No idea.
11:29:21 15          Q.    Okay. Did Servers.com ever retain
11:29:26 16     a public relations firm in Moscow?
11:29:29 17          A.    I do not recollect.
11:29:30 18          Q.    Okay. Did any other -- did XBT or any
11:29:36 19     other of its subsidiaries ever retain a public
11:29:40 20     relations firm in Moscow?
11:29:41 21          A.    That I don't know.
11:29:48 22          Q.    Okay. Who would know the answer to
11:29:50 23     that?
11:29:50 24          A.    Excuse me?
11:29:51 25          Q.    Who would know the answer to that

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11:29:53   1    question?
11:29:53   2         A.     To which question?
11:29:55   3         Q.     Did XBT or any of its subsidiaries
11:29:57   4    ever retain a public relations firm in Moscow,
11:30:00   5    in Russia, since, let's say, January 1st, 2016?
11:30:07   6         A.     I don't think there is a single person.
11:30:10   7         Q.     Okay. But you, as the current CEO
11:30:14   8    company -- of the company, don't know the answer
11:30:17   9    to that question?
11:30:17 10          A.     No. I don't know the answer to that
11:30:20 11     question.
11:30:20 12                 MR. SIEGEL: Let's go to Exhibit 19.
11:30:27 13     Oh, I'm sorry. There's an attachment here.
11:30:58 14                 (Exhibit 19 marked.)
11:30:58 15                 THE WITNESS: Aah. They're both
11:31:00 16     unmarked; yes?
11:31:01 17          Q.     BY MR. SIEGEL: Yes.
11:31:02 18          A.     All right.
11:31:02 19          Q.     That's -- that's the attachment --
11:31:04 20          A.     Okay.
11:31:04 21          Q.     -- to --
11:31:04 22          A.     Fine.
11:31:05 23          Q.     And, again, the attachments aren't
11:31:07 24     marked because that's the way that you all
11:31:10 25     produced them. They don't have numbers on

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11:31:12   1    them -- I'm sorry -- because that's the way
11:31:13   2    you all produced them.
11:31:15   3         A.    Okay.
11:31:16   4         Q.    So this indicates that you drafted
11:31:18   5    an article titled:
11:31:21   6               "The Next Big Thing in Cloud Hosting."
11:31:26   7               Right?
11:31:26   8         A.    (Examining.) What was the question?
11:31:28   9    I -- I didn't --
11:31:29 10          Q.    This indicates that you drafted another
11:31:33 11     article --
11:31:34 12          A.    I did.
11:31:35 13          Q.    -- about:
11:31:35 14                "The Next Big Thing in Cloud Hosting."
11:31:39 15          A.    I did.
11:31:40 16          Q.    And why did you choose that topic?
11:31:44 17          A.    I don't remember my line of reasoning.
11:31:47 18          Q.    You don't have any idea?
11:31:48 19          A.    No.
11:31:48 20          Q.    Okay. And it looks like the attachment --
11:31:59 21     right? -- has some red lines in it.
11:32:02 22          A.    Uh-huh.
11:32:03 23          Q.    So are the red lines her changes to
11:32:06 24     a draft that you did yourself?
11:32:08 25          A.    Yes.

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11:32:08   1         Q.    Okay. And did -- did you draft these
11:32:13   2    articles yourself in English?
11:32:15   3         A.    Yes.
11:32:16   4         Q.    Where did you learn your English?
11:32:20   5         A.    At school.
11:32:21   6         Q.    In -- in -- at school in university
11:32:25   7    in Russia?
11:32:26   8         A.    Yes.
11:32:26   9         Q.    Okay.
11:32:32 10                MR. SIEGEL: Okay. I'll give you
11:32:48 11     Exhibit 20. I'll go ahead and give you 21
11:32:58 12     too at the same time.
11:33:00 13                (Exhibit 20 and Exhibit 21 marked.)
11:33:01 14                THE WITNESS: (Examining.) Okay.
11:33:14 15          Q.    BY MR. SIEGEL: So Exhibit 20 is
11:33:17 16     an e-mail from Ms. Ger -- from Ms. Gerber to
11:33:21 17     Ms. Galkina -- right? -- which copies you?
11:33:25 18          A.    Uh-huh.
11:33:25 19          Q.    And it also copies Mr. Fomichev.
11:33:29 20                Do -- do you know why he was part
11:33:30 21     of these communications at this point?
11:33:32 22          A.    No.
11:33:33 23          Q.    What was his job?
11:33:37 24          A.    He was doing some job in marketing.
11:33:40 25          Q.    He was doing some marketing work?

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11:33:42   1           A.   Yes.
11:33:43   2           Q.   So she attaches a photo of you from your
11:33:49   3    LinkedIn site and says it's low resolution, might
11:33:52   4    have photos that you prefer. If you have another
11:33:55   5    one, send it, the better.
11:33:56   6                And let's go to Exhibit 21. Looks like
11:34:01   7    that this is a different photo that you sent to
11:34:04   8    her?
11:34:04   9           A.   Yes.
11:34:06 10            Q.   Did you like the photo in Exhibit 21
11:34:09 11     better?
11:34:11 12            A.   I don't remember.
11:34:13 13            Q.   I bet you do. Sitting here today, do
11:34:18 14     you like it better?
11:34:19 15            A.   Sitting here today, I like it better.
11:34:23 16            Q.   Yes.
11:34:27 17                 Was this photo -- who took the photo
11:34:30 18     in Exhibit 21?
11:34:34 19            A.   I think -- which one is -- this one?
11:34:36 20            Q.   Yes.
11:34:36 21            A.   A photographer.
11:34:40 22            Q.   A professional photographer?
11:34:42 23            A.   Yes.
11:34:42 24            Q.   And when did you get this photo taken?
11:34:49 25            A.   I don't remember exactly.

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11:34:51   1         Q.    Was it taken for this purpose?
11:34:53   2         A.    No.
11:34:54   3         Q.    So this is a photo that you -- you or
11:34:56   4    somebody in the marketing department already had
11:35:00   5    of you?
11:35:02   6         A.    No.
11:35:03   7         Q.    No?
11:35:03   8         A.    No.
11:35:04   9         Q.    You gave it to them?
11:35:05 10          A.    I gave it to them.
11:35:06 11          Q.    And -- and what purpose was that photo
11:35:10 12     originally taken? For what purpose? I'm sorry.
11:35:13 13          A.    It was a part of a family photo shoot.
11:35:18 14          Q.    Okay. Okay. You can put that away.
11:35:31 15          A.    (Witness complies.)
11:35:32 16                MR. SIEGEL: That's 22.
11:35:56 17                (Exhibit 22 marked.)
11:35:56 18                MR. SIEGEL: And I'll give you 23 at
11:35:56 19     the same time.
11:35:59 20                (Exhibit 23 marked.)
11:35:59 21                THE WITNESS: (Examining.) I have some
11:35:59 22     markings here.
11:36:01 23                MR. SIEGEL: Oh, that might be mine.
11:36:02 24     Here. Really? Okay. Thank you. I'll give
11:36:15 25     you another copy. Whoops. Make that one better.

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11:36:33   1                THE WITNESS: (Examining.) Okay.
11:36:34   2         Q.     BY MR. SIEGEL: So this is the piece
11:36:40   3    you wrote on cloud hosting; right? That's:
11:36:44   4                "The Next Big Thing in Cloud Hosting."
11:36:47   5                What is a bare metal server?
11:36:50   6         A.     It is a server, a physical server.
11:36:57   7         Q.     And why is it called a bare metal server?
11:37:02   8         A.     I don't know why.
11:37:03   9         Q.     Well, what does that mean?
11:37:04 10          A.     It means it is a physical server.
11:37:07 11          Q.     Yeah. But what distinguishes it from
11:37:08 12     other physical servers that it would be called
11:37:11 13     a bare metal server?
11:37:16 14          A.     I consider that as synonyms.
11:37:19 15          Q.     So why is bare metal the new cloud?
11:37:22 16                 What is it about a bare metal server
11:37:25 17     that makes it the next best thing -- I'm sorry --
11:37:28 18     the next big thing, in your opinion?
11:37:40 19          A.     It is the fact that, using a bare metal
11:37:45 20     server, you don't get performance penalty you
11:37:56 21     get when you're using a cloud server.
11:37:58 22          Q.     Okay. What do you mean by "performance
11:38:04 23     penalty"?
11:38:07 24          A.     It means that bare metal servers are
11:38:12 25     more performed [sic].

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11:38:14   1         Q.    They have a higher performance?
11:38:16   2         A.    Yes.
11:38:16   3         Q.    Okay. Go to the page 1213, the last
11:38:24   4    page --
11:38:25   5         A.    1213.
11:38:25   6         Q.    -- of that --
11:38:25   7         A.    Okay.
11:38:26   8         Q.    -- where it has your -- the little
11:38:33   9    biography of yourself.
11:38:34 10          A.    Uh-huh.
11:38:34 11          Q.    The next-to-last sentence says:
11:38:35 12                "Nick believes the hosting industry
11:38:38 13     requires re-invention."
11:38:38 14                What was it that you think needed
11:38:46 15     to be re-invented about the hosting industry?
11:38:52 16          A.    I don't remember.
11:38:53 17          Q.    You have no idea why it said on your
11:38:56 18     byline it believes the host -- you believe the
11:38:57 19     hosting industry --
11:38:57 20          A.    No, I have --
11:38:57 21          Q.    -- requires re-invention?
11:39:03 22          A.    -- no idea why it says.
11:39:03 23          Q.    No idea at all?
11:39:03 24          A.    Aah.
11:39:03 25                (Court reporter clarification.)

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11:39:03   1                MR. SIEGEL: Sorry.
11:39:05   2           Q.   BY MR. SIEGEL: You have no idea at
11:39:06   3    all?
11:39:07   4           A.   I have no idea.
11:39:09   5           Q.   You said it -- you believe it requires:
11:39:12   6                "A combination of an old-fashioned
11:39:13   7    approach with the convenience brought by cloud
11:39:18   8    players like Amazon and Digital Ocean."
11:39:18   9                What was the convenience brought by
11:39:20 10     cloud players like Amazon?
11:39:28 11            A.   The convenience was that -- was that
11:39:30 12     a customer could order and get his server very
11:39:40 13     quickly.
11:39:44 14            Q.   Okay. And is that the kind of service
11:39:50 15     that you wanted Servers.com to be able to offer?
11:39:57 16            A.   Yes.
11:40:00 17            Q.   And does it offer that, in your opinion?
11:40:03 18            A.   Yes.
11:40:06 19            Q.   The next -- the next exhibit, which
11:40:08 20     is Exhibit 23, is -- represents the same article.
11:40:12 21                 It was on a website called
11:40:15 22     "missioncriticalmagazine.com."
11:40:20 23                 Do you recall, is this a different
11:40:21 24     website than the Cloud Strategy one that it
11:40:25 25     also appeared on?

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11:40:26   1         A.    I don't recall that.
11:40:28   2         Q.    Is this a website that you're familiar
11:40:30   3    with?
11:40:31   4         A.    No.
11:40:32   5         Q.    No. Okay.
11:40:34   6               And were you familiar with it then?
11:40:39   7         A.    I don't recollect.
11:40:40   8               MR. SIEGEL: Okay. Mark this Exhibit 24.
11:40:52   9               (Exhibit 24 marked.)
11:41:13 10          Q.    BY MR. SIEGEL: I don't want to speak
11:41:13 11     for you, Mr. Dvas.
11:41:15 12                But -- but reviewing this e-mail, is
11:41:17 13     it fair to say that you were not pleased with
11:41:19 14     the placement of your article on Cloud Strategy?
11:41:21 15          A.    (Examining.) It is fair to say that.
11:41:24 16          Q.    And -- and why is that? Or why was
11:41:28 17     that? I'm sorry.
11:41:37 18          A.    Because it was an extremely unpopular
11:41:43 19     website.
11:41:43 20                MR. SIEGEL: Okay. Okay. Let me show
11:42:03 21     you Exhibit 25.
11:42:05 22                (Exhibit 25 marked.)
11:42:17 23          Q.    BY MR. SIEGEL: So Exhibit 25, on page
11:42:19 24     1227 -- I think it's the second e-mail from the
11:42:23 25     bottom -- indicates that you wrote to Mr. Cutler,

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11:42:27   1    saying you've decided to suspend your collaboration
11:42:31   2    with Cutler PR.
11:42:34   3                Right?
11:42:34   4         A.     (Examining.) Yes. That's what it says.
11:42:39   5         Q.     Why did you terminate that relationship?
11:42:44   6         A.     We were unhappy with their performance.
11:42:49   7         Q.     Okay. And why were you unhappy?
11:42:55   8         A.     That I don't remember.
11:42:56   9         Q.     You have no recollection as to why you
11:42:58 10     were unhappy?
11:42:58 11          A.     I have no recollection.
11:42:59 12          Q.     Would it be fair to say that the e-mail
11:43:03 13     that you sent about your displeasure about the
11:43:05 14     placement of your cloud hosting article is an
11:43:08 15     example of why you weren't happy?
11:43:13 16          A.     It is an example.
11:43:16 17          Q.     Okay. Were there other reasons?
11:43:25 18          A.     I do not recollect the reasons.
11:43:26 19          Q.     Okay. Who made the decision to
11:43:35 20     terminate that relationship?
11:43:37 21          A.     I made.
11:43:38 22          Q.     You made.
11:43:39 23                 Was anyone else involved in that
11:43:41 24     decision?
11:43:42 25          A.     I don't remember.

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11:43:43   1               MR. SIEGEL: Okay. Let's -- sorry --
11:44:11   2    Exhibit 26.
11:44:13   3               (Exhibit 26 marked.)
11:44:33   4         Q.    BY MR. SIEGEL: So Exhibit 26 indicates
11:44:35   5    that -- it looks like, about week after you sent
11:44:43   6    him an e-mail saying you're suspending your --
11:44:47   7    your collaboration, that they told you that your
11:44:52   8    cloud hosting article was also going to be posted
11:44:55   9    on SYS-CON Media.
11:44:57 10                Was SYS-CON Media a website that you
11:45:00 11     were familiar with?
11:45:01 12          A.    (Examining.) No.
11:45:09 13          Q.    And you told her that you wanted her
11:45:11 14     to go ahead and proceed with submitting your
11:45:14 15     article to that website.
11:45:15 16                Why did you want her to do that?
11:45:22 17          A.    It was something that cost me nothing.
11:45:25 18          Q.    I'm sorry?
11:45:26 19          A.    It was something that cost me nothing.
11:45:27 20          Q.    Okay. Did that cause you to re-consider
11:45:33 21     at all whether you wanted to continue a relationship
11:45:38 22     with them, with Cutler?
11:45:40 23          A.    I don't remember.
11:45:41 24                MR. SIEGEL: Okay. Let me show you
11:45:45 25     Exhibit 27 and 28.

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11:45:47   1               (Exhibit 27 and Exhibit 28 marked.)
11:45:47   2               THE WITNESS: The attorney copies
11:45:47   3    are not here.
11:45:47   4               MR. SIEGEL: Is there a sticker --
11:45:47   5    is there a "28" sticker on that one?
11:45:51   6               THE WITNESS: 27, 28?
11:45:51   7         Q.    BY MR. SIEGEL: Yeah. So, again, this
11:46:27   8    is after you have terminated the relationship.
11:46:38   9               Ms. -- or Mr. Cutler sends you a
11:46:42 10     link to a posting on the website "Inc." --
11:46:46 11          A.    (Examining.) Yes.
11:46:46 12          Q.    -- right? -- about Servers.com?
11:46:48 13                If you go to page 5 of that article
11:46:58 14     of Exhibit 28.
11:47:01 15          A.    Yes.
11:47:01 16          Q.    You see at the bottom where there
11:47:03 17     is a paragraph about Servers.com?
11:47:07 18          A.    Yes.
11:47:08 19          Q.    Okay. The first sentence says:
11:47:11 20                "Servers.com is a hosting company that
11:47:13 21     boasts super secure, dedicated, bare metal servers."
11:47:18 22                Right?
11:47:18 23          A.    That's what's written here.
11:47:22 24          Q.    Is that true?
11:47:22 25          A.    That's what is in the article.

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11:47:26   1         Q.    I'm asking you: Is it accurate?
11:47:29   2         A.    What?
11:47:31   3         Q.    Is it true that Servers.com boasts
11:47:34   4    super-secure, dedicated, bare metal servers?
11:47:38   5         A.    It is not true.
11:47:40   6         Q.    What part of that sentence is not true?
11:47:43   7         A.    We do not boast.
11:47:49   8         Q.    Okay. Would it be accurate to say
11:47:52   9    Servers.com is a hosting company that offers
11:47:56 10     super-secure, dedicated, bare metal servers?
11:47:59 11          A.    I don't know.
11:48:00 12          Q.    You don't know if that's true?
11:48:02 13          A.    I don't know if -- if that's true.
11:48:04 14          Q.    Are the -- are the servers that
11:48:08 15     Servers.com offers to its customers dedicated,
11:48:11 16     bare metal servers?
11:48:19 17          A.    Among others.
11:48:21 18          Q.    Among others.
11:48:22 19                Are the servers super secure?
11:48:24 20          A.    I don't know.
11:48:25 21                MR. GURVITS: Objection.
11:48:25 22          Q.    BY MR. SIEGEL: You don't know if
11:48:27 23     they're super secure?
11:48:28 24          A.    I don't know.
11:48:29 25          Q.    Are they even a little bit secure?

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11:48:31   1         A.   I don't know.
11:48:32   2         Q.   Where does that language come from?
11:48:35   3         A.   I don't know.
11:48:36   4         Q.   You think that Cutler just made that
11:48:39   5   up?
11:48:39   6         A.   I don't know.
11:48:40   7         Q.   Is it a mistake?
11:48:44   8         A.   I don't know.
11:48:46   9         Q.   Well, would it be a mistake, then,
11:48:51 10    saying to the public that Servers.com has
11:48:55 11    or offers super secure, dedicated, bare metal
11:48:59 12    servers?
11:49:00 13          A.   I don't know.
11:49:00 14          Q.   You don't know whether that's a mistake?
11:49:04 15          A.   I don't know whether.
11:49:04 16          Q.   No idea?
11:49:05 17          A.   No.
11:49:08 18          Q.   Let's go back to reading further on
11:49:13 19    that paragraph. It says:
11:49:16 20               "Servers.com's networks are highly
11:49:18 21    isolated from each other, even within a single
11:49:22 22    data center."
11:49:23 23               Is that accurate?
11:49:24 24          A.   I don't even understand that.
11:49:26 25          Q.   You don't? Okay.

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11:49:29   1               "This means that clients aren't
11:49:32   2   exposed to all of the risks that come with
11:49:35   3   sharing a hosting facility - such as a massive
11:49:37   4   data breach originating on someone else's network."
11:49:41   5               Is that accurate?
11:49:42   6         A.    That's what the -- the article says.
11:49:44   7         Q.    I understand that.
11:49:44   8               But is that an accurate statement?
11:49:50   9         A.    I don't know.
11:49:53 10          Q.    What was the source of this information?
11:49:56 11          A.    I don't know.
11:49:58 12          Q.    You have no idea?
11:49:59 13          A.    I have no idea.
11:50:00 14          Q.    It says:
11:50:04 15                "Last year, Servers.com opened its
11:50:07 16    first U.S. data center in Dallas."
11:50:09 17                Is that accurate?
11:50:13 18          A.    It is not accurate.
11:50:15 19          Q.    Okay. What's inaccurate about that?
11:50:19 20          A.    Servers.com -- aah, first of all,
11:50:22 21    I have to check which year it was.
11:50:25 22          Q.    This is two thousand -- early 2016.
11:50:29 23          A.    All right. So yes, Servers.com that
11:50:31 24    year -- the previous year, 2015, opened a point
11:50:34 25    of presence in a data center in Dallas.

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11:50:38   1         Q.    Okay. And:
11:50:43   2               "It plans to open another on the
11:50:44   3   East Coast."
11:50:46   4               Is that accurate?
11:50:53   5         A.    It was accurate at that moment.
11:50:56   6         Q.    Okay. Did that ever change?
11:51:06   7         A.    No.
11:51:06   8         Q.    Okay. You did open another on the
11:51:10   9   East Coast -- right? -- in Virginia?
11:51:13 10          A.    Yes.
11:51:13 11          Q.    Okay. Did you ever -- or ask anyone
11:51:17 12    to ever -- I'm sorry.
11:51:19 13          A.    Correction. We didn't open a data
11:51:21 14    center.
11:51:21 15          Q.    You opened a point of presence --
11:51:23 16          A.    We opened --
11:51:23 17          Q.    -- in a data center?
11:51:23 18          A.    -- a point of presence in a data center.
11:51:26 19          Q.    Why is the distinction between opening
11:51:26 20    a data center and a point of presence important
11:51:29 21    to you?
11:51:32 22          A.    It is the accuracy that is important
11:51:36 23    for me.
11:51:37 24          Q.    Okay. So it's important to be accurate --
11:51:41 25          A.    Yes.

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11:51:41   1         Q.    -- when you're representing to the public?
11:51:43   2               So did you ever write to Servers.com --
11:51:45   3   I'm sorry -- to Inc. and say, look, there's some
11:51:47   4   inaccurate information here or information that
11:51:49   5   we don't know that we can support --
11:51:51   6         A.    No.
11:51:52   7         Q.    -- we'd like you to change it?
11:51:54   8               MR. GURVITS: Objection.
11:51:55   9         Q.    BY MR. SIEGEL: Did you ever do that?
11:51:58 10          A.    No. We -- I didn't write to Inc.
11:52:01 11          Q.    Did you communicate to Inc. in any way
11:52:03 12    that they had published inaccurate information?
11:52:06 13          A.    No. I didn't communicate to Inc.
11:52:08 14          Q.    Did anybody, to your knowledge, do
11:52:12 15    so on behalf of Servers.com?
11:52:14 16          A.    I don't know.
11:52:15 17          Q.    Why? Why didn't you communicate that
11:52:19 18    there was information in here that was potentially
11:52:21 19    inaccurate?
11:52:22 20          A.    I don't remember why.
11:52:22 21                MR. GURVITS: Okay. Time for a break,
11:52:30 22    guys?
11:52:33 23                THE VIDEOGRAPHER: I need one too.
11:52:36 24                MR. SIEGEL: All right.
11:52:37 25                THE VIDEOGRAPHER: Going off the record

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11:52:37   1   at 11:52.
11:52:41   2               (Recess from 11:52 a.m. to 12:06 p.m.,
11:52:41   3         during which Mr. Gubarev left the proceedings
11:52:41   4         and did not return.)
12:06:34   5               THE VIDEOGRAPHER: This is the beginning
12:06:35   6   of DVD No. 2. Back on the record at 12:06.
12:06:44   7         Q.    BY MR. SIEGEL: Why, Mr. Dvas, did the
12:06:47   8   company decide to open a point of presence in
12:06:51   9   Russia?
12:07:00 10          A.    Because we believed there is a market
12:07:02 11    there.
12:07:05 12          Q.    Okay. And why was there a market there?
12:07:10 13    Why did you think that?
12:07:19 14          A.    Because there was.
12:07:19 15          Q.    Okay. Did that have any connection
12:07:23 16    to the changes in Russian law regarding data
12:07:28 17    privacy?
12:07:29 18          A.    I don't know.
12:07:29 19          Q.    You don't know?
12:07:31 20          A.    I don't know.
12:07:31 21          Q.    You have no idea?
12:07:32 22          A.    I don't know.
12:07:36 23          Q.    Are you aware that there is a Russian
12:07:40 24    law that restricts who may have access to the
12:07:50 25    data of Russian citizens?

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12:07:52   1         A.    No.
12:07:53   2         Q.    No? Do you believe my statement was
12:07:55   3   incorrect?
12:07:59   4         A.    Yes.
12:07:59   5         Q.    Okay. And why -- why is that incorrect?
12:08:01   6   Why was I wrong, what I just said?
12:08:06   7         A.    There is no law that restricts access
12:08:10   8   to -- to the data, to my knowledge at least.
12:08:16   9         Q.    Of Russian citizens?
12:08:17 10          A.    Yes.
12:08:24 11          Q.    Okay. Is there any law that requires
12:08:26 12    the data of Russian citizens to be stored in
12:08:30 13    Russia, inside Russia?
12:08:33 14          A.    Yes.
12:08:33 15          Q.    Okay. And was the passage of that law
12:08:39 16    one of the reasons that you thought that there
12:08:41 17    might be a market for your services?
12:08:44 18          A.    No.
12:08:45 19          Q.    No?
12:08:46 20          A.    Correction.
12:08:47 21          Q.    Okay.
12:08:48 22          A.    I don't know. I don't know.
12:08:51 23          Q.    Who would know the answer to that?
12:08:56 24          A.    I need your question to be clarified.
12:09:00 25          Q.    What do you need to be clarified?

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12:09:03   1         A.    "You."
12:09:04   2         Q.    Okay. Servers -- let's start with
12:09:08   3   any subsidiary of XB -- what was the name of
12:09:10   4   the subsidiary of XBT or subsidiaries that
12:09:14   5   opened a point of presence in Russia?
12:09:24   6         A.    It is Edinaya Set.
12:09:24   7         Q.    And that starts with an "E-d" as
12:09:33   8   it's written in English; is that right?
12:09:34   9         A.    No. It starts with "E."
12:09:36 10          Q.    "E." Correct?
12:09:38 11          A.    Yes.
12:09:43 12          Q.    And did -- so if I subs --
12:09:46 13          A.    You -- you may call it United Network.
12:09:52 14          Q.    United Network?
12:09:52 15          A.    You -- you may call it.
12:09:52 16          Q.    Okay.
12:09:52 17          A.    That's how it translates.
12:09:52 18          Q.    So was one of the reasons that you
12:09:56 19    thought United Network Services had a -- had
12:10:01 20    a market in Russia connected to the Russian
12:10:05 21    law regarding storage of the data of Russian
12:10:09 22    citizens?
12:10:09 23          A.    I need this question to be clarified.
12:10:11 24          Q.    Okay. Russia passed a law requiring
12:10:17 25    the data of Russian citizens to be stored in --

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12:10:19   1   in Russia; right? Okay?
12:10:22   2         A.    Right.
12:10:22   3         Q.    And was the fact that that was now a
12:10:30   4   requirement that Russian citizens had to abide
12:10:32   5   by, legally at least -- right? -- was that one
12:10:35   6   of the reasons that you thought that there was
12:10:36   7   a market opportunity for United Network in Russia?
12:10:42   8         A.    No.
12:10:43   9         Q.    No? It had nothing to do with the passage
12:10:46 10    of that or the requirement?
12:10:49 11          A.    That's not what I thought.
12:10:50 12          Q.    Okay. What did you think?
12:10:52 13          A.    I thought that there is a market for our
12:10:55 14    services in Russia.
12:10:57 15          Q.    And what were the reasons why you thought
12:11:00 16    that there was a market?
12:11:02 17          A.    The reason was that quality of hosting
12:11:07 18    companies in Russia is low.
12:11:10 19          Q.    Okay. Are you aware of anybody else
12:11:13 20    within XBT or any XBT subsidiary that thought
12:11:18 21    that one of the reasons that there would be
12:11:21 22    a market opportunity for United Network at that
12:11:25 23    point in time was the Russian data privacy law?
12:11:30 24          A.    Yes.
12:11:30 25          Q.    And who is that?

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12:11:32   1         A.    Aleksej Gubarev.
12:11:34   2         Q.    Okay. And what did he express to you?
12:11:36   3         A.    He told that this law will bring some --
12:11:48   4   will make some customers of hosting companies,
12:11:56   5   will make them have some servers in Russia.
12:12:04   6         Q.    Okay. The point of presence that
12:12:11   7   United Network opened in Russia -- is that
12:12:15   8   a correct --
12:12:15   9         A.    That's --
12:12:18 10          Q.    -- way to formulate the question?
12:12:21 11                Okay. Are persons who are not
12:12:24 12    Russian allowed access to that facility?
12:12:29 13          A.    Yes.
12:12:29 14          Q.    They are?
12:12:30 15          A.    Yes.
12:12:30 16          Q.    Anyone can go?
12:12:32 17          A.    No.
12:12:32 18          Q.    Okay. What restrictions, if any, are
12:12:38 19    there on persons who can access that facility?
12:12:40 20    Physically go to the facility is what I mean.
12:12:50 21          A.    I don't know the restrictions.
12:12:52 22          Q.    You don't know?
12:12:56 23          A.    I don't know the restrictions.
12:13:01 24                MR. SIEGEL: Let me show you Exhibit 29.
12:13:09 25                (Exhibit 29 marked.)

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12:13:23   1         Q.    BY MR. SIEGEL: Mr. Dvas, Mr. Bezruchenko
12:13:24   2   testified that he cannot go to that facility
12:13:29   3   because he's not Russian.
12:13:30   4               Do you believe that his -- is that
12:13:33   5   accurate?
12:13:35   6               MR. GURVITS: Objection.
12:13:38   7               THE WITNESS: I don't know whether
12:13:39   8   he testified that.
12:13:40   9         Q.    BY MR. SIEGEL: Okay. Whether or
12:13:42 10    not he testified to that, is that an accurate
12:13:45 11    statement that Mr. Bezruchenko cannot go to
12:13:48 12    that facility because he is not Russian?
12:13:52 13          A.    That is not an accurate statement.
12:13:56 14          Q.    So he could go?
12:13:58 15          A.    Yes.
12:14:00 16          Q.    Do you have any reason -- any idea
12:14:02 17    why Mr. Bezruchenko might believe that, if you
12:14:06 18    contend it's not accurate?
12:14:08 19                MR. GURVITS: Objection.
12:14:09 20                THE WITNESS: I don't know if he did
12:14:11 21    believe that or not.
12:14:13 22          Q.    BY MR. SIEGEL: Have you ever been
12:14:14 23    to that facility yourself?
12:14:15 24          A.    Yes.
12:14:16 25          Q.    Have you ever been to that facility

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12:14:17   1   with anyone who is not Russian?
12:14:20   2         A.    Yes.
12:14:20   3         Q.    Who?
12:14:20   4         A.    Konstantin Bezruchenko.
12:14:22   5         Q.    You've been to that facility with
12:14:26   6   Konstantin Bezruchenko?
12:14:28   7         A.    Yes.
12:14:28   8         Q.    When?
12:14:33   9         A.    January 2016.
12:14:35 10          Q.    Okay. Is there more than one point
12:14:51 11    of presence that United Networks [sic] has in
12:14:55 12    Russia?
12:14:55 13          A.    Yes.
12:14:56 14          Q.    How many?
12:14:58 15          A.    I don't know.
12:15:00 16          Q.    At any of those points of presence,
12:15:02 17    are there any restrictions on access to them
12:15:07 18    for non-Russians?
12:15:09 19          A.    I don't know.
12:15:09 20          Q.    You don't know?
12:15:10 21          A.    I don't know.
12:15:10 22          Q.    So it's possible that there might be?
12:15:13 23    You just don't know?
12:15:15 24          A.    I don't know.
12:15:15 25          Q.    Okay. Is there one that is on a current

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12:15:25   1   or former military base?
12:15:27   2         A.    I don't know.
12:15:28   3         Q.    You don't know?
12:15:28   4         A.    I don't know.
12:15:30   5         Q.    Is that the one that you visited with
12:15:32   6   Mr. Bezruchenko?
12:15:42   7         A.    I don't know.
12:15:42   8         Q.    You don't -- so you don't know whether
12:15:43   9   the one that you visited with Mr. Bezruchenko
12:15:47 10    is located on what was a former military base?
12:15:49 11          A.    I don't know.
12:15:51 12          Q.    Or -- okay.
12:15:54 13                Have you visited any other facilities
12:15:56 14    in Russia with Mr. Bezruchenko?
12:15:59 15          A.    No.
12:16:00 16          Q.    Facilities belonging to -- or point
12:16:02 17    of presences [sic] belonging to a subsidiary
12:16:05 18    of XBT?
12:16:05 19          A.    No.
12:16:05 20          Q.    Okay. Exhibit 29 is an article in
12:16:17 21    Russian; correct?
12:16:20 22          A.    (Examining.) This is correct.
12:16:22 23          Q.    Can you tell us in what is that published
12:16:24 24    or was that published?
12:16:38 25          A.    I can.

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12:16:39   1         Q.    What -- and tell us.
12:16:41   2         A.    It was Roem.ru.
12:16:45   3         Q.    Okay. And what is that?
12:16:46   4         A.    It's a website.
12:16:47   5         Q.    A Russian website?
12:16:51   6               Is it a website dedicated to any
12:16:53   7   particular category of information?
12:16:59   8         A.    I don't know.
12:17:02   9         Q.    A general news website?
12:17:07 10          A.    No.
12:17:08 11          Q.    No?
12:17:09 12                So what is it? How would you -- how
12:17:12 13    would you describe it?
12:17:28 14          A.    It is a website about technology.
12:17:37 15          Q.    Okay. The -- the first sentence of
12:17:43 16    the article --
12:17:49 17                MR. SIEGEL: Val, tell me if you think
12:17:50 18    this is a fair translation.
12:17:51 19          Q.    BY MR. SIEGEL: (Reading.)
12:17:51 20                "Aleksej Gubarev, the managing director
12:17:53 21    of the company Servers.ru announced on 27 January
12:17:58 22    in Moscow at an event for the media and partners
12:18:01 23    the launch of the Moscow data center Servers.ru."
12:18:06 24                Is that accurate?
12:18:09 25          A.    There is one little mistake there.

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12:18:13   1         Q.    Tell me what the little mistake is.
12:18:14   2         A.    "Aleksej Gubarev, the managing director
12:18:18   3   of the company Servers.com."
12:18:18   4               You told the managing --
12:18:19   5         Q.    Oh, "Servers.com." Yeah.
12:18:20   6         A.    -- director of Servers.ru.
12:18:23   7         Q.    It's just kind of ironic that it's
12:18:23   8   the one word that was in English -- right? --
12:18:28   9   in that whole sentence.
12:18:30 10                Were you at this event?
12:18:32 11          A.    Yes.
12:18:34 12          Q.    And who else was there?
12:18:45 13          A.    I don't remember everyone.
12:18:48 14          Q.    Tell us some examples of people you
12:18:51 15    do remember.
12:18:55 16          A.    Aleksej Gubarev.
12:18:55 17          Q.    Uh-huh.
12:18:55 18          A.    Konstantin Bezruchenko. I don't remember
12:19:12 19    much actually.
12:19:13 20          Q.    You don't remember.
12:19:14 21                Do you know how were members of the
12:19:17 22    media and partners -- were members of the media
12:19:19 23    and partners invited to this event?
12:19:22 24          A.    Yes.
12:19:22 25          Q.    And who -- how were they invited? Do

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12:19:26   1   you know?
12:19:29   2         A.    I don't know how.
12:19:32   3         Q.    Was that something that employees in
12:19:35   4   the marketing department were responsible for?
12:19:38   5         A.    Yes.
12:19:40   6         Q.    And were there members of the media
12:19:43   7   there, to your knowledge?
12:19:46   8         A.    To my knowledge, yes.
12:19:48   9         Q.    Just curious. But can you give us
12:19:51 10    a rough estimate of how many?
12:19:55 11          A.    No.
12:19:55 12          Q.    More than five?
12:19:56 13          A.    No, I cannot give any estimate.
12:19:58 14          Q.    You can't estimate at all?
12:20:00 15          A.    No.
12:20:00 16          Q.    Five?
12:20:00 17          A.    I can't --
12:20:00 18          Q.    Ten? Fifteen?
12:20:00 19          A.    I cannot estimate at all.
12:20:03 20          Q.    Okay. What happened at that event?
12:20:14 21          A.    There was a small concert and brief
12:20:27 22    speeches and then just socializing.
12:20:33 23          Q.    Who spoke?
12:20:35 24          A.    I don't remember everyone.
12:20:37 25          Q.    Tell me who you remember.

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12:20:39   1         A.    I remember two persons speaking.
12:20:44   2   I remember Aleksej Gubarev speaking.
12:20:46   3         Q.    Okay.
12:20:47   4         A.    And I remember a lady representative
12:20:52   5   of Dell Russia speaking. I don't remember her
12:20:57   6   name.
12:21:00   7         Q.    All right. Were there any representatives
12:21:03   8   of the Russian government there?
12:21:08   9         A.    I don't know.
12:21:09 10          Q.    You don't know?
12:21:10 11          A.    I don't know.
12:21:15 12          Q.    Did you speak?
12:21:16 13          A.    No.
12:21:18 14          Q.    Why was Mr. Gubarev -- why did he speak
12:21:22 15    as the representative of the company?
12:21:24 16          A.    I don't know the exact reason.
12:21:26 17          Q.    Okay. If you look at the bottom of --
12:21:32 18    of page 119, you'll see there's a -- on the
12:21:37 19    website, there's an insert for a slide show?
12:21:40 20          A.    Yes.
12:21:40 21                MR. SIEGEL: Okay. I'm going to hand
12:21:43 22    you Exhibit 30.
12:21:52 23                (Exhibit 30 marked.)
12:21:58 24                THE WITNESS: What? Aah, the next
12:22:03 25    exhibit.

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12:22:16   1         Q.    BY MR. SIEGEL: And, again, these
12:22:17   2   are -- these -- these pages are not numbered.
12:22:26   3         A.    (Examining.) Actually, they are
12:22:27   4   numbered. They're -- they're --
12:22:29   5         Q.    Oh, yes. I see that.
12:22:30   6         A.    They're numbered.
12:22:30   7         Q.    I -- I apologize. Yes, they are.
12:22:32   8   They have very small numbers, don't they?
12:22:41   9               MR. SIEGEL: I think something got
12:22:41 10    left off of it. Can we go off the record for
12:22:45 11    one sec?
12:22:46 12                THE VIDEOGRAPHER: Going off the record
12:22:47 13    at 12:22.
12:22:51 14                (Brief discussion held off the record.)
12:23:12 15                THE VIDEOGRAPHER: Back on the record
12:23:12 16    at 12:22.
12:23:14 17          Q.    BY MR. SIEGEL: Can you turn to the
12:23:18 18    page F 30?
12:23:20 19          A.    Okay.
12:23:27 20          Q.    If you look at the first -- there's
12:23:34 21    a chart there -- right? -- that has red markings.
12:23:39 22                Do you see that?
12:23:40 23          A.    Yes.
12:23:41 24          Q.    And those provide numbers for things
12:23:45 25    like speed, connection, traffic; is that right?

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12:23:48   1         A.    No.
12:23:49   2         Q.    No, they don't?
12:23:50   3               What -- what is that a chart of?
12:23:52   4         A.    Which -- which line you're referring
12:23:54   5   to?
12:23:54   6         Q.    You see where it says SSE [sic] 16?
12:23:58   7         A.    Yes.
12:23:59   8         Q.    What is that?
12:24:00   9         A.    It's a certification standard.
12:24:04 10          Q.    All right. Let's go to page 33.
12:24:13 11                That's the -- is that the one that
12:24:15 12    indicates maximum speed connection? Is that
12:24:19 13    accurate?
12:24:21 14          A.    That's correct.
12:24:22 15          Q.    Okay. The headline on the top of the
12:24:26 16    page, does that -- is that headline translated
12:24:33 17    as "The Fastest Network in Russia"?
12:24:35 18          A.    That's correct.
12:24:36 19          Q.    Is that an accurate statement? In
12:24:39 20    other words, was the network being offered by
12:24:44 21    Servers.ru the fastest network in Russia?
12:24:48 22          A.    I don't know.
12:24:48 23          Q.    Do you have any reason to believe that
12:24:50 24    it was inaccurate?
12:24:52 25          A.    I don't have any reason.

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12:24:53   1         Q.    Okay. Who -- who was the -- do you
12:24:57   2   know who this presentation was for, other than
12:25:02   3   obviously it was on a website?
12:25:04   4               Was this -- was this a slide show or
12:25:09   5   something of that nature that was presented?
12:25:12   6         A.    I don't know.
12:25:12   7         Q.    Okay. Do you see at the bottom of
12:25:16   8   page 33 --
12:25:23   9         A.    Yes.
12:25:25 10          Q.    I'm sorry. Look at page 32.
12:25:27 11          A.    Sure.
12:25:27 12          Q.    Do you see the headline above the
12:25:34 13    sentence that contains the word "Dell 13"?
12:25:37 14          A.    Yes.
12:25:37 15          Q.    The one word that I can read.
12:25:40 16          A.    Yes.
12:25:41 17          Q.    Are those words -- do those words mean
12:25:44 18    "the largest capacity in Russia"?
12:25:47 19          A.    No.
12:25:48 20          Q.    What do they mean?
12:25:49 21          A.    "The most powerful hardware in Russia."
12:25:52 22          Q.    Okay. And is -- do you believe that
12:26:01 23    to have been an accurate statement at the time?
12:26:04 24          A.    I don't know.
12:26:05 25          Q.    Do you have any reason to believe that

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12:26:06   1   it was inaccurate?
12:26:07   2         A.    No.
12:26:07   3         Q.    Okay. Was this a part of the presentation
12:26:18   4   at the event that we talked about?
12:26:20   5         A.    I don't remember.
12:26:20   6               MR. SIEGEL: Okay. Mark this as
12:26:39   7   Exhibit 31. Hand it to the witness.
12:26:43   8               (Exhibit 31 marked.)
12:26:52   9               THE WITNESS: (Examining.) Okay.
12:26:52 10    Here we go.
12:26:57 11          Q.    BY MR. SIEGEL: I've handed you
12:26:59 12    Exhibit 31. Is that -- which indicates that
12:27:02 13    it's a letter from you.
12:27:03 14                Do you recognize this?
12:27:04 15          A.    I recognize that.
12:27:06 16          Q.    And -- and to whom was this letter
12:27:10 17    sent?
12:27:16 18          A.    I sent it to Olga Galkina.
12:27:22 19          Q.    You sent it to Olga Galkina?
12:27:25 20          A.    Yes.
12:27:25 21          Q.    And why did you send it to Olga Galkina?
12:27:28 22    Am I pronouncing that right? I don't think I am.
12:27:31 23    "Galkina"?
12:27:32 24          A.    "Galkina." Yes.
12:27:33 25          Q.    Why did you send it to Olga Galkina?

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12:27:37   1         A.    She asked me to do that.
12:27:39   2         Q.    Okay. And did she explain to you why
12:27:42   3   she wanted such a letter?
12:27:49   4         A.    I don't remember.
12:27:49   5         Q.    Okay. What was the purpose of the
12:27:53   6   letter?
12:27:58   7         A.    I don't know for sure.
12:27:59   8         Q.    Okay. It appears that this was a
12:28:05   9   letter that was sent to a PR agency to indicate
12:28:12 10    what Servers.com was looking for?
12:28:20 11          A.    What's your question? What's your
12:28:24 12    question?
12:28:25 13          Q.    Well, it looks -- let's just go read
12:28:28 14    the bottom of the letter. Okay?
12:28:29 15          A.    Uh-huh.
12:28:29 16          Q.    So the last sentence says:
12:28:30 17                "We would appreciate if you could
12:28:33 18    present your proposals with a different price
12:28:35 19    structure and activities" -- and activity
12:28:36 20    "intensity to our public relations officer
12:28:40 21    Olga Galkina." (As read.)
12:28:41 22                Right?
12:28:42 23          A.    Yes.
12:28:42 24          Q.    So to whom were you asking to present
12:28:46 25    proposals?

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12:28:47   1         A.    To whom?
12:28:48   2         Q.    Yes.
12:28:48   3         A.    To Olga.
12:28:49   4         Q.    You were asking Olga?
12:28:50   5         A.    No. I was -- whom I was asking?
12:28:52   6         Q.    Yes.
12:28:54   7         A.    No one in particular.
12:28:55   8         Q.    Okay. But was it fair to say that this
12:28:58   9   was intended to go to public relation companies
12:29:03 10    to solicit proposals?
12:29:07 11          A.    That's what Olga told me.
12:29:10 12          Q.    Okay. And you -- the letter says --
12:29:15 13    the last paragraph -- right? -- at the top:
12:29:19 14                "The main point for us now is to
12:29:21 15    reach permanent presence in media sources."
12:29:25 16          A.    Let me find it.
12:29:26 17          Q.    Do you see that?
12:29:29 18          A.    Yes. I see that.
12:29:30 19          Q.    Okay. Why was that a main point
12:29:33 20    for you at that time?
12:29:45 21          A.    It was not.
12:29:46 22          Q.    It was not?
12:29:47 23          A.    It was not.
12:29:49 24          Q.    So why did you write it?
12:29:50 25          A.    I don't remember.

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12:29:52   1         Q.    So you remember that it wasn't. But
12:29:55   2   you can't remember why you wrote it?
12:29:57   3         A.    No, I don't remember why I wrote it.
12:29:59   4   But it was not the main point for us in general.
12:30:04   5         Q.    What was the main point?
12:30:05   6         A.    To grow our revenue.
12:30:08   7         Q.    Okay. Well, would it be fair to say
12:30:11   8   that you were looking to reach permanent presence
12:30:16   9   in media sources in order to grow your revenue?
12:30:19 10          A.    That's correct.
12:30:23 11          Q.    And I gather that public relations
12:30:28 12    agencies -- right? -- can't help you grow your
12:30:31 13    revenue in all ways?
12:30:32 14                Right?
12:30:32 15          A.    I don't know what they can.
12:30:35 16          Q.    Well, it would be fair to say that
12:30:37 17    reaching a permanent presence in media sources
12:30:39 18    is one possible way that a -- a public relations
12:30:42 19    agency specifically might be able to help you
12:30:45 20    grow your revenue; right?
12:30:46 21          A.    Yes.
12:30:47 22          Q.    Okay.
12:30:48 23          A.    We thought that it is.
12:30:50 24          Q.    Okay. And you say:
12:30:52 25                "Our target is to maintain persistent

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12:30:55   1   citation level across business media with company
12:30:58   2   news or experts' comments."
12:31:01   3               Right? Anything inaccurate about that?
12:31:04   4         A.    I don't remember. I don't remember.
12:31:09   5         Q.    Do you have any reason to believe that
12:31:11   6   that was not a target for you?
12:31:14   7         A.    No. I don't have any reason to believe
12:31:17   8   that.
12:31:20   9         Q.    Okay. Eventually, you hired the firm
12:31:25 10    KGlobal; correct?
12:31:27 11          A.    That's correct.
12:31:30 12          Q.    How -- how did that come to be? How
12:31:32 13    did you get connected with KGlobal?
12:31:36 14          A.    Olga advised to do that.
12:31:37 15          Q.    Okay. Did Olga explain to you how
12:31:44 16    she came to learn of KGlobal or solicit KGlobal?
12:32:07 17          A.    Sorry. It takes time to just freshen
12:32:12 18    up my memories. No, I don't remember.
12:32:17 19          Q.    I think you testified before that
12:32:21 20    Ms. Galkina is no longer employed by Servers
12:32:24 21    or any other subsidiary of XBT?
12:32:27 22          A.    That's correct.
12:32:28 23          Q.    Why did she leave?
12:32:34 24          A.    Because she resigned.
12:32:40 25          Q.    Okay. Was she asked to resign?

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12:32:45   1         A.    I don't know that.
12:32:49   2         Q.    Were you satisfied with her performance
12:32:51   3   while she was an employee?
12:32:58   4         A.    I didn't evaluate it.
12:33:00   5         Q.    I'm sorry?
12:33:00   6         A.    I didn't evaluate her performance.
12:33:02   7         Q.    Okay. Who -- who did?
12:33:07   8         A.    Alexey Trankov.
12:33:09   9         Q.    Okay. To your knowledge, was
12:33:11 10    Mr. Trankov satisfied with her performance?
12:33:13 11          A.    He told he wasn't.
12:33:13 12                (Court reporter clarification.)
12:33:13 13                THE WITNESS: He told he wasn't.
12:33:19 14          Q.    BY MR. SIEGEL: He told you he was not?
12:33:21 15          A.    Yes.
12:33:21 16          Q.    And -- and why is that?
12:33:22 17          A.    I never asked.
12:33:26 18          Q.    Okay. Did Mr. Trankov ask Ms. Galkina
12:33:31 19    to leave --
12:33:31 20          A.    I don't know that.
12:33:32 21          Q.    -- to your knowledge?
12:33:33 22                MR. SIEGEL: Okay. I'll show you
12:33:46 23    Exhibit 32. And I'll also give you Exhibit 33.
12:33:56 24                (Exhibit 32 and Exhibit 33 marked.)
12:33:57 25                THE WITNESS: (Examining.) Okay.

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12:34:02   1   Here it comes. Here it comes again.
12:34:19   2         Q.    BY MR. SIEGEL: So Exhibit 32 is an
12:34:23   3   e-mail from Ms. Galkina to Mr. Dolan. She says
12:34:28   4   in the e-mail:
12:34:29   5               "... when I had just arrived, I had
12:34:31   6   to organize our partnership here."
12:34:33   7               And she provides a link to something
12:34:36   8   called a Russian Internet Forum. And I'll
12:34:40   9   represent to you that 30 -- Exhibit 33 is
12:34:40 10    the printout of that link.
12:34:45 11                She says:
12:34:46 12                "It is the biggest Russian internet
12:34:48 13    event."
12:34:49 14                Is that a forum that you're familiar
12:34:52 15    with?
12:34:53 16          A.    Yes.
12:34:53 17          Q.    Have you ever been there?
12:34:55 18          A.    Yes.
12:34:55 19          Q.    And what is its purpose?
12:34:57 20          A.    I don't know what is its purpose.
12:34:59 21          Q.    How often have you been there?
12:35:02 22          A.    I've been there once.
12:35:03 23          Q.    Was it in 2016?
12:35:05 24          A.    Yes.
12:35:05 25          Q.    And why did you attend in 2016?

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12:35:10   1         A.    Because Servers.ru was sponsoring
12:35:15   2   this event.
12:35:15   3         Q.    Okay. Was it a sole sponsor or one
12:35:18   4   of the sponsors?
12:35:19   5         A.    One.
12:35:19   6         Q.    And why did Servers.ru sponsor it?
12:35:25   7         A.    That was the decision by the marketing
12:35:27   8   team.
12:35:27   9         Q.    Okay. Is there a distinction between --
12:35:33 10    strike that.
12:35:34 11                Did Servers.ru in 2016 have a CEO?
12:35:44 12          A.    No.
12:35:45 13          Q.    Did it have a project manager?
12:35:47 14          A.    No.
12:35:50 15          Q.    Who was responsible for the operations
12:35:54 16    of Servers.ru?
12:36:00 17          A.    No one was.
12:36:01 18          Q.    No one at all?
12:36:01 19          A.    Yes.
12:36:04 20          Q.    Did you -- did your work involve
12:36:08 21    Servers.ru?
12:36:09 22          A.    Yes.
12:36:09 23          Q.    In what way?
12:36:13 24          A.    Servers.ru was a brand we were using
12:36:16 25    for Russian market.

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12:36:17   1         Q.    Okay. So it was -- it was one of the
12:36:19   2   brands, would it be fair to say, that Servers.com
12:36:22   3   used for purposes of the Russian market?
12:36:26   4         A.    Yes.
12:36:26   5         Q.    Okay. Can -- on Exhibit 33, can you
12:36:36   6   point out to me where Mr. Gubarev's name appears?
12:36:43   7         A.    It's the last page.
12:36:44   8         Q.    The last --
12:36:45   9         A.    The last -- it's the last, the last
12:36:48 10    name.
12:36:49 11          Q.    The last name. Right.
12:36:51 12                So Mr. Gubarev spoke at the Russian
12:36:53 13    Internet Forum?
12:37:00 14          A.    Yes.
12:37:00 15          Q.    And what did he talk about?
12:37:02 16          A.    I don't remember.
12:37:02 17          Q.    Okay. Is an accurate translation
12:37:12 18    of the subject of his talk "trends in the
12:37:17 19    infrastructure of the global and Russian
12:37:19 20    Internet"?
12:37:19 21          A.    Yes. That's a fair translation.
12:37:23 22          Q.    Does that refresh your recollection
12:37:25 23    as to what he talked about?
12:37:27 24          A.    No.
12:37:35 25          Q.    Okay. I take it from your answer you

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12:37:37   1   haven't been back to the Russian Internet Forum
12:37:43   2   since?
12:37:45   3         A.    No.
12:37:45   4         Q.    Were there members of the media in
12:37:47   5   the audience of the Russian Internet Forum?
12:37:57   6         A.    I don't remember.
12:37:59   7         Q.    You don't remember. Okay.
12:38:07   8               MR. SIEGEL: Here is Exhibit 34.
12:38:13   9               (Exhibit 34 marked.)
12:38:23 10          Q.    BY MR. SIEGEL: Exhibit 34, another
12:38:23 11    e-mail by Ms. Galkina, refers to an event called
12:38:26 12    the St. Petersburg International Economic Forum.
12:38:29 13                Have you ever gone to that event?
12:38:32 14          A.    (Examining.) No.
12:38:34 15          Q.    To your knowledge, has Mr. Gubarev
12:38:36 16    ever gone to that event?
12:38:37 17          A.    Yes.
12:38:37 18          Q.    When did he go?
12:38:40 19          A.    2016.
12:38:43 20          Q.    And did he -- to your knowledge, did
12:38:45 21    he speak there?
12:38:47 22          A.    I don't know.
12:38:47 23          Q.    You don't.
12:38:48 24                Did he ever discuss with you speaking
12:38:50 25    there?

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12:38:51   1         A.    No.
12:38:51   2         Q.    Okay.
12:38:54   3         A.    I -- I don't recollect a discussion.
12:38:56   4         Q.    Okay.
12:38:57   5         A.    It's not --
12:38:58   6         Q.    You don't know one way or another?
12:39:01   7         A.    Yes.
12:39:01   8         Q.    Okay. This indicates that he was
12:39:03   9   approved to participate in a panel that's about
12:39:06 10    cyber-security.
12:39:07 11                Does that refresh your recollection
12:39:09 12    as to whether he spoke about that topic?
12:39:12 13          A.    No.
12:39:12 14          Q.    Okay. The -- Ms. Galkina's e-mail
12:39:19 15    goes on to say:
12:39:20 16                "The question is that his name is
12:39:20 17    still not on the website. Mr. Klimenko told
12:39:24 18    that he anyway will give Mr. Gubarev a possibility
12:39:27 19    to speak."
12:39:28 20                Do you know who Mr. Klimenko is that's
12:39:31 21    being referred to?
12:39:32 22          A.    Yes.
12:39:33 23          Q.    Who is that?
12:39:34 24          A.    This is German Klimenko.
12:39:39 25          Q.    Okay. Who is German Klimenko?

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12:39:47   1         A.    He's an advisor to the president
12:39:50   2   of the Russian Federation.
12:39:52   3         Q.    Okay. To President Putin; right?
12:39:54   4         A.    Yes.
12:39:55   5         Q.    Have you ever interacted with
12:39:56   6   Mr. Klimenko?
12:39:57   7         A.    Yes.
12:39:58   8         Q.    Tell me about that.
12:40:02   9         A.    I spoke to him -- I don't even remember
12:40:07 10    the year. It was pretty long ago. I was -- in
12:40:18 11    my capacity as a journalist, I was interviewing
12:40:24 12    him for the media I was working for.
12:40:28 13          Q.    And which media was that?
12:40:29 14          A.    It was Ruformator. R-u, formator.
12:40:37 15          Q.    How long were you a journalist for?
12:40:40 16          A.    A couple of years.
12:40:41 17          Q.    Is that after you left the university?
12:40:43 18          A.    It was while I was in the university.
12:40:45 19          Q.    Okay. Since then, have you ever
12:40:48 20    communicated with Mr. Klimenko at all?
12:40:51 21          A.    Yes.
12:40:53 22          Q.    Tell me when.
12:41:03 23          A.    I don't remember when.
12:41:05 24          Q.    When was the last time you communicated
12:41:07 25    with Mr. Klimenko approximately?

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12:41:14   1         A.    Whenever he had his birthday.
12:41:17   2         Q.    Whenever he had his birthday?
12:41:19   3         A.    Yes.
12:41:19   4         Q.    Okay. You said "happy birthday"?
12:41:23   5         A.    That's right.
12:41:23   6         Q.    Okay. Is there any other context in
12:41:27   7   which you have communicated with Mr. Klimenko
12:41:30   8   other than wishing him happy birthday and
12:41:34   9   interviewing him as a journalist?
12:41:37 10          A.    Yes.
12:41:38 11          Q.    Tell me about that.
12:41:41 12          A.    I don't remember their content.
12:41:44 13          Q.    Was it a -- was it in connection with
12:41:46 14    your work?
12:41:48 15          A.    No.
12:41:49 16          Q.    Not at all?
12:41:52 17          A.    It was not in the connection with --
12:41:54 18    with my work now.
12:41:56 19          Q.    So what was it in connection with?
12:41:58 20          A.    It was in connection with my work
12:42:01 21    as a journalist, yes. As a journalist, yes.
12:42:05 22          Q.    As a journalist?
12:42:07 23          A.    Yes.
12:42:07 24          Q.    Okay. So other than -- I asked you
12:42:08 25    about that.

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12:42:08   1               So other than your work as a journalist
12:42:11   2   or wishing him happy birthday, have you communicated
12:42:14   3   with Mr. Klimenko in any other context?
12:42:17   4         A.    I don't remember any.
12:42:18   5         Q.    Okay. Have you ever communicated --
12:42:24   6   other than wishing him happy birthday, in the
12:42:28   7   course of working for any subsidiary of XBT,
12:42:31   8   have you ever communicated with Mr. Klimenko?
12:42:34   9         A.    Yes.
12:42:35 10          Q.    Tell me about that.
12:42:36 11          A.    I invited him for the launch of --
12:42:42 12    for the party we discussed before, connected
12:42:52 13    with the launch of the point of presence of
12:42:53 14    Servers.com.
12:42:54 15          Q.    Okay. Did he come?
12:42:55 16          A.    No.
12:42:56 17          Q.    Did any other representative of the
12:42:59 18    Russian government come?
12:43:00 19          A.    I don't know.
12:43:00 20          Q.    You don't know.
12:43:02 21                Do you know if Mr. -- anyone who works
12:43:06 22    with Mr. Klimenko came?
12:43:09 23          A.    I don't know.
12:43:14 24          Q.    Okay. Other than inviting Mr. Klimenko
12:43:17 25    to the launch in 2016, have you communicated with

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12:43:21   1   Mr. Klimenko in the course of your work for XBT?
12:43:57   2         A.    Let me try to recollect that. No,
12:44:15   3   I don't remember.
12:44:17   4         Q.    The e-mail indicates that Ms. Galkina
12:44:22   5   had some communication with Mr. Klimenko about
12:44:28   6   Mr. Gubarev possibly speaking.
12:44:33   7               Did you have any knowledge about
12:44:34   8   that at the time?
12:44:37   9         A.    No.
12:44:37 10          Q.    Okay. Do you know if she knew
12:44:43 11    Mr. Klimenko in any capacity?
12:44:46 12          A.    I didn't know.
12:44:47 13          Q.    Do you know if Mr. Gubarev has
12:44:50 14    communicated with Mr. Klimenko?
12:44:56 15          A.    Yes.
12:44:56 16          Q.    Okay. Tell me about that.
12:45:00 17          A.    I saw them communicate once.
12:45:03 18          Q.    Tell -- and in what -- in what context?
12:45:06 19          A.    In the context of the Russian Internet
12:45:11 20    Forum.
12:45:11 21          Q.    I'm sorry?
12:45:12 22          A.    Of the -- in the context of the Russian
12:45:14 23    Internet Forum, the forum we were discussing just
12:45:17 24    before.
12:45:17 25          Q.    Okay. And how did they communicate?

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12:45:20   1         A.    They talked to each other.
12:45:23   2         Q.    So was that at the forum?
12:45:26   3         A.    Yes.
12:45:27   4         Q.    I thought you said -- oh, I'm sorry.
12:45:29   5   At the forum --
12:45:30   6         A.    Yeah.
12:45:30   7         Q.    -- not the launch.
12:45:31   8         A.    Yeah.
12:45:32   9         Q.    So Mr. Klimenko attended --
12:45:35 10          A.    Yes.
12:45:35 11          Q.    -- the forum?
12:45:35 12          A.    It was at the forum. Yes.
12:45:39 13          Q.    Have you ever met President Putin?
12:45:43 14          A.    No.
12:45:48 15          Q.    Other than Mr. Klimenko, were there
12:45:51 16    any other representatives of the Russian
12:45:53 17    government at the Internet Forum?
12:45:55 18          A.    Yes.
12:45:55 19          Q.    Who?
12:45:55 20          A.    Nikolay Nikiforov.
12:46:02 21          Q.    Okay. Do you know what his job is?
12:46:05 22          A.    His job was -- he was the head of
12:46:10 23    department for communications for -- yeah,
12:46:15 24    something like that. I don't --
12:46:17 25          Q.    Okay.

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12:46:18   1         A.    I don't remember the exact title.
12:46:20   2         Q.    Who else?
12:46:20   3         A.    I don't know.
12:46:21   4         Q.    Other than Mr. Klimenko, have you
12:46:27   5   ever communicated with any other representative
12:46:27   6   of the -- or official of the Russian government
12:46:30   7   in the context of working at XBT?
12:46:32   8         A.    Yes.
12:46:33   9         Q.    Who?
12:46:33 10          A.    Vadim Subbotin.
12:46:39 11          Q.    Okay. Who is he?
12:46:42 12          A.    He is an interim deputy of the agency
12:46:53 13    for control on communications in the Russian
12:47:02 14    government.
12:47:02 15          Q.    Okay. And what was the subject of
12:47:05 16    your communications with him?
12:47:10 17          A.    One network used by Servers.com
12:47:20 18    appeared in their registry of resources,
12:47:24 19    access to which is prohibited in the Russian
12:47:31 20    Federation. And I wrote a letter to him stating
12:47:39 21    that -- stating that this inclusion was wrongful.
12:47:45 22          Q.    And did that letter result in any action?
12:47:48 23    Or was -- did that ever change?
12:47:51 24          A.    Excuse me?
12:47:52 25          Q.    Did -- let me just understand what you

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12:47:54   1   were saying.
12:47:54   2               One of the servers that Servers.ru was
12:48:01   3   operating; right?
12:48:01   4         A.    No.
12:48:02   5         Q.    Or that a customer of Servers.ru?
12:48:04   6         A.    No. No, no, no.
12:48:05   7         Q.    Okay. So explain it again.
12:48:06   8         A.    One of the networks --
12:48:07   9         Q.    Of the networks. Okay.
12:48:08 10          A.    -- that Servers.com was using to
12:48:15 11    distribute their IPs from this network --
12:48:20 12          Q.    Okay.
12:48:20 13          A.    -- to different customers --
12:48:21 14          Q.    To customers. Right.
12:48:22 15          A.    -- was included in the registry of
12:48:25 16    Internet resources, access to which is prohibited
12:48:29 17    in Russia.
12:48:30 18          Q.    Okay. And do you know why it was on
12:48:32 19    that pro -- prohibited list?
12:48:34 20          A.    I don't know why.
12:48:40 21          Q.    Was there a -- was there a reason given
12:48:41 22    to you why it was?
12:48:44 23          A.    The reason was given.
12:48:46 24          Q.    And what was the reason?
12:48:48 25          A.    The reason was that one of the IPs

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12:48:53   1   on this network provided an access to Telegram
12:48:56   2   Messenger, which was -- as per the -- I don't
12:49:09   3   know exactly why -- which was prohibited to be
12:49:13   4   used in Russia.
12:49:14   5         Q.    And do you -- Telegram Messenger, is
12:49:18   6   that a form of messaging service?
12:49:20   7         A.    It is a messaging app. Yes.
12:49:23   8         Q.    Okay. Do you know why that app is --
12:49:25   9   was there an explanation for why that app was
12:49:28 10    prohibited in Russia at the time?
12:49:29 11          A.    I don't know.
12:49:30 12          Q.    Did -- was that network ever removed
12:49:35 13    from the prohibited list?
12:49:36 14          A.    Yes.
12:49:40 15          Q.    But other than writing a letter, did
12:49:42 16    you have any other communication with this official
12:49:44 17    about that?
12:49:45 18          A.    No.
12:49:48 19          Q.    Was it removed after you wrote the letter?
12:49:50 20          A.    Yes.
12:49:51 21          Q.    Did Mr. Gubarev, to your knowledge, have
12:49:53 22    any communication with him?
12:49:55 23          A.    I don't know.
12:50:00 24          Q.    Did Ms. -- did -- did Mr. Bezruchenko,
12:50:03 25    to your knowledge, have any communication with

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12:50:07   1   him?
12:50:07   2          A.   I don't know.
12:50:10   3          Q.   Okay. Other than the official whose
12:50:13   4   first name is Vadim -- right? -- that you just
12:50:16   5   described, are there other members of the Russian
12:50:19   6   government that you had communicated with in the
12:50:21   7   context of working at XBT?
12:50:24   8          A.   I don't recollect anyone else.
12:50:25   9          Q.   Okay. When you -- when Servers.com has --
12:50:34 10    or United Networks has opened points of presence
12:50:39 11    in Russia, is there any communication with
12:50:45 12    the Russian -- or any officials in the Russian
12:50:48 13    government that was undertaken in order to do
12:50:51 14    that?
12:50:53 15           A.   I don't know that.
12:50:54 16           Q.   Or as part of doing that in any way?
12:50:57 17           A.   I don't know that. I don't know that.
12:50:58 18                MR. SIEGEL: Okay. Here I'll just show
12:51:25 19    him Exhibit 35. Exhibit 35.
12:51:30 20                (Exhibit 35 marked.)
12:51:41 21           Q.   BY MR. SIEGEL: Why did the company
12:51:43 22    decide to hire KGlobal?
12:51:47 23           A.   (Examining.) We were advised by our
12:51:50 24    marketing team to do that.
12:51:52 25           Q.   Okay. And -- and what advice did they

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12:51:54   1   give you? In other words, what -- what did they
12:51:57   2   say?
12:51:57   3          A.   "Hire KGlobal."
12:51:59   4          Q.   For -- and -- and why? Why them?
12:52:02   5          A.   We didn't ask.
12:52:04   6          Q.   You didn't ask?
12:52:05   7          A.   No.
12:52:05   8          Q.   Okay. Did you meet Mr. Dolan?
12:52:16   9          A.   Yes.
12:52:16 10           Q.   Okay. And by "Mr. Dolan," I'm talking
12:52:20 11    about Charles Dolan -- right? -- who is --
12:52:22 12           A.   That's correct.
12:52:22 13           Q.   -- with KGlobal?
12:52:24 14           A.   Yes.
12:52:24 15           Q.   Okay. Did you meet Mr. Dolan before
12:52:28 16    a final decision was made to hire them?
12:52:31 17           A.   Yes.
12:52:31 18           Q.   Okay. Tell me about that meeting.
12:52:39 19           A.   He came to Cyprus.
12:52:41 20           Q.   He came to Cyprus?
12:52:44 21           A.   We met.
12:52:44 22           Q.   Okay. And -- and what did you discuss?
12:52:47 23           A.   I don't remember.
12:52:48 24           Q.   You don't remember anything about it?
12:52:52 25           A.   Nothing.

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12:52:52   1          Q.   Okay.
12:52:53   2          A.   Nothing.
12:52:56   3          Q.   Why did he come to Cyprus?
12:52:58   4          A.   I don't know.
12:53:00   5          Q.   You don't know?
12:53:01   6          A.   I don't know.
12:53:02   7          Q.   Just walked into a room one day, and
12:53:06   8   Mr. Dolan was sitting there?
12:53:08   9          A.   No.
12:53:08 10           Q.   Okay. So how did you come to meet him?
12:53:13 11           A.   Someone from the marketing team told
12:53:16 12    me that Mr. Dolan is about to come to Cyprus.
12:53:19 13           Q.   Uh-huh.
12:53:19 14           A.   Here are the dates. Would you meet
12:53:24 15    him?
12:53:24 16           Q.   Okay. And you met with him.
12:53:27 17                Did Mr. Gubarev meet with him too?
12:53:31 18           A.   Yes.
12:53:32 19           Q.   What was your impression?
12:53:36 20           A.   I think he's very smart.
12:53:38 21           Q.   Okay. Any other impressions?
12:53:46 22           A.   I don't remember anything else.
12:53:47 23           Q.   Were you more impressed with him than
12:53:50 24    with members of the Cutler team?
12:53:55 25           A.   I don't know.

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12:53:56   1         Q.    Okay. The -- the first time you met
12:54:03   2   him, was it just Mr. Dolan? Was he alone?
12:54:07   3               And by "alone," I mean was there anyone
12:54:11   4   else with his company that came with him?
12:54:18   5         A.    No. He was alone.
12:54:21   6               MR. SIEGEL: Let's go off the record
12:54:40   7   one sec.
12:54:42   8               THE VIDEOGRAPHER: Going off the record,
12:54:42   9   12:54.
12:54:45 10                (Brief discussion held off the record.)
12:55:09 11                THE VIDEOGRAPHER: Back on the record,
12:55:09 12    12:54.
12:55:11 13                (Exhibit 37 marked.)
12:55:27 14                MR. SIEGEL: And here, staple these
12:55:32 15    together. Where's the stapler?
12:55:34 16                MS. SCHARY: Yes.
12:55:42 17                MR. SIEGEL: Exhibit 38.
12:55:45 18                (Exhibit 38 marked.)
12:55:45 19                MR. SIEGEL: Also you can hand it to
12:55:49 20    him, Exhibit 38.
12:56:06 21                THE COURT REPORTER: What is this?
12:56:07 22                MR. SIEGEL: That's Exhibit 38 for Val.
12:56:12 23                MR. GURVITS: Where's 37? It's both?
12:56:12 24                MR. SIEGEL: I'm giving you 37 and 38.
12:56:12 25                THE WITNESS: 37 is that one.

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12:56:13   1               MR. SIEGEL: Yeah. So --
12:56:13   2               MR. GURVITS: This is 37?
12:56:13   3               THE WITNESS: Yes.
12:56:15   4               MR. SIEGEL: 37 is a doc --
12:56:18   5               THE WITNESS: We skipped 36.
12:56:21   6               MR. GURVITS: Huh?
12:56:21   7               THE WITNESS: We skipped 36.
12:56:21   8               MR. GURVITS: Oh, you skipped 36?
12:56:21   9               MR. SIEGEL: Yeah.
12:56:21 10                MR. GURVITS: Aah.
12:56:22 11          Q.    BY MR. SIEGEL: 37 is a document that
12:56:24 12    was produced by KGlobal in this case that says:
12:56:28 13                "Servers.com: Proposal for Public
12:56:31 14    Relations Support."
12:56:31 15          A.    (Examining.) Uh-huh.
12:56:32 16          Q.    Is that something that you reviewed?
12:56:36 17          A.    Yes.
12:56:37 18          Q.    You did review it? Okay.
12:56:41 19                Did you like it?
12:56:57 20          A.    I don't remember.
12:56:58 21          Q.    You don't -- you don't remember?
12:57:00 22          A.    Yeah, I don't remember. I don't remember.
12:57:02 23          Q.    You -- you hired them; right?
12:57:03 24          A.    Yes. We hired them.
12:57:05 25          Q.    Okay. And the -- the next, Exhibit 38,

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12:57:10   1   is an e-mail attaching the -- the consulting
12:57:15   2   agreement --
12:57:15   3         A.    (Examining.) Uh-huh.
12:57:16   4         Q.    -- and -- with Servers.com.
12:57:18   5               And that's your signature on the last
12:57:20   6   page --
12:57:20   7         A.    Yes.
12:57:20   8         Q.    -- correct?
12:57:23   9               So it indicates that the price of this
12:57:32 10    consulting agreement was $25,000 a month for three
12:57:35 11    months?
12:57:36 12          A.    That's correct.
12:57:38 13          Q.    And that is considerably more than you
12:57:41 14    paid -- than the fee for the Cutler firm; right?
12:57:45 15          A.    Yes.
12:57:46 16          Q.    Why the increase in what you were willing
12:57:51 17    to pay?
12:57:55 18          A.    My marketing team told me that we should
12:57:58 19    expect more from KGlobal than we got -- what we
12:58:02 20    got from Cutler.
12:58:03 21          Q.    By "expecting more" you mean better
12:58:06 22    services?
12:58:06 23          A.    Yes.
12:58:07 24          Q.    Okay. And that, in order to get better
12:58:09 25    services, you would need to pay a higher price?

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12:58:13   1          A.   That made sense to me at that time.
12:58:16   2          Q.   Okay. Does it not make sense to you
12:58:19   3   now?
12:58:23   4          A.   That still makes sense.
12:58:25   5               MR. SIEGEL: Okay. Let's -- oh, let's
12:58:43   6   go off the record a sec.
12:58:46   7               THE VIDEOGRAPHER: Going off the record
12:58:47   8   at 12:58.
12:58:49   9               (Brief discussion held off the record.)
12:59:04 10                THE VIDEOGRAPHER: Back on the record,
12:59:05 11    12:58.
12:59:09 12           Q.   BY MR. SIEGEL: Okay. You see under
12:59:11 13    where it says "Article I" sub-point 2:
12:59:13 14                "Scope of Services."
12:59:15 15           A.   Uh-huh.
12:59:15 16           Q.   And there's a list of them?
12:59:17 17           A.   Uh-huh.
12:59:18 18           Q.   Among the services, there's:
12:59:19 19                "Full-day media training for up to
12:59:22 20    five spokespeople."
12:59:23 21           A.   Yes.
12:59:24 22           Q.   Did that happen?
12:59:25 23           A.   Yes.
12:59:25 24           Q.   And -- and what did that consist of?
12:59:27 25    Media training for what?

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12:59:32   1         A.    I don't know for what.
12:59:34   2         Q.    Well, did you participate in the media
12:59:36   3   training?
12:59:37   4         A.    I did.
12:59:38   5         Q.    And who else did? Mr. Gubarev?
12:59:46   6         A.    Mr. Gubarev did.
12:59:48   7         Q.    Did Mr. Bezruchenko?
12:59:52   8         A.    I don't remember that.
12:59:52   9         Q.    Okay. Did Mr. Mishra?
12:59:54 10          A.    He did.
12:59:54 11          Q.    And what were you being trained for?
13:00:03 12          A.    How to talk to a journalist.
13:00:05 13          Q.    Okay. Okay. And when did that happen?
13:00:18 14          A.    I don't remember.
13:00:20 15          Q.    Was there a time that they came back
13:00:22 16    to Cyprus and --
13:00:24 17          A.    I -- I don't remember.
13:00:25 18          Q.    Okay. Did that occur -- did the media
13:00:27 19    training occur in Cyprus?
13:00:29 20          A.    Yes.
13:00:46 21                MR. SIEGEL: Okay. Here is Exhibit 39.
13:00:52 22                (Exhibit 39 marked.)
13:01:05 23          Q.    BY MR. SIEGEL: Exhibit 39 is an e-mail
13:01:07 24    from Mr. Dolan to you. And if you look at the
13:01:11 25    top -- I'm sorry. The top is an e-mail from

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13:01:14   1   Mr. Dolan -- from Mr. Dolan to you.
13:01:15   2         A.    (Examining.) Uh-huh.
13:01:16   3         Q.    And if you look at the top e-mail,
13:01:18   4   at the bottom of the first paragraph, he says:
13:01:20   5               "I know you guys have had ... some
13:01:22   6   media training in Moscow. But the U.S. media
13:01:25   7   market is a bit different." (As read.)
13:01:26   8               Is -- is that accurate, that you had --
13:01:28   9   or some -- somebody at Servers.com had some
13:01:31 10    media training in Moscow?
13:01:33 11          A.    I don't know.
13:01:34 12          Q.    Did you ever have any?
13:01:35 13          A.    No.
13:01:37 14          Q.    Do you know what he was referring to?
13:01:39 15          A.    I don't know.
13:01:39 16          Q.    Okay. Is that something that you recall
13:01:42 17    ever discussing with him?
13:01:50 18          A.    I don't know. I don't know.
13:01:51 19          Q.    Okay. Was the media training that you
13:01:55 20    had primarily directed towards the U.S. media
13:01:59 21    market?
13:02:02 22          A.    I don't know.
13:02:03 23          Q.    Okay. KGlobal is based in the United
13:02:07 24    States; right?
13:02:08 25          A.    That's correct.

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13:02:11   1         Q.    Why did you hire another American company?
13:02:17   2         A.    Because we were advised by our marketing
13:02:20   3   team to hire KGlobal.
13:02:21   4         Q.    Okay. In part because they were an
13:02:24   5   American company?
13:02:25   6         A.    I don't remember the reasoning behind
13:02:28   7   that.
13:02:34   8         Q.    Okay. I'm going to show you two more
13:02:36   9   exhibits quickly. And then why don't we go to
13:02:40 10    lunch. Okay?
13:02:40 11          A.    Sure. I could do this all day.
13:02:43 12                MR. SIEGEL: This is 40.
13:02:46 13                (Exhibit 40 marked.)
13:02:56 14          Q.    BY MR. SIEGEL: I -- I just want to --
13:02:58 15    is it accurate that Exhibit 40 is a invoice for
13:03:02 16    the first month of services that KGlobal provided?
13:03:06 17          A.    (Examining.) That's correct.
13:03:07 18          Q.    Okay.
13:03:08 19          A.    Yes.
13:03:09 20          Q.    And as far as you know, those were paid?
13:03:12 21          A.    Excuse me?
13:03:13 22          Q.    As far as you know, those invoices were
13:03:15 23    paid?
13:03:16 24          A.    As far as I know, yes.
13:03:17 25          Q.    Yeah.

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13:03:17   1               MR. SIEGEL: Okay. And I will show
13:03:19   2   you Exhibit 41.
13:03:24   3               (Exhibit 41 marked.)
13:03:37   4         Q.    BY MR. SIEGEL: Just look at the top
13:03:38   5   of exhibit -- the first one on page 711 --
13:03:43   6         A.    (Examining.) Uh-huh.
13:03:43   7         Q.    -- of Exhibit 41.
13:03:43   8               Does that refresh your recollection
13:03:46   9   as to about when the KGlobal team came to Cyprus?
13:03:59 10          A.    A little.
13:04:04 11          Q.    Okay. So it appears that they came --
13:04:04 12                THE COURT REPORTER: Wait. I didn't
13:04:04 13    hear what you said.
13:04:04 14                THE WITNESS: "A little."
13:04:06 15          Q.    BY MR. SIEGEL: And if you look at the
13:04:08 16    second page -- right? -- page 712, towards the
13:04:13 17    bottom of the page, there's a preliminary schedule
13:04:15 18    for meetings on July 13th and 14th in Limassol.
13:04:19 19                Right?
13:04:25 20          A.    What was the question? Excuse me.
13:04:27 21          Q.    Does this -- does this refresh your
13:04:29 22    recollection that, in roughly July 2016, Mr. Dolan
13:04:34 23    and a couple of other people came to Cyprus?
13:04:36 24          A.    Yes. That's --
13:04:37 25          Q.    And --

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13:04:37   1         A.    That's fair.
13:04:38   2         Q.    And that's when they did the media
13:04:40   3   training?
13:04:40   4         A.    Yes.
13:04:41   5         Q.    And when you say "we approve a business
13:04:48   6   class travel," does that mean that Servers.com
13:04:53   7   or XBT, that a -- that a subsidiary of XBT was
13:04:58   8   going to pay for them --
13:04:59   9         A.    Yes.
13:04:59 10          Q.    -- to travel?
13:05:00 11                Okay. And I take it they did pay for
13:05:04 12    them?
13:05:04 13          A.    Yes.
13:05:05 14          Q.    Other than the travel to Cyprus and the
13:05:11 15    $25,000 monthly fee, were there other monies that
13:05:19 16    were paid to KGlobal?
13:05:20 17          A.    Yes.
13:05:21 18          Q.    What?
13:05:25 19          A.    I -- there were some -- there was some
13:05:34 20    invoice that was for an expense for press release
13:05:46 21    distribution.
13:05:46 22          Q.    Okay.
13:05:46 23                (Court reporter clarification.)
13:05:46 24                THE WITNESS: For press release
13:05:46 25    distribution.

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13:05:46   1         Q.    BY MR. SIEGEL: All right. Which
13:05:47   2   was one of the services they provided; right?
13:05:50   3         A.    Yes.
13:05:51   4               MR. SIEGEL: Okay. You want to take
13:05:53   5   a lunch break?
13:05:54   6               MR. GURVITS: Sure.
13:05:54   7               THE WITNESS: Okay.
13:05:59   8               THE VIDEOGRAPHER: Going off the record
13:06:00   9   at 1:05.
13:06:04 10                (Recess from 1:05 p.m. to 1:51 p.m.)
13:51:25 11                THE VIDEOGRAPHER: Back on the record
13:51:27 12    at 1:51.
13:51:27 13                (Exhibit 42 marked.)
13:51:31 14          Q.    BY MR. SIEGEL: Okay. Good afternoon,
13:51:31 15    Mr. Dvas.
13:51:32 16                Did I -- we handed you Exhibit 42.
13:51:37 17    And I'm also going to hand you Exhibit 43.
13:51:44 18                (Exhibit 43 marked.)
13:52:09 19          Q.    BY MR. SIEGEL: A general question
13:52:10 20    I want to ask -- and it links to -- to both 42
13:52:14 21    and 43 -- is: Most of the communication back
13:52:16 22    and forth with Mr. Dolan appears to have been
13:52:21 23    with you and/or Mr. Gubarev, at least at this
13:52:25 24    period in time?
13:52:27 25          A.    (Examining.) I don't know that.

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13:52:28   1          Q.   You don't believe that to be true?
13:52:30   2          A.   I don't know that.
13:52:32   3          Q.   Why were you in regular contact with
13:52:38   4   Mr. Dolan? Meaning you, Nick Dvas?
13:52:43   5               MR. GURVITS: Objection.
13:52:45   6               THE WITNESS: I don't know the reason.
13:52:46   7          Q.   BY MR. SIEGEL: You don't know the
13:52:47   8   reason why you communicate with Mr. Dolan?
13:52:58   9          A.   No, I don't know the reason.
13:52:59 10           Q.   Okay. Did Mr. Gubarev ever ask you to
13:53:04 11    become involved in public relations, overseeing
13:53:12 12    public relations?
13:53:12 13           A.   No.
13:53:12 14           Q.   Okay.
13:53:15 15           A.   I do not recollect that.
13:53:17 16           Q.   Okay. Was it just something that you
13:53:21 17    undertook to do yourself?
13:53:35 18           A.   I -- can you please rephrase it a little
13:53:37 19    bit?
13:53:37 20           Q.   Well, why is it that you were regularly
13:53:40 21    involved in communicating and meeting with
13:53:46 22    Mr. Dolan?
13:53:50 23           A.   Because I chose to.
13:53:53 24           Q.   Okay. And why did you choose to?
13:53:56 25           A.   I don't know.

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13:53:58   1         Q.    You have no idea?
13:54:00   2         A.    No, I -- I don't know.
13:54:06   3         Q.    Look at Exhibit 43.
13:54:09   4         A.    (Examining.) Yeah.
13:54:10   5         Q.    That's a e-mail from Mr. Dolan to you
13:54:14   6   and Mr. Gubarev and Ms. Galkina, which contains
13:54:17   7   a CV of a fellow named Kevin Kellems, a media
13:54:24   8   trainer.
13:54:24   9               Was that the person who did your media
13:54:27 10    training?
13:54:35 11          A.    I don't remember.
13:54:35 12                MR. SIEGEL: Okay. I'll show you
13:54:43 13    Exhibit 4 -- 44.
13:54:49 14                (Exhibit 44 marked.)
13:55:04 15          Q.    BY MR. SIEGEL: Okay. Exhibit 44 is
13:55:08 16    e-mails back and forth with Mr. Dolan with the
13:55:11 17    subject:
13:55:11 18                "Bloomberg update."
13:55:15 19                Mr. Dolan writes:
13:55:15 20                "The reporter would like to do the
13:55:18 21    interview with Alex from 9 - noon Eastern time."
13:55:22 22                Mr. Gubarev responds:
13:55:22 23                "Ok, better connect to my mobile.
13:55:24 24    I will be in Greece on my yacht."
13:55:25 25                Was this the kind of activity that

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13:55:30   1   you were hoping Mr. Dolan would -- or services
13:55:33   2   that you were hoping Mr. Dolan would provide?
13:55:38   3               MR. GURVITS: Objection.
13:55:38   4               THE WITNESS: Can you please rephrase
13:55:39   5   your question?
13:55:40   6         Q.    BY MR. SIEGEL: Well, Mr. Dolan here
13:55:41   7   indicates that he set up an interview with a
13:55:45   8   reporter; right?
13:55:48   9               MR. GURVITS: Objection.
13:55:50 10                THE WITNESS: (Examining.) No.
13:55:55 11          Q.    BY MR. SIEGEL: This doesn't indicate
13:55:55 12    to you that Mr. Dolan is telling Mr. Gubarev
13:55:58 13    that there is a reporter who would like to do
13:56:01 14    an interview with him?
13:56:02 15          A.    That's correct.
13:56:03 16          Q.    Okay. So what -- what to my last
13:56:07 17    question did you think was wrong?
13:56:09 18          A.    You said that this indicates that
13:56:12 19    Mr. Dolan set up the interview.
13:56:14 20          Q.    Right.
13:56:14 21          A.    There is no indication for that.
13:56:16 22          Q.    Well, Mr. Dolan is communicating that
13:56:19 23    the reporter would like to do the interview;
13:56:22 24    right?
13:56:22 25          A.    That's correct.

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13:56:23   1         Q.    Okay. Do you have any reason to believe
13:56:27   2   that -- so what is it about the word "set up" that
13:56:33   3   you think was incorrect?
13:56:41   4         A.    I don't know whether it was or was not
13:56:46   5   an intentional act by Mr. Dolan to solicit for
13:56:51   6   this interview.
13:56:51   7         Q.    Okay. And to answer that question,
13:56:55   8   Mr. Dolan would know; right? Or Mr. Dolan's
13:57:00   9   e-mails would know?
13:57:01 10          A.    Mr. Dolan --
13:57:01 11          Q.    Okay.
13:57:02 12          A.    -- might know. I don't know for sure.
13:57:04 13                MR. SIEGEL: Okay. Let's go to
13:57:16 14    Exhibit 45.
13:57:19 15                (Exhibit 45 marked.)
13:57:30 16          Q.    BY MR. SIEGEL: Okay. Mr. Dolan
13:57:31 17    indicates that:
13:57:31 18                "We had a very good call with Bloomberg
13:57:36 19    yesterday, 40" minutes. (As read.)
13:57:37 20                Right? This:
13:57:41 21                "Was conducted in Russian and the
13:57:43 22    reporter is going to send Alexey his notes
13:57:45 23    to make sure he got everything correct."
13:57:49 24                Then he says:
13:57:50 25                "I can't remember when Nick said

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13:57:52   1   he was going on vacation."
13:57:53   2               "Do you want to schedule a call
13:57:53   3   for Friday morning?"
13:57:53   4               So, first of all, this indicates,
13:57:56   5   does it not, that on or around the -- the
13:58:01   6   very early part of August, Mr. Gubarev did
13:58:06   7   an interview with a Bloomberg reporter?
13:58:07   8         A.    (Examining.) I don't know that.
13:58:09   9         Q.    You don't know whether he did or
13:58:11 10    he didn't?
13:58:12 11          A.    I don't know.
13:58:12 12          Q.    Okay. You respond to this by saying:
13:58:16 13                "It is both this and next week, but
13:58:17 14    our calls will remain on schedule."
13:58:21 15                What calls were you talking about?
13:58:24 16          A.    We had calls with KGlobal.
13:58:28 17          Q.    About what?
13:58:31 18          A.    About activities they are making.
13:58:36 19          Q.    Okay. And how -- roughly how often
13:58:44 20    were those calls?
13:58:48 21          A.    Bi-weekly.
13:58:49 22          Q.    Bi-weekly.
13:59:00 23                Were you pleased that Mr. Gubarev
13:59:05 24    had apparently been interviewed by Bloomberg --
13:59:07 25    by a Bloomberg reporter?

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13:59:10   1               MR. GURVITS: Objection.
13:59:11   2               THE WITNESS: I didn't even know
13:59:14   3   if he was. At least I cannot recollect that
13:59:18   4   I knew that he was.
13:59:23   5         Q.    BY MR. SIEGEL: Okay. Even though
13:59:24   6   you were on all these e-mails talking about
13:59:26   7   a Bloomberg interview?
13:59:28   8         A.    I still cannot recollect that.
13:59:30   9         Q.    Okay. Are you -- are you familiar
13:59:37 10    with Bloomberg? You know what it is?
13:59:41 11          A.    Yes.
13:59:41 12          Q.    What is it?
13:59:43 13          A.    It is a media.
13:59:50 14                (Court reporter clarification.)
13:59:50 15                THE WITNESS: "Media."
13:59:51 16          Q.    BY MR. SIEGEL: What kind of media
13:59:52 17    was it?
13:59:53 18          A.    Something for financial people.
13:59:55 19                MR. SIEGEL: Let's go to 46.
14:00:00 20                (Exhibit 46 marked.)
14:00:10 21          Q.    BY MR. SIEGEL: 46 refers to --
14:00:10 22    Mr. Dolan says I:
14:00:23 23                "Just heard from Alex Heath from
14:00:25 24    Tech Insider and he is available and ... will
14:00:29 25    send a call-in number in the next 15" minutes.

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14:00:32   1   (As read.)
14:00:32   2               Do you know what Tech Insider is?
14:00:34   3         A.    (Examining.) No.
14:00:36   4         Q.    You have no idea what Tech Insider
14:00:38   5   is?
14:00:39   6         A.    No. I have no idea what Tech --
14:00:41   7         Q.    Okay.
14:00:41   8         A.    -- Insider is.
14:00:49   9         Q.    It's fair to say, isn't it, that
14:00:52 10    at this point in time when these e-mails were
14:00:54 11    being written, it indicates that Mr. -- you
14:00:55 12    understood that Mr. Dolan was communicating
14:00:57 13    with reporters related to the possibility
14:01:00 14    of their interviewing Mr. Gubarev?
14:01:03 15          A.    Yeah. I knew that.
14:01:04 16          Q.    Okay. And is that something that
14:01:05 17    you wanted him to be doing?
14:01:09 18          A.    No.
14:01:10 19          Q.    No? You didn't want him to be doing
14:01:14 20    that?
14:01:15 21          A.    No.
14:01:16 22          Q.    "No" what?
14:01:20 23          A.    I didn't "didn't want." I --
14:01:24 24          Q.    So why was he doing it?
14:01:27 25          A.    Because he thought it was right.

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14:01:28   1         Q.    Okay. So why didn't you tell him
14:01:33   2   to stop?
14:01:34   3         A.    Because I didn't want to -- I --
14:01:43   4   I didn't -- I neither wanted that nor didn't
14:01:49   5   want that.
14:01:50   6         Q.    Okay. So I think you said this in
14:01:57   7   the -- with Cutler before.
14:01:59   8               Would it be fair to say that you
14:02:01   9   deferred to Mr. Dolan's advice about what
14:02:05 10    the most effective public relations strategy
14:02:08 11    would be?
14:02:09 12          A.    That's correct.
14:02:09 13          Q.    Okay. So Mr. Dolan was doing this
14:02:13 14    because he thought it was the most effective
14:02:16 15    strategy and that's what he advised you?
14:02:19 16                MR. GURVITS: Objection.
14:02:20 17                THE WITNESS: I don't know.
14:02:21 18          Q.    BY MR. SIEGEL: Well, okay. I'm --
14:02:22 19    I understand you can't testify to what Mr. Dolan
14:02:25 20    thought. Okay.
14:02:26 21                But the advice that you received --
14:02:27 22    right? -- was that this was one of the activities
14:02:31 23    that should be pursued -- right? -- trying to
14:02:35 24    set up interviews with Mr. Gubarev?
14:02:39 25          A.    I don't remember such advice.

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14:02:40   1         Q.    At all?
14:02:41   2         A.    At all.
14:02:41   3         Q.    Okay. Well, but you said before that
14:02:47   4   you understood that Mr. Dolan was doing that;
14:02:49   5   right?
14:02:49   6         A.    That's correct.
14:02:50   7         Q.    That you understood that he was doing
14:02:52   8   that as part of the services that he was providing
14:02:56   9   your company; right?
14:02:57 10          A.    That's correct.
14:02:58 11                MR. SIEGEL: Okay. Let's go to
14:03:14 12    Exhibit 47. And, actually, we'll do at the
14:03:28 13    same time Exhibit 48.
14:03:30 14                (Exhibit 47 and Exhibit 48 marked.)
14:03:35 15                THE WITNESS: Aah. Aah, and 48. Okay.
14:03:42 16                MR. GURVITS: This is 48?
14:03:43 17                THE WITNESS: This is 48.
14:03:45 18          Q.    BY MR. SIEGEL: So on the bottom of
14:03:49 19    page 1436 -- I'm probably not going to pronounce
14:03:58 20    this right. But Modupeh Jahamaliah who it
14:04:03 21    indicates was one of the people who worked
14:04:05 22    at KGlobal -- do you know how to pronounce
14:04:08 23    that?
14:04:08 24          A.    (Examining.) I don't know --
14:04:10 25          Q.    You don't know?

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14:04:10   1         A.    -- how to pronounce that.
14:04:12   2         Q.    Fair enough.
14:04:12   3               I think she went by the name "Mo" --
14:04:15   4         A.    That's correct.
14:04:15   5         Q.    -- is that right? Okay.
14:04:15   6               It indicates that there are some
14:04:18   7   comments from an interview with Mr. Gubarev
14:04:21   8   that was published in Business Insider; right?
14:04:25   9         A.    That's what the letter says.
14:04:27 10          Q.    And Exhibit 48 is Business Insider --
14:04:31 11    the Business Insider article, which, if you flip
14:04:35 12    through it, you will see includes some comments
14:04:37 13    from Mr. Gubarev.
14:04:41 14                Were you familiar with Business Insider?
14:04:44 15          A.    (Examining.) I knew that such thing
14:04:48 16    exists.
14:04:50 17          Q.    Okay. Do you have any reason to think
14:04:53 18    that it wasn't an influential blog read by over
14:04:56 19    27.4 million users per month, as Mo indicated?
14:05:00 20          A.    No, I didn't have any reason.
14:05:01 21          Q.    Okay. Were you pleased about this
14:05:14 22    news or this information?
14:05:19 23          A.    No.
14:05:20 24          Q.    Were you displeased?
14:05:21 25          A.    No.

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14:05:23   1         Q.    No reaction one way or the other?
14:05:25   2         A.    Yes.
14:05:26   3         Q.    Did you feel like you -- you testified
14:05:28   4   before that one of the reasons you were dissatisfied
14:05:31   5   with the Cutler firm was that you felt they were
14:05:36   6   not getting articles placed in popular media;
14:05:39   7   right?
14:05:39   8         A.    Right.
14:05:41   9         Q.    Did you feel like at least at this
14:05:44 10    point -- right? -- KGlobal was doing a better
14:05:49 11    job of getting material related to the company
14:05:55 12    placed in media that's more popular?
14:05:59 13          A.    I didn't evaluate their job at this
14:06:01 14    point.
14:06:02 15          Q.    Okay. Did there ever come a time when
14:06:05 16    you did?
14:06:08 17          A.    When there was a time to either extend
14:06:13 18    or not extend our contract.
14:06:15 19          Q.    Okay. I'm -- I'm going to ask you
14:06:17 20    about that in a little bit. Okay?
14:06:19 21                Did -- let me ask you this.
14:06:25 22                You -- you had terminated KGlobal;
14:06:29 23    right?
14:06:29 24          A.    Yeah.
14:06:32 25          Q.    I'm sorry. You terminated -- you had

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14:06:33   1   terminated Cutler in -- earlier in 2016.
14:06:36   2         A.    Yes.
14:06:37   3         Q.    You hired KGlobal and you paid them
14:06:41   4   25,000 a month instead of 7,500 a month; right?
14:06:45   5         A.    Right.
14:06:46   6         Q.    That's a fairly --
14:06:47   7         A.    Actually, I don't remember if we were
14:06:49   8   paying 7,500 to --
14:06:51   9         Q.    Okay. But you paid them -- you knew
14:06:54 10    you were paying them more. We've already talked
14:06:56 11    about that.
14:06:57 12          A.    I knew we were paying them more.
14:07:00 13          Q.    Right. So did you -- you're now --
14:07:01 14    you know, you're roughly into a month with the
14:07:04 15    relationship with them.
14:07:05 16                Did you -- you must have had some
14:07:12 17    thinking about, hey, are we actually getting
14:07:15 18    more for our money? Are we not getting more
14:07:16 19    for our money? Did you have any thought process
14:07:19 20    like that at all at the time?
14:07:21 21          A.    I don't recollect having such thought
14:07:23 22    process.
14:07:23 23          Q.    One way or the other?
14:07:25 24          A.    I don't recollect.
14:07:26 25                MR. SIEGEL: Okay. Let's mark this

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14:07:45   1   Exhibit 49. Let's hand him Exhibit 49.
14:07:48   2               (Exhibit 49 marked.)
14:08:06   3         Q.    BY MR. SIEGEL: So Exhibit 49 is
14:08:09   4   an e-mail with some -- what appears to be
14:08:11   5   some comments by Mr. Gubarev about possible
14:08:15   6   op-ed topics. And the op-ed topics that he
14:08:20   7   lists you as a possible person who could speak
14:08:25   8   to are business development and Dallas business.
14:08:28   9               Right? Do you see that?
14:08:31 10          A.    (Examining.) That's -- that's what
14:08:31 11    he mentions.
14:08:35 12          Q.    Right.
14:08:35 13                Why business development for you?
14:08:39 14          A.    I don't know.
14:08:39 15          Q.    And why Dallas business?
14:08:41 16          A.    I don't know.
14:08:42 17          Q.    You have no idea one way or the other?
14:08:45 18          A.    I have no idea.
14:08:53 19          Q.    Okay. Did you agree with that?
14:09:02 20          A.    I don't remember.
14:09:02 21                MR. SIEGEL: Okay. Let's -- Exhibit 50.
14:09:11 22                (Exhibit 50 marked.)
14:09:24 23          Q.    BY MR. SIEGEL: Exhibit 50 are some
14:09:25 24    e-mails back and forth with a couple of e-mails
14:09:29 25    with Mr. Dolan. And towards the bottom of the

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14:09:34   1   e-mail --
14:09:35   2         A.    (Examining.) Uh-huh.
14:09:35   3         Q.    -- he says:
14:09:36   4               "Our media team provided the following
14:09:39   5   pitch to generate interest by the 'Wall Street
14:09:44   6   Journal' journalist."
14:09:45   7         A.    Excuse me. Where? Aah, yes.
14:09:46   8         Q.    You see that?
14:09:46   9         A.    I found it. Yes.
14:09:47 10          Q.    Okay. Are you familiar with the Wall
14:09:50 11    Street Journal?
14:09:51 12          A.    I know that such thing exists.
14:09:54 13          Q.    Have you ever read it?
14:09:56 14          A.    I don't recollect reading it.
14:09:59 15          Q.    Okay. And he's describing or he's
14:10:02 16    quoting to you, I guess, a pitch that he says
14:10:05 17    that he gave. And the pitch includes the words:
14:10:10 18                "We want to introduce a successful
14:10:13 19    young Russian entrepreneur who's [sic] global
14:10:14 20    company is based in the European Union."
14:10:19 21                And then at the -- in the last part
14:10:22 22    of that paragraph that has the italicized writing
14:10:23 23    in it, that's in quotes.
14:10:25 24          A.    Uh-huh.
14:10:25 25          Q.    (Reading.)

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14:10:25   1               "He is also a great resource for stories
14:10:27   2   about the Russian tech, startup, business, and
14:10:30   3   entrepreneur scene."
14:10:37   4               Why is Mr. Gubarev a good resource for
14:10:39   5   stories about those topics?
14:10:45   6         A.    I don't know if he is a great resource
14:10:48   7   for such stories.
14:10:52   8         Q.    Okay. Well, why at this -- why is
14:10:57   9   KGlobal pitching a Wall Street journalist that
14:11:05 10    Mr. Gubarev is a great resource to talk about
14:11:08 11    those topics?
14:11:09 12          A.    I don't know why.
14:11:11 13          Q.    You have no idea?
14:11:13 14          A.    I have no idea why.
14:11:14 15          Q.    I've shown you now a series of
14:11:17 16    communications with Mr. Dolan -- right? --
14:11:19 17    all of which involve actual or possible
14:11:26 18    interviews with reporters and Mr. Gubarev.
14:11:28 19                Right?
14:11:28 20                I've showed you -- we've showed you
14:11:33 21    one about Bloomberg. We showed you one about
14:11:34 22    the Wall Street Journal. I showed you some
14:11:36 23    comments from Business Insider.
14:11:38 24                Right?
14:11:38 25          A.    Right.

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14:11:39   1         Q.    So why Mr. Gubarev? Why is Mr. Gubarev
14:11:43   2   the focus of all of those communications about
14:11:48   3   possible media interviews?
14:11:50   4               MR. GURVITS: Objection.
14:11:51   5         Q.    BY MR. SIEGEL: Or why was he? I'm
14:11:53   6   sorry.
14:11:57   7         A.    Well, can you please rephrase --
14:11:58   8         Q.    Sure.
14:11:58   9         A.    -- the question?
14:11:59 10          Q.    Why was KGlobal trying to facilitate
14:12:10 11    media interviews with Mr. Gubarev?
14:12:14 12          A.    I don't know that.
14:12:15 13          Q.    You have no idea why?
14:12:17 14          A.    I have no idea.
14:12:19 15          Q.    You really do, don't you?
14:12:21 16                MR. GURVITS: Objection.
14:12:21 17                THE WITNESS: No, I really don't.
14:12:22 18          Q.    BY MR. SIEGEL: Yeah, you -- weren't
14:12:23 19    they doing it because that was part of their
14:12:26 20    public relations strategy? Right?
14:12:27 21                They thought that would be an effective
14:12:29 22    marketing tool or they thought that would be an
14:12:32 23    effective way to market --
14:12:34 24          A.    I don't know what they thought.
14:12:35 25          Q.    Really? They never told you? It

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14:12:38   1   never came up?
14:12:40   2         A.    I don't remember if they told me.
14:12:42   3         Q.    You don't remember if they told you
14:12:44   4   or not?
14:12:45   5         A.    Yeah, I don't remember if they told
14:12:46   6   me.
14:12:46   7         Q.    Okay. I take it you never told them
14:12:49   8   stop doing that, stop trying to set up interviews
14:12:52   9   with Mr. Gubarev?
14:12:53 10          A.    No, I never -- I never -- I never did
14:12:55 11    that.
14:12:56 12          Q.    And to your knowledge, did anybody else
14:12:59 13    ever tell them that?
14:13:01 14          A.    I don't know about any such communi --
14:13:03 15    communication of such kind.
14:13:19 16                MR. SIEGEL: Okay. Where is that
14:13:20 17    stapler? Go off the record a second.
14:13:28 18                THE VIDEOGRAPHER: Going off the record,
14:13:31 19    12:13 [sic].
14:14:40 20                (Brief discussion held off the record.)
14:14:49 21                THE VIDEOGRAPHER: Back on the record
14:14:50 22    at 2:14.
14:14:50 23                (Exhibit 51 marked.)
14:14:58 24          Q.    BY MR. SIEGEL: I'm going to show you
14:15:04 25    what's been marked as Exhibit 51. And the first

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14:15:17   1   page, 1456, indicates that Mo says:
14:15:23   2               "Hello All. Please find the media
14:15:25   3   activity report for our phone call this morning."
14:15:27   4               Right?
14:15:27   5         A.    (Examining.) Uh-huh.
14:15:29   6         Q.    And then there is an attachment to
14:15:31   7   that e-mail.
14:15:31   8               Did you read the attachment?
14:15:43   9         A.    Yes.
14:15:44 10          Q.    At the time you read it?
14:15:45 11          A.    Yes.
14:15:45 12          Q.    So paragraph 2 of the attachment says:
14:15:48 13                "Pitching Alex as a thought leader
14:15:51 14    means longevity."
14:15:52 15                Right?
14:15:52 16                "If an editor and reporter is not
14:15:56 17    interested right now, immediately, that does
14:15:58 18    not mean they will not be interested in a week
14:15:58 19    or a month. It is about timing. But introducing
14:16:02 20    Alex is very important and crucial in building
14:16:04 21    rapport with editors, bringing awareness to
14:16:06 22    Servers.com and establishing Alex as a credible
14:16:10 23    and a great resource that can be called upon
14:16:11 24    for his expertise."
14:16:12 25                Does that refresh your recollection

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14:16:14   1   as to why KGlobal was -- tried to facilitate
14:16:20   2   interviews with Mr. Gubarev?
14:16:21   3         A.    It does.
14:16:22   4         Q.    Okay. And, again, you didn't tell
14:16:25   5   them, stop, don't do this?
14:16:28   6         A.    I didn't tell them stop.
14:16:29   7         Q.    Okay. Did you agree with this strategy?
14:16:42   8               MR. GURVITS: Objection.
14:16:43   9         Q.    BY MR. SIEGEL: The -- with the strategy
14:16:45 10    that they outlined in this report, which they
14:16:50 11    characterize as pitching Alex as a thought leader.
14:16:53 12                MR. GURVITS: Objection.
14:17:02 13                THE WITNESS: Can you please be more
14:17:04 14    specific?
14:17:04 15          Q.    BY MR. SIEGEL: Well, did you agree
14:17:14 16    that -- did you personally agree that KGlobal --
14:17:17 17    it was a good idea for KGlobal to be pitching
14:17:21 18    Alex as a thought leader as they describe it
14:17:23 19    here?
14:17:28 20          A.    I had no opinion about it.
14:17:30 21          Q.    One way or the other?
14:17:31 22          A.    One way or the other.
14:17:32 23          Q.    Okay. Did you simply defer to their
14:17:35 24    advice?
14:17:36 25          A.    That's correct.

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14:17:48   1               MR. SIEGEL: Okay. Let's show -- give
14:17:52   2   him Exhibit 52. And why don't we give Exhibit 53
14:18:19   3   at the same time? You can look at them together.
14:18:21   4               (Exhibit 52 and Exhibit 53 marked.)
14:18:48   5         Q.    BY MR. SIEGEL: This refers to an
14:18:50   6   interview that Mo says KGlobal organized with
14:18:57   7   a podcast called "AppMasters," [sic] in which,
14:19:02   8   again, she says:
14:19:03   9               "Our current PR plan is to present you
14:19:05 10    as a thought leader, expert and businessman to
14:19:05 11    the U.S." --
14:19:05 12                (Court reporter clarification.)
14:19:05 13                MR. SIEGEL: I'm sorry.
14:19:05 14          Q.    BY MR. SIEGEL: (Reading.)
14:19:05 15                "Our current PR plan is to present you" --
14:19:10 16                Meaning Alex.
14:19:12 17                -- "as a thought leader, expert and
14:19:14 18    businessman to the U.S. market."
14:19:20 19                Did you listen to that?
14:19:21 20                And Exhibit 53 I'll represent to you
14:19:24 21    is the e-mail in which she includes a link.
14:19:26 22                Did you listen to the interview?
14:19:28 23          A.    (Examining.) No.
14:19:29 24          Q.    You didn't?
14:19:30 25          A.    I didn't.

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14:19:30   1          Q.   Ever?
14:19:31   2          A.   Ever.
14:19:31   3          Q.   Okay. Did you ever discuss that
14:19:34   4   interview with Mr. Gubarev?
14:19:35   5          A.   No.
14:19:39   6          Q.   Okay. What is My Emoji or what
14:19:48   7   was it?
14:19:52   8          A.   It is a company. Actually, it is
14:19:57   9   an app. It is a mobile app.
14:20:02 10           Q.   And what was it designed to do?
14:20:10 11           A.   It was designed to turn photos into
14:20:23 12    stickers.
14:20:23 13           Q.   Sorry?
14:20:23 14                (Court reporter clarification.)
14:20:23 15                THE WITNESS: You make it -- it was
14:20:23 16    designed to turn photos of a person into stickers.
14:20:24 17           Q.   BY MR. SIEGEL: Into -- into emoji-like
14:20:27 18    stickers?
14:20:27 19           A.   Yes.
14:20:27 20           Q.   Okay. So you could do an emoji with
14:20:30 21    your own face, essentially? Or based on your
14:20:31 22    own face? Is that fair?
14:20:33 23           A.   That's what it was designed to do.
14:20:33 24    Yes.
14:20:37 25           Q.   Is that -- is that something that

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14:20:38   1   Servers.com still does?
14:20:42   2         A.    Servers.com never did it.
14:20:44   3         Q.    Servers.com never did it? Okay.
14:20:45   4               Or Prisma Cloud did it? Is that --
14:20:48   5         A.    Prisma -- Prisma Cloud never did it.
14:20:53   6               MR. SIEGEL: Okay. Well, let's look
14:20:55   7   at Exhibit 54.
14:20:58   8               (Exhibit 54 marked.)
14:21:11   9         Q.    BY MR. SIEGEL: So Exhibit 54 is
14:21:13 10    a press release attached to an e-mail from
14:21:17 11    Mo to you and Mr. Gubarev, which talks about
14:21:19 12    Servers.com/Prisma Cloud announces My Emoji.
14:21:23 13    And the headline is:
14:21:23 14                "Servers.com Launches Prisma Cloud
14:21:26 15    and First New Client, My Emoji."
14:21:29 16                Did that happen?
14:21:30 17          A.    (Examining.) What exactly?
14:21:33 18          Q.    Did Servers.com launch Prisma Cloud?
14:21:36 19          A.    That is correct.
14:21:37 20          Q.    And announce My Emoji?
14:21:52 21          A.    I never understood this sentence.
14:21:56 22          Q.    Meaning you didn't understand what
14:21:57 23    that sentence meant?
14:21:59 24          A.    Yes.
14:21:59 25          Q.    Okay. Well, the end of the paragraph

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14:22:03   1   says:
14:22:03   2               "My Emoji is the first client for
14:22:05   3   Prisma Cloud, a new service offering by
14:22:05   4   Servers.com."
14:22:06   5               Do you understand what that means?
14:22:09   6         A.    Yes.
14:22:09   7         Q.    Okay. And what do you understand that
14:22:13   8   to mean? What is -- when it says that they're
14:22:17   9   the first client, what does that mean?
14:22:19 10          A.    That it was the first customer to use
14:22:24 11    a service named Prisma Cloud.
14:22:27 12          Q.    Okay. So My Emoji was a customer,
14:22:31 13    in essence, that negotiated to use Prisma Cloud?
14:22:37 14                Is that fair?
14:22:42 15          A.    My Emoji was a customer.
14:22:43 16          Q.    Okay. Is it still a customer?
14:22:47 17          A.    I don't know.
14:22:47 18          Q.    Okay. And this an -- this is an example,
14:22:56 19    is it not, of a press release that KGlobal was
14:23:02 20    involved in drafting?
14:23:02 21          A.    Yes.
14:23:03 22          Q.    Okay. And you indicated before that
14:23:05 23    you paid them to disseminate that press release --
14:23:09 24          A.    Yeah.
14:23:09 25          Q.    -- or press releases; right?

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14:23:11   1         A.    Yes. We paid them separately for --
14:23:14   2         Q.    Right.
14:23:14   3         A.    -- press release dissemination.
14:23:17   4         Q.    Okay. Do you believe the cost of that
14:23:20   5   was less than their monthly retainer or more than
14:23:21   6   their monthly retainer?
14:23:22   7         A.    Less.
14:23:27   8         Q.    Less.
14:23:27   9               MR. SIEGEL: Okay. I'll show you
14:23:29 10    Exhibit 55. We're moving quickly here.
14:23:33 11                (Exhibit 55 marked.)
14:23:46 12          Q.    BY MR. SIEGEL: Exhibit 55 is an
14:23:48 13    e-mail from Mo to you and Mr. Gubarev, containing
14:23:51 14    what she says is information about Alex Konrad,
14:23:54 15    a Forbes reporter, for an interview with
14:23:58 16    Mr. Gubarev.
14:23:58 17                So earlier you -- you testified that,
14:24:04 18    you know, when -- when Cutler raised Forbes,
14:24:06 19    that you thought that was the kind of publication
14:24:09 20    that would be good for the company.
14:24:19 21                Were you pleased that KGlobal appeared
14:24:23 22    to be facilitating an interview with Forbes?
14:24:28 23                MR. GURVITS: Objection.
14:24:28 24                THE WITNESS: (Examining.) I testified
14:24:29 25    that the publication in Forbes on -- and inclusion

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14:24:34   1   in the Forbes list of European startups to watch
14:24:39   2   was a good -- I believed that that was a good
14:24:47   3   publication.
14:24:47   4         Q.    BY MR. SIEGEL: Okay.
14:24:47   5         A.    That's what I testified, not what you --
14:24:47   6         Q.    And do you --
14:24:47   7               THE COURT REPORTER: Wait, wait. Let
14:24:47   8   him finish.
14:24:47   9               MR. SIEGEL: Sure.
14:24:47 10                THE WITNESS: -- not -- not -- that's
14:24:52 11    what I testified, not what you said.
14:24:57 12          Q.    BY MR. SIEGEL: And do you have any --
14:24:57 13    is your opinion about an interview by a Forbes
14:25:01 14    reporter with Mr. Gubarev any different than
14:25:03 15    your opinion about a startup article?
14:25:22 16          A.    I don't have much of an opinion about
14:25:28 17    this interview.
14:25:28 18          Q.    One way or the other?
14:25:30 19                (Court reporter clarification.)
14:25:30 20                THE WITNESS: I don't have -- I don't
14:25:30 21    have an opinion about this interview one way
14:25:30 22    or the other.
14:25:44 23                MR. SIEGEL: So Exhibit 56.
14:25:46 24                (Exhibit 56 marked.)
14:25:53 25          Q.    BY MR. SIEGEL: Exhibit 56 refers

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14:25:55   1   to particulars for an interview with Patience
14:26:00   2   Haggin of the Wall Street Journal.
14:26:03   3               Do you know if that interview ever
14:26:05   4   took place?
14:26:06   5         A.    (Examining.) I don't know.
14:26:06   6         Q.    You don't know?
14:26:07   7         A.    I don't know.
14:26:10   8               MR. SIEGEL: Okay. Let me show you 57.
14:26:13   9               (Exhibit 57 marked.)
14:26:18 10          Q.    BY MR. SIEGEL: 57 is an e-mail from
14:26:27 11    Mo to Mr. Gubarev, copying you. And the bottom
14:26:32 12    chain on the first page -- the bottom of that
14:26:35 13    chain on the first pages says, among other
14:26:37 14    things, number 1:
14:26:38 15                "Alex Konrad from Forbes would like
14:26:41 16    an update about the launch so that he may publish
14:26:46 17    the article from the interview you had with him."
14:26:48 18                Does that indicate to you that -- or
14:26:53 19    refresh your recollection that -- I'm sorry --
14:26:54 20    that Mr. Gubarev, in fact, talked to a Forbes
14:26:59 21    reporter?
14:26:59 22          A.    (Examining.) That doesn't say [sic]
14:27:06 23    me anything.
14:27:09 24          Q.    What's that?
14:27:09 25          A.    That doesn't say [sic] me anything

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14:27:09   1   along these lines.
14:27:09   2         Q.    I can't hear you.
14:27:11   3         A.    I -- this doesn't help me recollect
14:27:17   4   if Alex --
14:27:17   5         Q.    You just don't remember yourself --
14:27:17   6         A.    Yes.
14:27:17   7         Q.    -- whether that happened?
14:27:17   8         A.    I just don't remember it.
14:27:17   9               MR. SIEGEL: Okay.
14:27:17 10                THE COURT REPORTER: You guys are
14:27:17 11    talking at the same time.
14:27:17 12                MR. SIEGEL: Okay. Okay.
14:27:17 13          Q.    BY MR. SIEGEL: Well, let me ask you
14:27:30 14    this, then.
14:27:30 15                Do you have any reason to believe that
14:27:32 16    what Mo is saying here is inaccurate, in other
14:27:36 17    words, that it wasn't an interview with Alex
14:27:39 18    Konrad from Forbes?
14:27:42 19          A.    I don't have any reason to believe
14:27:43 20    that whatever Mo said was inaccurate.
14:27:57 21                MR. SIEGEL: Okay. We'll do Exhibit 58.
14:27:59 22                (Exhibit 58 marked.)
14:28:09 23          Q.    BY MR. SIEGEL: All right. Just two
14:28:11 24    questions about this.
14:28:11 25                The top of Exhibit 58 is an e-mail

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14:28:17   1   from Mo to Darya.
14:28:18   2               How do you pronounce her name?
14:28:21   3         A.    (Examining.) Darya Tkachenko.
14:28:24   4         Q.    And who is she?
14:28:26   5         A.    She's a former employee for Servers.com.
14:28:30   6         Q.    And what did she do?
14:28:33   7         A.    She was doing some work in marketing.
14:28:38   8         Q.    Okay. At this time -- we're talking
14:28:41   9   about the latter part of 2016 -- how many
14:28:47 10    employees were working on marketing approximately?
14:29:11 11          A.    Four.
14:29:12 12          Q.    Four? Okay.
14:29:14 13          A.    That's what I can recall.
14:29:15 14          Q.    And the -- the --
14:29:17 15          A.    At least four.
14:29:18 16          Q.    The bottom of the -- this e-mail chain
14:29:22 17    on 2336 refers to something called Cloud Expo
14:29:28 18    Asia.
14:29:28 19                What is that?
14:29:32 20          A.    That -- that is an expo.
14:29:36 21          Q.    And about what?
14:29:39 22          A.    I don't know.
14:29:41 23          Q.    You have no -- you have no idea what
14:29:43 24    it's about?
14:29:44 25          A.    I don't know what it's about.

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14:29:45   1         Q.    Have you ever been to it?
14:29:47   2         A.    No.
14:29:47   3         Q.    Okay.
14:29:54   4               MR. SIEGEL: Okay. Let's mark this
14:30:07   5   as 59.
14:30:08   6               (Exhibit 59 marked.)
14:30:30   7         Q.    BY MR. SIEGEL: You testified before
14:30:31   8   that one of the services that KGlobal provided
14:30:33   9   was sending out press releases. This appears
14:30:38 10    to be a report about a press release that they
14:30:41 11    sent out?
14:30:41 12          A.    (Examining.) Yes.
14:30:42 13          Q.    Is that right?
14:30:45 14                Did you think they were doing a good
14:30:48 15    job in the way they distributed press releases?
14:30:50 16    In other words, were you pleased with the
14:30:53 17    results?
14:30:53 18          A.    No.
14:30:54 19          Q.    Not at all?
14:30:55 20          A.    Not at all.
14:30:56 21          Q.    Why?
14:30:58 22          A.    Because I believe that press releases
14:31:03 23    don't work.
14:31:04 24          Q.    Okay. Why do you think they don't
14:31:08 25    work?

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14:31:08   1         A.    Because I have been working as a
14:31:12   2   journalist before.
14:31:12   3         Q.    Okay.
14:31:13   4         A.    And all press releases went straight
14:31:17   5   to my trash bin in my inbox.
14:31:17   6               (Court reporter clarification.)
14:31:17   7               THE WITNESS: To the -- to the trash
14:31:20   8   folder in my inbox.
14:31:22   9         Q.    BY MR. SIEGEL: Were there other people
14:31:23 10    in the company who did not agree with -- who did
14:31:26 11    not share your opinion?
14:31:28 12          A.    Who did not share?
14:31:29 13          Q.    Your opinion about press releases.
14:31:32 14          A.    I don't know.
14:31:32 15          Q.    Okay. Well, then why was the company
14:31:35 16    issuing press releases?
14:31:38 17          A.    Because that's what was advised by
14:31:41 18    KGlobal.
14:31:41 19          Q.    Okay. And is this an example of where --
14:31:43 20    and you had been -- the company had been issuing
14:31:46 21    press releases before it hired KGlobal; right?
14:31:49 22          A.    Yes.
14:31:50 23          Q.    And even before it hired Cutler PR;
14:31:52 24    right?
14:31:52 25          A.    No.

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14:31:57   1         Q.    You really don't think so?
14:32:02   2         A.    I really think no.
14:32:04   3         Q.    Okay. Are you denying that Servers.com,
14:32:10   4   Webzilla, or XBT issued press releases before
14:32:15   5   they hired Cutler?
14:32:16   6         A.    No.
14:32:18   7         Q.    You're not denying that?
14:32:20   8         A.    I'm not denying that.
14:32:21   9         Q.    Okay. Do you believe that that happened?
14:32:23 10          A.    That happened.
14:32:24 11          Q.    Okay. So why had -- why did the company
14:32:29 12    have a practice of issuing press releases if, at
14:32:37 13    least in your opinion, it wasn't worthwhile?
14:32:46 14          A.    Because my --
14:32:48 15          Q.    Wasn't effective, I guess?
14:32:49 16          A.    I didn't share my opinion with my
14:32:51 17    colleagues.
14:32:52 18          Q.    Okay. So that's simply your personal
14:32:54 19    view?
14:32:55 20          A.    That's my personal opinion based on
14:32:57 21    anecdotal evidence.
14:32:59 22          Q.    Okay. And when they reported in --
14:33:02 23    on page 2522 that -- the first page there of
14:33:06 24    the e-mail at the bottom that -- or I'm sorry,
14:33:08 25    in the middle. Mo reports that:

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14:33:11   1               "Yahoo Finance, Business Review,
14:33:13   2   Market Watch, Chicago Business Journal, and
14:33:16   3   245 other outlets picked up the release."
14:33:21   4               Did that influence your view at all
14:33:24   5   as to whether press releases are effective?
14:33:27   6         A.    No.
14:33:28   7         Q.    Why not?
14:33:29   8         A.    Because I knew that there is such
14:33:33   9   practice of having a special place on a website
14:33:38 10    for media where they put all the press releases.
14:33:43 11          Q.    Okay. Did there come a time when
14:34:01 12    a decision was made not to continue retaining
14:34:05 13    KGlobal?
14:34:06 14          A.    Yes.
14:34:07 15          Q.    Who made that decision?
14:34:13 16          A.    I don't remember.
14:34:15 17          Q.    Did you discuss that -- were you
14:34:17 18    involved in any discussions about that decision?
14:34:19 19          A.    Yes, I was.
14:34:20 20          Q.    With who?
14:34:21 21          A.    With Aleksej.
14:34:23 22          Q.    Okay. And anyone else?
14:34:26 23          A.    I don't remember if anyone else was
14:34:28 24    involved.
14:34:29 25          Q.    Okay. And what views did you -- did

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14:34:33   1   you express to Aleksej what your opinion was as
14:34:37   2   to whether the company should continue to retain
14:34:40   3   KGlobal?
14:34:41   4         A.    Yes.
14:34:42   5         Q.    And what was it?
14:34:43   6         A.    That we should terminate them.
14:34:49   7         Q.    And what, if any, views did Mr. Gubarev
14:34:53   8   express?
14:35:00   9         A.    That he trusts my judgment.
14:35:05 10          Q.    Okay. Why did you think that the
14:35:12 11    relationship should be terminated?
14:35:16 12          A.    I thought it was inefficient.
14:35:20 13          Q.    Inefficient?
14:35:20 14          A.    Yes.
14:35:20 15          Q.    What --
14:35:20 16          A.    I -- I thought that it was not worth
14:35:25 17    the money we were paying and not useful for
14:35:30 18    Servers.com, not useful for Servers.com enough.
14:35:38 19          Q.    Okay. And what -- what about it did
14:35:39 20    you think was not sufficiently useful to warrant
14:35:44 21    the expense?
14:35:50 22          A.    I was not convinced otherwise by KGlobal.
14:35:54 23          Q.    Did it -- would it be fair to say that
14:35:57 24    whatever publicity KGlobal may have succeeded in
14:36:04 25    getting --

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14:36:04   1          A.   Uh-huh.
14:36:04   2          Q.   -- you did not think made enough of
14:36:09   3   a difference -- strike that. I'm going to go --
14:36:13   4   I'm going to try to phrase that again. Okay?
14:36:15   5          A.   Uh-huh.
14:36:15   6          Q.   Would it be fair to say that you
14:36:17   7   thought that whatever publicity KGlobal
14:36:21   8   succeeded in getting --
14:36:23   9          A.   Uh-huh.
14:36:23 10           Q.   -- did not, in your opinion, translate
14:36:24 11    into actual sales or sufficiently translate into
14:36:29 12    actual sales to be worth the money you were paying?
14:36:59 13           A.   Now I need this question to be repeated.
14:37:00 14           Q.   All right. I'm going to put it another
14:37:02 15    way.
14:37:02 16                Did you -- did you think -- in your
14:37:03 17    view, was KGlobal not succeeding in getting as
14:37:08 18    much publicity as you would have liked them to
14:37:11 19    have --
14:37:12 20           A.   Yes.
14:37:12 21           Q.   -- facilitated? Okay.
14:37:14 22           A.   Yes.
14:37:14 23           Q.   And was that a principal reason why
14:37:18 24    you decided to terminate the relationship?
14:37:21 25           A.   Yes.

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14:37:22   1               MR. SIEGEL: Okay. Let's mark this
14:37:23   2   as Exhibit 60.
14:37:25   3               (Exhibit 60 marked.)
14:37:48   4         Q.    BY MR. SIEGEL: This is an e-mail from
14:37:49   5   Mr. Gubarev to Mr. Dolan, copying you, you know,
14:37:56   6   indicating that the relationship is going to be
14:37:58   7   terminated.
14:38:03   8               This, I take it, expresses Mr. Gubarev's
14:38:06   9   view as to why he thought the relationship should
14:38:11 10    be terminated?
14:38:12 11          A.    (Examining.) I don't know if it expresses
14:38:14 12    his views or not.
14:38:15 13          Q.    Okay. But at least it is -- it is the --
14:38:18 14    it is the view that is communicated by him to
14:38:20 15    KGlobal; right?
14:38:21 16          A.    It is what he wrote.
14:38:23 17          Q.    Do you have any reason to believe that
14:38:24 18    he didn't believe what he said here to Mr. Dolan?
14:38:30 19          A.    No.
14:38:34 20          Q.    Okay. Mr. Gubarev at the beginning --
14:38:34 21    I'm sorry -- in the first sentence references --
14:38:35 22    says:
14:38:39 23                "Major interviews" don't "happen and"
14:38:41 24    wasn't published "yet. Even I am personally
14:38:44 25    trying to convince them (Forbes/" Wall Street

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14:38:46   1   Journal). (As read.)
14:38:46   2               Do you know what he was referring to
14:38:49   3   when he said "I'm personally trying to convince
14:38:52   4   them"?
14:38:52   5         A.    No. I don't know.
14:38:52   6         Q.    No idea at all?
14:38:56   7         A.    No idea.
14:38:57   8               MR. SIEGEL: Okay. Why don't we take
14:39:00   9   a break and -- because I'll mark a bunch more
14:39:04 10    exhibits.
14:39:20 11                THE VIDEOGRAPHER: Going off the record
14:39:22 12    at 2:38.
14:39:24 13                (Recess from 2:38 p.m. to 2:53 p.m.)
14:53:53 14                THE VIDEOGRAPHER: This is the
14:53:54 15    beginning of DVD No. 3. Back on the record
14:53:56 16    at 2:53.
14:53:59 17          Q.    BY MR. SIEGEL: Mr. Dvas, are you
14:54:00 18    familiar with the word "methbot"?
14:54:03 19          A.    Yes, I am.
14:54:05 20          Q.    What is it? What is -- or what was
14:54:08 21    it? What was methbot?
14:54:11 22          A.    It is a name suggested by a White Ops
14:54:23 23    company.
14:54:23 24                (Court reporter clarification.)
14:54:23 25                THE WITNESS: It is the name suggested

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14:54:23   1   by White Ops company for the alleged fraud.
14:54:30   2         Q.    BY MR. SIEGEL: Okay. And what did you
14:54:32   3   understand the -- the fraud to be that White Ops
14:54:37   4   was alleging had occurred?
14:54:43   5         A.    I don't -- I don't know.
14:54:46   6         Q.    You don't know what it was? You --
14:54:47   7   I'm sorry.
14:54:48   8               You don't know the nature of the
14:54:51   9   fraud that White Ops alleged happened?
14:54:56 10          A.    I don't remember.
14:54:57 11          Q.    You don't remember?
14:54:58 12          A.    That I don't remember.
14:55:02 13          Q.    Do you believe that you ever knew?
14:55:06 14          A.    I read the report.
14:55:09 15          Q.    You read the report. Okay.
14:55:12 16                So -- and what was the connection
14:55:18 17    between the -- we'll call it the methbot report
14:55:21 18    that White Ops did and XBT or any subsidiary
14:55:26 19    of XBT?
14:55:29 20          A.    This report included IP addresses
14:55:33 21    announced from the networks of Webzilla and
14:55:38 22    Servers.com.
14:55:38 23          Q.    Okay. And what did the report say --
14:55:43 24    indicate occurred on those networks?
14:55:54 25          A.    Can you please rephrase that?

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14:55:55   1         Q.    Well, what did the report say happened
14:55:57   2   on those networks?
14:55:59   3         A.    On these networks?
14:56:00   4         Q.    Yes. The ones owned by Webzilla and
14:56:05   5   Servers.
14:56:11   6         A.    They were not owned by Webzilla and
14:56:13   7   Servers.
14:56:14   8         Q.    Leased? Is that fair?
14:56:15   9         A.    They were not leased by Webzilla and
14:56:16 10    Servers.
14:56:17 11          Q.    What firm would -- what phrase would
14:56:18 12    you use?
14:56:21 13          A.    Hmm?
14:56:22 14          Q.    What phrase -- what word would you use?
14:56:26 15          A.    They were announced from Webzilla and
14:56:27 16    Servers.com networks.
14:56:30 17          Q.    Did you say --
14:56:30 18          A.    They were announced.
14:56:32 19          Q.    "Announced."
14:56:33 20                Do you mean the IP addresses were
14:56:35 21    announced?
14:56:36 22          A.    The networks.
14:56:37 23          Q.    The networks were announced?
14:56:38 24          A.    That's correct.
14:56:39 25          Q.    Is there a way that you could describe

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14:56:41   1   that in layperson's terms? What does it mean
14:56:45   2   for a network to be announced?
14:56:54   3         A.    It means that other networks sent
14:57:04   4   traffic destined to the IPs from this network
14:57:10   5   to the network that is announcing them.
14:57:15   6         Q.    Okay. Did you come to believe
14:57:20   7   that the -- the person or a person involved
14:57:25   8   in perpetuating this alleged fraud was a
14:57:29   9   customer of Webzilla and Servers?
14:57:37 10          A.    It's a bit complicated question.
14:57:39 11    Wait for a moment. Just repeat it once more.
14:57:41 12    Okay? There is no need to rephrase. Just
14:57:44 13    repeat it.
14:57:50 14          Q.    Did you come to believe that a person
14:57:53 15    who was alleged to have been involved in this
14:57:58 16    fraud was a customer of Webzilla and Servers?
14:58:04 17          A.    I don't remember if a person was --
14:58:06 18    if any person was alleged to be involved in
14:58:12 19    this fraud.
14:58:12 20          Q.    Okay. Well, would it be fair to say
14:58:14 21    that -- did you come to believe that there was
14:58:17 22    a customer of Webzilla that was leasing servers --
14:58:21 23    right? -- and the activity connected with that
14:58:29 24    customer was alleged to have been involved in
14:58:31 25    the fraud?

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14:58:40   1         A.    Yes.
14:58:40   2         Q.    Okay. And how did you find that out?
14:58:47   3         A.    I was shown the report.
14:58:49   4         Q.    The White Ops report?
14:58:51   5         A.    The White Ops report.
14:58:53   6         Q.    Okay. So -- but the White Ops report
14:58:56   7   didn't contain the name of any customer; right?
14:58:57   8   It didn't even contain the name of Webzilla or
14:59:00   9   Servers; right?
14:59:01 10          A.    No.
14:59:02 11          Q.    Okay. So how did you determine who
14:59:08 12    the customer was that appeared to be connected
14:59:13 13    to the information in the report?
14:59:21 14          A.    We checked to which servers were the
14:59:27 15    IPs from these networks attached. I may be
14:59:36 16    incorrect with this term.
14:59:36 17                (Court reporter clarification.)
14:59:36 18                THE WITNESS: I may be incorrect in
14:59:36 19    this term -- in the term "attached." But we
14:59:36 20    checked to which servers these IPs were attached.
14:59:41 21    And then we knew which customer was leasing these
14:59:49 22    servers from Webzilla.
14:59:52 23          Q.    BY MR. SIEGEL: And which customer was
14:59:53 24    it? What was the name of the customer?
14:59:55 25          A.    His name was Alexander Zhukov.

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15:00:00   1         Q.    And who checked that? Who checked that
15:00:03   2   information?
15:00:10   3         A.    I did.
15:00:10   4         Q.    You did?
15:00:11   5         A.    I did.
15:00:11   6         Q.    Yourself?
15:00:11   7         A.    I did it myself.
15:00:14   8         Q.    And was anyone else involved in checking
15:00:17   9   it?
15:00:20 10          A.    I don't know.
15:00:22 11          Q.    And did you communicate your findings
15:00:24 12    to anybody else in the company?
15:00:28 13          A.    Yes.
15:00:29 14          Q.    To who?
15:00:30 15          A.    To Aleksej Gubarev.
15:00:31 16          Q.    And how did you communicate those
15:00:33 17    findings?
15:00:36 18          A.    Orally.
15:00:36 19          Q.    Orally?
15:00:36 20                And to anyone else in the company?
15:00:42 21          A.    I don't remember that.
15:00:46 22          Q.    What did you check? In other words,
15:00:47 23    what record system did you check to make that
15:00:51 24    determination?
15:00:53 25          A.    I checked the system that contains

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15:00:58   1   the information about allocation of IP addresses
15:01:04   2   to servers.
15:01:06   3          Q.   And did you know Mr. Zhukov?
15:01:13   4          A.   I met him.
15:01:14   5          Q.   When did you meet him?
15:01:17   6          A.   Fall 2016. Or maybe it was not fall.
15:01:20   7   2016 for sure.
15:01:23   8          Q.   And where?
15:01:24   9          A.   Maybe it was summer. I -- I really --
15:01:26 10    I'm not very good at remembering dates.
15:01:30 11           Q.   And where did you meet him?
15:01:31 12           A.   In Cyprus.
15:01:33 13           Q.   And what was the purpose of your meeting
15:01:38 14    him?
15:01:47 15           A.   I don't know the purpose.
15:01:48 16           Q.   Well, did he come to Cyprus to meet with
15:01:51 17    you or others at XBT?
15:01:55 18           A.   The meeting was -- I learned about this
15:02:03 19    meeting from Aleksej Gubarev.
15:02:04 20           Q.   Okay.
15:02:04 21           A.   He was -- he was the one who told me
15:02:08 22    about the meeting.
15:02:08 23           Q.   And what did you talk about with
15:02:11 24    Mr. Zhukov when you met him?
15:02:19 25           A.   We talked about lots of stuff.

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15:02:31   1         Q.    Tell me some of the things that you
15:02:33   2   talked about.
15:02:42   3         A.    We talked about the music.
15:02:43   4               (Court reporter clarification.)
15:02:43   5               THE WITNESS: We talked about the
15:02:48   6   music, about climate in Cyprus.
15:02:57   7               (Court reporter clarification.)
15:02:57   8               THE WITNESS: About climate in Cyprus.
15:02:57   9   And we talked about the nature of his business.
15:03:03 10          Q.    BY MR. SIEGEL: And tell me what he
15:03:05 11    said about the nature of his business.
15:03:08 12          A.    He said that he's doing some video
15:03:14 13    ad analytics.
15:03:21 14          Q.    Okay. Did you ever -- did you do
15:03:26 15    anything to verify whether that was true?
15:03:29 16          A.    Did -- when you say "you" --
15:03:41 17          Q.    Well, you testified that he told
15:03:42 18    you --
15:03:42 19          A.    Yes.
15:03:42 20          Q.    -- that his business involved video --
15:03:44 21          A.    Yes.
15:03:44 22          Q.    -- analytics; right?
15:03:46 23          A.    Yes.
15:03:47 24          Q.    And my question was: Did you do
15:03:48 25    anything to verify whether that, in fact,

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15:03:50   1   was the business that he was conducting?
15:04:12   2         A.    Yes.
15:04:12   3         Q.    What did you do?
15:04:15   4         A.    I asked him why, for this purpose,
15:04:19   5   he requires the type of servers he was using.
15:04:31   6         Q.    And what type is that?
15:04:34   7         A.    That was the -- to a large extent,
15:04:39   8   that was the single CPU, high CPU frequency
15:04:49   9   server.
15:04:51 10          Q.    In non-technical layperson's terms,
15:04:54 11    was that one of the more powerful types of
15:04:59 12    servers that you offered?
15:05:01 13          A.    No.
15:05:02 14          Q.    No?
15:05:02 15                So what was it about that server that --
15:05:04 16    that caused you to ask him why he needed it for
15:05:09 17    a video analytics business?
15:05:13 18          A.    I just wanted to understand.
15:05:14 19                When you talk about CPUs in the server,
15:05:19 20    there are two characteristics, amount of cores
15:05:28 21    and CPU frequency. This type of server has low
15:05:37 22    amount -- low amount of cores. It doesn't have
15:05:40 23    much cores but high frequency, which means --
15:05:45 24    which is like -- yeah, which -- which means
15:05:52 25    what it means -- which means that it has less

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15:05:55   1   cores, each of them more powerful compared
15:06:00   2   to an individual core --
15:06:03   3          Q.   Okay.
15:06:04   4          A.   -- in a different server.
15:06:04   5          Q.   And what answer did Mr. Zhukov give
15:06:06   6   you?
15:06:09   7          A.   He told that -- that the analytics
15:06:14   8   requires heavy computation load and that, for --
15:06:20   9   for this purpose, such servers were better.
15:06:24 10           Q.   What did you understand that he was --
15:06:26 11    his business was analyzing?
15:06:30 12           A.   Video ad performance, video ads.
15:06:34 13           Q.   The performance of video ads?
15:06:36 14           A.   Yes.
15:06:37 15           Q.   What does that mean? Performance
15:06:39 16    in what sense?
15:06:40 17           A.   I didn't fully realize that.
15:06:42 18           Q.   Okay. Other than talking to Mr. Zhukov,
15:06:44 19    did you do anything else to verify whether he,
15:06:49 20    in fact, was conducting the business that he
15:06:50 21    described?
15:06:51 22           A.   I did not do anything else.
15:06:52 23           Q.   Are you aware of anyone else connected
15:06:53 24    with XBT that did anything?
15:06:57 25           A.   I don't know.

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15:06:57   1         Q.    Meaning you are not aware --
15:06:59   2         A.    I'm not --
15:07:00   3         Q.    -- sitting here today?
15:07:05   4         A.    I'm not aware. I'm not aware.
15:07:05   5         Q.    Okay. Was it your understanding that
15:07:08   6   Mr. Gubarev invited Mr. Zhukov to come to Cyprus?
15:07:11   7         A.    No, I don't know.
15:07:14   8         Q.    Do you know if XBT or any of its
15:07:21   9   subsidiaries paid for Mr. Zhukov to come to
15:07:24 10    Cyprus?
15:07:24 11          A.    I don't know that.
15:07:26 12          Q.    You don't know one way or the other?
15:07:29 13          A.    I don't know one way or the other.
15:07:30 14          Q.    Do you have any understanding as
15:07:32 15    to whether the company paid for him to come?
15:07:36 16          A.    I don't have any understanding.
15:07:47 17          Q.    Did you have an understanding of
15:07:49 18    whether Mr. Zhukov was coming -- the main
15:07:52 19    reason for Mr. Zhukov coming to Cyprus was
15:07:54 20    to meet with Mr. Gubarev and whoever else he
15:07:58 21    invited to come?
15:07:59 22          A.    I don't know what was his main reason.
15:08:01 23          Q.    Okay. The -- the number of servers
15:08:09 24    that Mr. Zhukov was leasing was ultimately a
15:08:18 25    thousand or more; right?

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15:08:19   1         A.    Right.
15:08:28   2         Q.    Was there any customer at the time
15:08:30   3   who was leasing more servers than he was?
15:08:34   4         A.    I don't know.
15:08:36   5         Q.    Well, can you think of any customer
15:08:40   6   at the time who you believed to be leasing more
15:08:43   7   servers than he was?
15:08:46   8         A.    I cannot.
15:08:48   9         Q.    Was there any customer at the time
15:08:50 10    who was -- at least, let's say, November/December
15:08:54 11    2016 -- was paying more money to any subsidiary
15:09:02 12    of XBT than Mr. Zhukov?
15:09:05 13          A.    Yes.
15:09:06 14          Q.    Who?
15:09:07 15          A.    I don't know.
15:09:08 16          Q.    You don't know?
15:09:09 17          A.    I don't know.
15:09:11 18          Q.    Well, then why do you say "yes"?
15:09:13 19          A.    Because Aleksej Gubarev told me that
15:09:18 20    there was such customer.
15:09:19 21          Q.    And what did he tell you?
15:09:22 22          A.    That Mr. Zhukov is not the largest
15:09:27 23    customer.
15:09:27 24          Q.    Okay. Who did he tell you was the
15:09:31 25    largest customer?

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15:09:32   1         A.    I didn't ask.
15:09:33   2         Q.    Okay. I mean, you're the CEO of
15:09:37   3   Servers.com; right?
15:09:38   4         A.    Yes.
15:09:38   5         Q.    If there was somebody who was renting
15:09:41   6   a thousand servers or more, aren't you likely
15:09:43   7   to know who that customer is?
15:09:47   8         A.    From Servers.com, yes, I would know
15:09:49   9   that.
15:09:49 10          Q.    Okay. Were -- was it likely that you
15:09:50 11    would know from any other part of the company?
15:09:53 12          A.    It's pretty unlikely that I would know.
15:09:56 13          Q.    Okay. I'm curious.
15:10:01 14                In what -- how did -- how did -- in --
15:10:03 15    how did it come to be that Mr. Gubarev told you
15:10:07 16    that there was a larger customer? What was the
15:10:09 17    context of that conversation?
15:10:19 18          A.    I asked him specifically.
15:10:20 19          Q.    If he was the largest customer?
15:10:22 20          A.    Yes.
15:10:22 21          Q.    And simply the answer was "no"?
15:10:25 22          A.    Yes.
15:10:26 23          Q.    Do you -- did you ask, well, is it
15:10:29 24    one more that's larger? Or two more?
15:10:33 25          A.    I didn't ask that.

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15:10:34   1         Q.    Okay. Did there come a time in
15:10:41   2   connection -- or after you read the White Ops
15:10:45   3   report that you reached out to Mr. Dolan?
15:10:49   4         A.    Yes.
15:10:49   5         Q.    And why did you do that?
15:10:54   6         A.    Because we wanted to minimize the bad
15:11:09   7   publicity we could get from having this customer.
15:11:19   8         Q.    Okay. And you had just, you know,
15:11:27   9   within a week or so of that -- right? -- made
15:11:29 10    a decision to terminate Mr. Dolan?
15:11:31 11                Right?
15:11:31 12          A.    That's correct.
15:11:33 13          Q.    So why did you hire him back a week
15:11:36 14    later for this purpose?
15:11:38 15          A.    Because he was one -- it was -- KGlobal,
15:11:40 16    one of two PR agencies I knew. And I wanted to
15:11:53 17    act fast, so not to get to know any other new
15:12:02 18    agency who go through like this on-boarding
15:12:07 19    process.
15:12:08 20          Q.    Okay. Why did you want to act fast?
15:12:11 21          A.    Because bad publicity could possibly
15:12:16 22    come at any moment.
15:12:18 23          Q.    Okay. And how did you think Mr. Dolan
15:12:26 24    might be able to influence whether there would
15:12:30 25    be bad publicity or --

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15:12:34   1         A.    I didn't know how.
15:12:35   2         Q.    You didn't know how?
15:12:35   3               Is it fair to say that you would defer
15:12:38   4   to him as to the best way to use their influence
15:12:42   5   to limit publicity?
15:12:44   6         A.    That's correct.
15:12:44   7               MR. SIEGEL: Okay. Let's show you
15:12:46   8   what's been marked as Exhibit 61.
15:12:50   9               (Exhibit 61 marked.)
15:13:03 10          Q.    BY MR. SIEGEL: Go to the second and
15:13:06 11    third pages of the exhibit that's marked 1527
15:13:10 12    and 1528. Fifteen -- at the bottom of 1527
15:13:15 13    starts an e-mail from you to Mr. Dolan saying:
15:13:18 14                "Hello, Chuck. We might need some
15:13:18 15    of your services."
15:13:20 16                You refer to a number of news articles
15:13:24 17    that are about the White Ops report -- right? --
15:13:26 18    about the information that was released in the
15:13:29 19    White Ops report?
15:13:32 20          A.    (Examining.) What -- what's the
15:13:33 21    question?
15:13:34 22          Q.    Well, it looks like you -- you linked
15:13:37 23    to a number of news articles --
15:13:39 24          A.    Yes.
15:13:40 25          Q.    -- right? -- that had reported

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15:13:42   1   information that was discussed in the White
15:13:43   2   Ops report?
15:13:45   3         A.    Yes.
15:13:48   4         Q.    It says:
15:13:48   5               "It turned out ... this network was
15:13:49   6   using our servers. We were completely unaware
15:13:52   7   of the nature of their business ... performed
15:13:54   8   our actions in a very transparent and legal
15:13:58   9   manner." (As read.)
15:13:58 10                Which actions did you perform in
15:14:00 11    a very transparent and legal manner?
15:14:04 12          A.    We perform every our action in a
15:14:09 13    very transparent and legal manner.
15:14:10 14          Q.    Okay. Then you say:
15:14:16 15                "We need your help to establish control
15:14:19 16    on the media field in this aspect and" not our
15:14:20 17    let -- "not ... let our name be stained." (As
15:14:24 18    read.)
15:14:24 19                Right?
15:14:28 20          A.    Yes. That's what --
15:14:28 21          Q.    Okay. Correct?
15:14:28 22          A.    -- the mail says. Yes.
15:14:28 23          Q.    Okay. And if you turn to the front
15:14:36 24    of the e-mail --
15:14:38 25          A.    Uh-huh.

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15:14:38   1         Q.    -- 1526, it indicates that you agreed
15:14:45   2   that he would charge 20,000 for what he called
15:14:49   3   these crisis communication services; right?
15:14:52   4         A.    Yes.
15:14:52   5               MR. SIEGEL: Okay. Let's just mark
15:15:04   6   this Exhibit 62. Show it to him.
15:15:11   7               (Exhibit 62 marked.)
15:15:25   8         Q.    BY MR. SIEGEL: And I'll represent
15:15:26   9   to you -- it doesn't contain all the attachments
15:15:29 10    with IP addresses, et cetera.
15:15:31 11                But Exhibit 62 looks like the White
15:15:34 12    Ops report?
15:15:34 13          A.    (Examining.) Uh-huh.
15:15:35 14          Q.    Were you familiar with White Ops?
15:15:38 15          A.    No.
15:15:38 16          Q.    You never heard of them before?
15:15:40 17          A.    No.
15:15:41 18          Q.    Okay. So let's -- you can put that
15:15:46 19    aside.
15:15:50 20          A.    Okay.
15:15:52 21                MR. SIEGEL: Let's go to Exhibit 63.
15:15:54 22                (Exhibit 63 marked.)
15:16:32 23          Q.    BY MR. SIEGEL: Exhibit 63 at the
15:16:33 24    top is an e-mail from Mr. Gubarev to Mr. Dolan,
15:16:37 25    copying you. Mr. Gubarev said:

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15:16:40   1               "We had zero abuses about this client
15:16:44   2   from anybody from day one" until "yesterday."
15:16:47   3   (As read.)
15:16:49   4               To your knowledge, is that true?
15:16:50   5         A.    (Examining.) Yes.
15:16:54   6         Q.    And where did that information come
15:16:55   7   from?
15:16:56   8         A.    From Konstantin Bezruchenko.
15:17:00   9         Q.    Okay. And who asked Konstantin
15:17:02 10    Bezruchenko -- or how did Konstantin Bezruchenko
15:17:05 11    come to learn that information?
15:17:13 12          A.    He checked it.
15:17:14 13          Q.    And did you ask him to check?
15:17:17 14          A.    I don't remember.
15:17:20 15          Q.    And how was that information communicated
15:17:23 16    to you and Mr. Gubarev?
15:17:26 17          A.    I don't remember.
15:17:30 18          Q.    Did you exchange any e-mails internally
15:17:33 19    about this subject?
15:17:36 20          A.    I don't remember any e-mails.
15:17:37 21          Q.    Okay. Mr. Gubarev also says -- never
15:17:51 22    mind. We:
15:17:54 23                "Never know exactly what he is doing."
15:17:59 24                Is that an accurate statement as to
15:18:03 25    you, that you never knew exactly what he was

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15:18:06   1   doing?
15:18:08   2          A.   That is an accurate statement.
15:18:09   3          Q.   Okay. And why is that? Why didn't
15:18:17   4   you know what he was doing?
15:18:26   5          A.   We don't have a way to know exactly
15:18:31   6   with 100 percent certainty what a customer is
15:18:38   7   doing.
15:18:39   8          Q.   So did you -- when it says we never
15:18:39   9   knew exactly what he was doing, did you have
15:18:43 10    some idea of what he was doing?
15:18:45 11           A.   Yes.
15:18:46 12           Q.   And what was that?
15:18:48 13           A.   Video ad analytics.
15:18:51 14           Q.   Okay. Because that's what he told
15:18:53 15    you?
15:18:54 16           A.   Yes.
15:19:10 17                MR. SIEGEL: Okay. Let's show
15:19:13 18    Mr. Dvas Exhibit 64.
15:19:16 19                (Exhibit 64 marked.)
15:19:37 20           Q.   BY MR. SIEGEL: Okay. Exhibit 64 is
15:19:40 21    also an e-mail from Mr. Gubarev to Mr. Dolan,
15:19:43 22    copying you. If you look at Question 3 on the
15:19:48 23    first page, Mr. Gubarev says:
15:19:51 24                "We know him personally many years.
15:19:54 25    He come to Cyprus several times."

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15:19:56   1               Were you aware that he had come to
15:19:58   2   Cyprus several times?
15:20:00   3         A.    (Examining.) No. I was aware that
15:20:01   4   he came to Cyprus one time.
15:20:03   5         Q.    One time? Okay.
15:20:04   6         A.    At least.
15:20:04   7         Q.    You're just personally not aware of
15:20:08   8   other times he may have come?
15:20:10   9         A.    I was not aware.
15:20:11 10          Q.    Okay.
15:20:11 11                "We would not be able to sell such
15:20:19 12    amounts of servers without knowing him personally."
15:20:21 13                Why is that?
15:20:27 14          A.    I don't know even if this hypothesizing
15:20:29 15    is true or not.
15:20:34 16          Q.    Okay. Other people have testified that
15:20:38 17    in toto, if you counted all of the servers leased
15:20:44 18    by all of the -- owned or leased by all of the
15:20:46 19    XBT subsidiaries at the time, it would be around
15:20:49 20    20- to 25,000.
15:20:50 21                Is that -- do you believe that's accurate?
15:20:53 22                MR. GURVITS: Objection.
15:20:56 23                THE WITNESS: I don't know.
15:20:56 24          Q.    BY MR. SIEGEL: Okay. You've already
15:21:04 25    testified that it's probably over a thousand

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15:21:07   1   servers. Turn over to the second page. So
15:21:18   2   at the top of the second page, he asked: How
15:21:23   3   much did the customer pay you?
15:21:24   4               Mr. Gubarev says:
15:21:26   5               "Over" a million dollars, "but we
15:21:26   6   have" a "lease on all servers. And, actually,
15:21:28   7   right now in terms of financial we will start"
15:21:32   8   losing "over $200,000 a month." (As read.)
15:21:34   9               Right?
15:21:34 10          A.    Uh-huh.
15:21:36 11          Q.    What was the 200,000? Where did that
15:21:40 12    figure come from?
15:21:42 13          A.    I don't know. I think it was Aleksej
15:21:47 14    who -- who wrote this.
15:21:49 15          Q.    Well, do you believe that that's accurate,
15:21:52 16    that it's an -- did you ever look into how much
15:21:55 17    money the company stood to lose as a result of
15:21:57 18    this?
15:21:58 19          A.    No.
15:22:00 20          Q.    Do you -- are you aware of anybody
15:22:02 21    who did?
15:22:05 22          A.    No.
15:22:06 23          Q.    Okay. No. 7 says -- the question is:
15:22:16 24                "Can this be prevented ... from happening
15:22:19 25    again?" (As read.)

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15:22:19   1               And the answer is:
15:22:19   2               "Yes. We will make new policy not to
15:22:22   3   announce external or customer IP blocks in our
15:22:24   4   network without deep KYC business of the client."
15:22:28   5               What -- what does "KYC" stand for?
15:22:32   6         A.    "Know your client."
15:22:33   7         Q.    Okay. And it says:
15:22:34   8               We'll "make" a "new policy not to
15:22:36   9   announce external or customer IP blocks in
15:22:38 10    our network." (As read.)
15:22:38 11                Did that policy, in fact, come into
15:22:42 12    place after that?
15:22:43 13          A.    Yes.
15:22:43 14          Q.    What does that mean, "not to announce
15:22:46 15    external or customer IP blocks"?
15:22:53 16          A.    Not to let -- not to let a customer
15:22:56 17    who procured IP addresses elsewhere bring them
15:23:01 18    to our networks.
15:23:03 19          Q.    Okay. So since December 2016 when
15:23:10 20    this happened, is that something that -- is
15:23:12 21    that a policy that has been enforced?
15:23:15 22          A.    That's correct.
15:23:16 23          Q.    And is that true for all Webzilla --
15:23:18 24    I'm sorry -- all subsidiaries of XBT?
15:23:22 25          A.    I don't know that.

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15:23:22   1         Q.    You don't know that?
15:23:23   2               So you don't know -- it's true for
15:23:28   3   Servers.com?
15:23:29   4         A.    That's true for Servers.com.
15:23:30   5         Q.    Is it true for Webzilla?
15:23:32   6         A.    It is true for Webzilla.
15:23:35   7         Q.    Is it true for Fozzy.com?
15:23:47   8         A.    Fozzy.com does not announce external
15:23:54   9   or customer IP blocks at all.
15:23:59 10          Q.    So is the answer to my question "yes"?
15:24:02 11          A.    What --
15:24:02 12          Q.    You mean --
15:24:03 13          A.    Sorry. Can you rephrase your full
15:24:05 14    question?
15:24:05 15          Q.    Is it -- are you -- are you saying
15:24:06 16    that Fozzy.com never did that in the first place?
15:24:09 17          A.    Fozzy.com does not do this announcing
15:24:12 18    at all.
15:24:15 19          Q.    Does Webzilla do it at all?
15:24:17 20          A.    I don't know.
15:24:19 21          Q.    I thought you just said that there
15:24:21 22    was a policy not to do it.
15:24:25 23          A.    I said that there was a policy not
15:24:28 24    to announce external customer IP blocks without
15:24:34 25    deep "know your client."

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15:24:37   1         Q.    Okay.
15:24:38   2         A.    That's correct.
15:24:38   3         Q.    And what deep KY -- KYC -- what activity
15:24:46   4   is undertaken now to conduct deep KYC business
15:24:52   5   of the client?
15:25:07   6         A.    I don't know all the activities.
15:25:09   7         Q.    Do you know any of them?
15:25:10   8         A.    Yes, I do.
15:25:12   9         Q.    What?
15:25:14 10          A.    We didn't do that without a meeting
15:25:18 11    or a call with the customer when he's explaining
15:25:23 12    why he requires to have these IPs.
15:25:30 13          Q.    Do you do anything else?
15:25:32 14          A.    Yes.
15:25:32 15          Q.    What?
15:25:33 16          A.    We ask for a signed letter -- letter
15:25:39 17    of authorization from the owner of these IPs.
15:25:44 18          Q.    Okay. Anything else?
15:25:49 19          A.    Yes.
15:25:49 20          Q.    What?
15:25:50 21          A.    I don't remember.
15:25:51 22          Q.    Okay. Didn't Mr. Zhukov provide
15:26:02 23    letters of authorization?
15:26:03 24                (Court reporter clarification.)
15:26:03 25          Q.    BY MR. SIEGEL: Didn't Mr. Zhukov --

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15:26:03   1   it's Z-h-u-k-o-v -- provide letters of
15:26:03   2   authorization?
15:26:03   3         A.    He did.
15:26:05   4         Q.    And you also met with him?
15:26:07   5         A.    We did.
15:26:07   6         Q.    Okay. So can you think of anything
15:26:11   7   that you do, as part of this new policy, that
15:26:13   8   is different from what you did with Mr. Zhukov?
15:26:17   9         A.    Yes.
15:26:17 10          Q.    What?
15:26:22 11          A.    We didn't ask him why he needs these
15:26:28 12    IPs every time he brought these IPs.
15:26:33 13          Q.    Okay. So you're saying that every
15:26:38 14    time he what?
15:26:40 15          A.    Every time he brought these IPs, we
15:26:42 16    didn't ask that every time.
15:26:45 17          Q.    Okay. So now you ask every time?
15:26:48 18          A.    Now we ask every time.
15:26:49 19          Q.    Okay. And with Mr. Zhukov, you simply
15:26:52 20    asked sometimes?
15:26:54 21          A.    We asked -- yes.
15:26:56 22          Q.    Anything else?
15:26:59 23          A.    Yes. We have added something else
15:27:02 24    in the policy.
15:27:03 25          Q.    And what is that?

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15:27:03   1         A.    I don't remember.
15:27:07   2         Q.    And you're telling us -- you're the
15:27:08   3   CEO of XBT, and you don't remember?
15:27:11   4         A.    Yes.
15:27:13   5         Q.    And I just want to make sure again.
15:27:16   6               Is there -- are there any subsidiaries
15:27:18   7   of XBT that still announce external or customer
15:27:24   8   IP blocks without conducting the KYC actions
15:27:31   9   that you just described?
15:27:37 10          A.    No.
15:27:38 11          Q.    No, there are not?
15:27:40 12          A.    No.
15:27:40 13          Q.    Okay. Question No. 8:
15:27:45 14                "Has anyone contacted anyone in the
15:27:49 15    C-Suite?"
15:27:53 16                What is the C-Suite?
15:27:54 17          A.    I don't know what exactly --
15:27:56 18          Q.    Uh-huh.
15:27:56 19          A.    -- Mr. Dolan meant here.
15:28:04 20          Q.    So you don't understand what the word
15:28:06 21    "C-Suite" is referring to here?
15:28:09 22          A.    I know the meaning of this word.
15:28:11 23          Q.    What is it? I'm asking you what is it?
15:28:13 24    What does it -- what does it mean to you?
15:28:16 25          A.    It is a set of executives at the company,

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15:28:26   1   chief officers of the company.
15:28:31   2         Q.    The executives of the company; right?
15:28:33   3         A.    Yes.
15:28:33   4         Q.    Okay. Turn to page 1538.
15:28:39   5         A.    Yes.
15:28:46   6         Q.    The -- the response from Mr. Gubarev
15:28:49   7   continues. And towards the end of the last
15:28:54   8   sentence, he says:
15:28:54   9               As "a result, we come to a situation
15:28:56 10    where we will lose few" million "dollars till
15:28:59 11    time we ... found clients on" these "servers
15:29:00 12    and" a "data center space." (As read.)
15:29:03 13                Do you know how much money the company
15:29:09 14    lost as a result of terminating Mr. Zhukov?
15:29:14 15          A.    No, I don't know.
15:29:16 16          Q.    Do you have any idea how much money?
15:29:18 17          A.    I don't know.
15:29:21 18          Q.    Do you have any idea how much Servers.com
15:29:26 19    lost?
15:29:27 20          A.    I don't know.
15:29:27 21          Q.    Do you know whether it was a few million
15:29:29 22    dollars?
15:29:29 23          A.    I don't know.
15:29:31 24          Q.    It could be?
15:29:32 25          A.    I don't know.

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15:29:33   1               MR. SIEGEL: Okay. Let's show you
15:29:48   2   Exhibit 65.
15:29:50   3               (Exhibit 65 marked.)
15:30:12   4         Q.    BY MR. SIEGEL: So Exhibit 65 is an
15:30:14   5   e-mail from you to Mr. Dolan. And in the second
15:30:18   6   paragraph, you say:
15:30:19   7               "We've decided to let out the information
15:30:21   8   about Webzilla being a hosting provider for this
15:30:24   9   customer. We believe we should not disseminate
15:30:28 10    this information widely. It should go" only
15:30:31 11    "from you ... to:" (As read.)
15:30:31 12                "White Ops themselves."
15:30:31 13                And:
15:30:31 14                "Brian Krebs."
15:30:33 15                Right?
15:30:33 16          A.    (Examining.) That's what the e-mail
15:30:37 17    says.
15:30:37 18          Q.    And why did you decide that that is
15:30:40 19    what Mr. Dolan should do?
15:30:51 20          A.    I don't remember my line of reasoning.
15:30:53 21          Q.    Really? You don't?
15:30:55 22          A.    Maybe when I read to the end of this
15:30:55 23    I may be able. Now I don't.
15:30:56 24                (Court reporter clarification.)
15:30:56 25                THE WITNESS: Once I read to the end

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15:31:01   1   of this e-mail, maybe I'll --
15:31:04   2         Q.    BY MR. SIEGEL: All right. Go ahead.
15:31:06   3   Take a moment to read the end -- to the end of
15:31:08   4   the e-mail.
15:31:09   5         A.    (Examining.) All right. So now can
15:31:12   6   you please repeat your question?
15:31:15   7         Q.    Okay. Why did you make the decision
15:31:18   8   that this information should be disseminated
15:31:20   9   to White Ops and to Brian Krebs?
15:31:29 10          A.    Because we wanted the researchers
15:31:41 11    who discovered this information to know that
15:31:46 12    we are open for communications. And the same
15:31:54 13    goes for Mr. Krebs, the journalist.
15:31:58 14          Q.    And who is Brian Krebs?
15:32:01 15          A.    He's a journalist.
15:32:03 16          Q.    And were you familiar with Brian Krebs
15:32:06 17    before you wrote this e-mail?
15:32:08 18          A.    I read something he wrote.
15:32:09 19          Q.    What does Mr. Krebs write about? What
15:32:13 20    subject does he write about?
15:32:15 21          A.    Cyber-security.
15:32:16 22          Q.    Okay. And so why, in particular,
15:32:19 23    Mr. Krebs did you decide to disseminate this
15:32:24 24    information to?
15:32:36 25          A.    Because I vaguely remembered that

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15:32:46   1   he wrote something about Russian cyber-criminals.
15:32:51   2   And Aleksej, Konstantin, and me being Russian
15:32:59   3   speakers, we wanted to avoid faulty associations
15:33:08   4   with the subjects of previous Mr. Krebs'
15:33:12   5   publications.
15:33:20   6          Q.   And -- and why did you decide to
15:33:26   7   affirmatively release this information to
15:33:28   8   him?
15:33:29   9               Do you understand my question?
15:33:31 10           A.   We decided that after a call with
15:33:33 11    Mr. Dolan.
15:33:37 12           Q.   After what?
15:33:38 13           A.   After a call with Mr. Dolan.
15:33:40 14           Q.   Okay. And -- and so why? Why did you
15:33:43 15    decide to affirmatively release this information
15:33:45 16    to a journalist and to White Ops?
15:33:51 17           A.   Because Mr. Dolan told that it will be
15:33:59 18    easier for us to make ourselves heard if we act
15:34:09 19    proactively.
15:34:11 20           Q.   Okay. Going to the second paragraph --
15:34:16 21    I'm sorry -- the third paragraph of that e-mail,
15:34:18 22    the one after "Brian Krebs," in the middle of
15:34:27 23    the paragraph, it says:
15:34:27 24                "Webzilla had some ambivalent episodes
15:34:31 25    in its history and has had some customers with

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15:34:35   1   doubtful reputation."
15:34:37   2               What ambivalent episodes in Webzilla's
15:34:39   3   history did it have?
15:34:40   4         A.    In my mind, I was referring to a single
15:34:43   5   episode.
15:34:44   6         Q.    What was that?
15:34:45   7         A.    Hotfile.
15:34:46   8         Q.    Okay. And tell me about that.
15:34:51   9         A.    I read somewhere in the Internet that
15:35:00 10    Webzilla used to provide some services to Hotfile,
15:35:05 11    which was later sued in the U.S. and lost the
15:35:14 12    court case.
15:35:17 13          Q.    Hotfile lost the court case?
15:35:19 14          A.    Yes.
15:35:19 15          Q.    Right.
15:35:19 16                And why did you think that was an
15:35:22 17    ambivalent episode?
15:35:25 18          A.    Because we were mentioned in the media
15:35:28 19    together with Hotfile. Because Webzilla was
15:35:37 20    mentioned in the media together with Hotfile.
15:35:40 21          Q.    Okay. Did you think Webzilla had acted
15:35:46 22    in any way that it was -- that was ambivalent
15:35:52 23    in connection with Hotfile?
15:35:54 24          A.    No.
15:35:54 25          Q.    And you also said it had some customers

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15:35:58   1   with doubtful reputation.
15:36:00   2               Which customers were you referring to?
15:36:03   3         A.    Hotfile.
15:36:03   4         Q.    So any other customers?
15:36:05   5         A.    No.
15:36:07   6         Q.    So although you used the plural in the
15:36:09   7   sentence, your testimony, as far as I understand
15:36:13   8   it, is that you were actually only referring to
15:36:16   9   one customer --
15:36:18 10          A.    That's correct.
15:36:18 11          Q.    -- and one episode?
15:36:19 12          A.    That's correct.
15:36:20 13          Q.    Have you ever heard of Megaupload?
15:36:24 14          A.    I've heard about Megaupload.
15:36:28 15          Q.    What do you know about Megaupload?
15:36:31 16          A.    That it was a file-sharing service.
15:36:33 17          Q.    And was Megaupload or anything connected
15:36:36 18    to Megaupload a customer of Webzilla at any point?
15:36:42 19          A.    Not to my knowledge.
15:36:43 20          Q.    Not to your knowledge.
15:36:45 21                Would you -- I'll just represent to you
15:36:48 22    Megaupload was shut down in January 2012.
15:36:50 23                Right?
15:36:50 24                And that was before you came to the
15:36:53 25    company; right?

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15:36:54   1         A.    (Witness nods head in the affirmative.)
15:36:54   2         Q.    Have you heard anything one way or
15:36:57   3   the other about Megaupload since you came to
15:37:00   4   the company?
15:37:01   5         A.    No.
15:37:01   6         Q.    Okay. You go on to say:
15:37:02   7               "However, many of them are now performing
15:37:05   8   legal and legitimate" businesses. (As read.)
15:37:07   9               Who -- many of whom are now performing?
15:37:11 10          A.    I was referring to the person named
15:37:15 11    in the lawsuit for Hotfile, Anton Titov, who
15:37:22 12    is now performing -- who -- who is now running
15:37:27 13    a different company.
15:37:29 14          Q.    And what company was Mr. Titov running?
15:37:33 15          A.    He's running pCloud.
15:37:36 16          Q.    PCloud?
15:37:36 17          A.    PCloud. It's letter "p" and then "Cloud."
15:37:39 18          Q.    So was Mr. Titov, at the time that you
15:37:43 19    wrote this e-mail, a customer?
15:37:45 20          A.    No.
15:37:49 21          Q.    Okay. So when you said he's performing
15:37:52 22    legal and legitimate business, is that a business
15:37:54 23    that had any connection to Webzilla or Servers?
15:37:57 24          A.    Yes.
15:37:58 25          Q.    How so?

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15:37:59   1         A.    PCloud was a customer.
15:38:01   2         Q.    PCloud was a customer. Okay.
15:38:02   3               Why did you continue to allow Mr. Titov
15:38:09   4   to be a customer given his prior experience with
15:38:13   5   Hotfile?
15:38:14   6               MR. GURVITS: Object.
15:38:20   7               MR. SIEGEL: I'll rephrase.
15:38:24   8         Q.    BY MR. SIEGEL: Why did you permit
15:38:25   9   pCloud to be a customer, given Mr. Titov's
15:38:29 10    prior experience with Hotfile?
15:38:40 11          A.    Because pCloud is -- has nothing to
15:38:46 12    do with any prior history of its CTO, Mr. Titov.
15:38:56 13          Q.    And why -- and why do you -- what --
15:38:57 14    what -- what causes you to say that?
15:39:04 15          A.    It's a new company. It's a new product.
15:39:06 16    It's nothing -- it doesn't have any connection.
15:39:14 17          Q.    And the fact that Mr. Titov was previously
15:39:17 18    involved in allegedly infringing activities doesn't
15:39:22 19    make any difference to you?
15:40:07 20          A.    In fact, I don't know.
15:40:08 21          Q.    You don't know whether it makes any
15:40:10 22    difference to you?
15:40:12 23          A.    Now? Now -- now -- you're asking about
15:40:16 24    right now? Doesn't make any difference to me
15:40:22 25    right now.

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15:40:23   1         Q.    Why?
15:40:26   2         A.    What is your --
15:40:26   3         Q.    Well --
15:40:26   4         A.    Like to be more -- what's your exact
15:40:27   5   question?
15:40:27   6         Q.    Is pCloud a customer of Webzilla or
15:40:30   7   Servers today?
15:40:32   8         A.    Yes.
15:40:32   9         Q.    Which company --
15:40:32 10          A.    It is a customer of Servers.com.
15:40:40 11          Q.    -- is it a customer of?
15:40:40 12                (Court reporter clarification.)
15:40:40 13          Q.    BY MR. SIEGEL: Of Servers.com?
15:40:40 14          A.    Yes. It is a customer of Servers.com.
15:40:40 15          Q.    Okay. And why -- that's okay. I'm
15:40:40 16    going to ask it now.
15:40:40 17                Why does it make no difference to
15:40:49 18    you that Mr. pCloud -- Mr. Titov was previously
15:40:55 19    involved in the allegedly infringing activity
15:40:58 20    of Hotfile?
15:40:59 21                MR. GURVITS: Objection.
15:41:06 22                THE WITNESS: I never said that it
15:41:07 23    doesn't make any difference.
15:41:08 24          Q.    BY MR. SIEGEL: Okay. So why do you
15:41:10 25    allow -- permit him to be a -- pCloud to be a

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15:41:14   1   customer?
15:41:21   2         A.    It fully conforms to acceptable use
15:41:26   3   policy for Servers.com. There is -- it's in
15:41:32   4   full compliance with our acceptable use policy.
15:41:40   5         Q.    How do you know?
15:41:41   6         A.    Because, if he would not fully conform,
15:41:47   7   he would be terminated as a customer.
15:41:50   8         Q.    Well, what is your acceptable use policy?
15:41:52   9   What is it explicitly?
15:41:54 10          A.    It is a document.
15:41:55 11          Q.    It's a large document; right?
15:41:56 12          A.    Yes.
15:41:57 13          Q.    How do you -- you don't -- do you verify
15:42:02 14    whether your customers are actually complying with
15:42:04 15    all the limits of your acceptable use policy?
15:42:13 16          A.    We perform passive and active checks
15:42:21 17    for that.
15:42:21 18                (Court reporter clarification.)
15:42:21 19                THE WITNESS: We perform passive and
15:42:21 20    active checks for that.
15:42:22 21          Q.    BY MR. SIEGEL: And did you do that
15:42:23 22    in 2016?
15:42:26 23          A.    I don't remember. And, actually,
15:42:29 24    I don't think I knew in 2016.
15:42:29 25          Q.    What's that?

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15:42:31   1         A.    I -- I didn't think I knew it.
15:42:33   2         Q.    So do you have any idea whether those
15:42:36   3   passive or active checks that you perform today
15:42:38   4   are any different than were performed in 2016?
15:42:40   5         A.    They are different.
15:42:42   6         Q.    How are they different?
15:42:44   7         A.    We added some more checks.
15:42:46   8         Q.    And what were those?
15:42:48   9         A.    We added a check for anonymous proxies.
15:42:56 10          Q.    For what?
15:42:56 11          A.    For anonymous proxy servers.
15:42:59 12          Q.    Okay. Anything else?
15:43:06 13          A.    Yes.
15:43:07 14          Q.    What?
15:43:09 15          A.    We added a check for some vulnerabilities
15:43:23 16    that can make our customers' servers be infected
15:43:31 17    with something that will make them participate
15:43:35 18    unknowingly and unwillingly in a DDOS attack.
15:43:44 19                (Court reporter clarification.)
15:43:44 20                THE WITNESS: "DDOS attack."
15:43:45 21          Q.    BY MR. SIEGEL: DDOS, I think D-D-O-S.
15:43:48 22          A.    Yes.
15:43:52 23          Q.    Have you -- other than Mr. Zhukov,
15:43:54 24    have you ever terminated a client for violating
15:43:58 25    your policy?

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15:43:58   1         A.    Yes.
15:43:59   2         Q.    Who?
15:44:05   3         A.    The -- there were some -- some --
15:44:07   4   sometimes. I can name some, not all.
15:44:10   5         Q.    Okay. Just name some.
15:44:13   6         A.    London Trust Media.
15:44:15   7         Q.    What did they do?
15:44:17   8         A.    They provide VPN.
15:44:21   9         Q.    What did they -- what policy did they
15:44:23 10    violate?
15:44:25 11          A.    DMC. They didn't handle DMC requirements
15:44:33 12    the way we want them handled.
15:44:37 13          Q.    Okay. DMC involves copyright take-down
15:44:39 14    notices; right?
15:44:40 15          A.    Right.
15:44:42 16          Q.    What other customer?
15:44:47 17          A.    SurfEasy.
15:44:48 18          Q.    Okay. What policy did SurfEasy violate?
15:44:53 19          A.    I don't even know.
15:44:53 20          Q.    You don't know?
15:44:53 21          A.    I don't know.
15:44:54 22          Q.    Any others?
15:44:55 23          A.    Yes.
15:44:56 24          Q.    And what's that?
15:45:17 25          A.    I don't remember their names. But

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15:45:20   1   there were more.
15:45:21   2         Q.    Okay. Now, at the time you were --
15:45:30   3   before the White Ops report came out, you were
15:45:33   4   sure that Mr. Zhukov's business was legitimate;
15:45:37   5   right?
15:45:37   6         A.    Right.
15:45:39   7         Q.    So what makes you any more sure that
15:45:43   8   Mr. Titov's business is legitimate today?
15:45:47   9         A.    We are sure that his business is
15:45:50 10    legitimate today.
15:45:57 11          Q.    Towards the bottom of this e-mail on
15:46:00 12    page 1532 you say, a couple lines from the bottom,
15:46:08 13    a couple sentences from the bottom:
15:46:09 14                "So once customer needed one more
15:46:11 15    batch of servers, Webzilla recommended him to
15:46:13 16    order them from Servers.com since Servers.com
15:46:16 17    had more capacity."
15:46:17 18                Who at Webzilla recommended that?
15:46:48 19          A.    I don't know for sure.
15:46:49 20          Q.    How did you find out all those facts?
15:46:54 21          A.    This fact was told to me by Konstantin
15:46:57 22    Bezruchenko.
15:47:01 23          Q.    Okay. Turn the page over.
15:47:02 24          A.    This part -- I -- I was speaking about --
15:47:02 25    your question was different. Sorry.

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15:47:02   1               (Court reporter clarification.)
15:47:02   2               THE WITNESS: I answered a different
15:47:08   3   question.
15:47:08   4          Q.   BY MR. SIEGEL: Okay.
15:47:08   5          A.   You're asking about all three facts;
15:47:10   6   yes?
15:47:10   7          Q.   Yes.
15:47:10   8          A.   The first fact, I just knew it.
15:47:16   9          Q.   You -- okay.
15:47:16 10           A.   I just knew that we -- that the
15:47:19 11    holding decided to invest heavily in Servers.com
15:47:19 12    infrastructure.
15:47:19 13                (Court reporter clarification.)
15:47:19 14                THE WITNESS: The first fact is that
15:47:26 15    I just knew it myself that holding management
15:47:31 16    decided to invest heavily in Servers.com
15:47:31 17    infrastructure. Second fact was told to me
15:47:38 18    by Konstantin Bezruchenko. The third fact
15:47:40 19    was told to me by Konstantin Bezruchenko.
15:47:43 20           Q.   BY MR. SIEGEL: Okay. Turn the page
15:47:45 21    over to 1533. The last sentence you write is:
15:47:49 22                "Please don't be proactive with
15:47:51 23    Servers.com mentioning. We want the damage
15:47:54 24    to be limited to Webzilla."
15:47:56 25                Why?

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15:47:59   1         A.    Because Servers.com was a new brand
15:48:03   2   at that time.
15:48:03   3         Q.    Okay. So if I understand what you
15:48:08   4   were directing Mr. Dolan to do was to only
15:48:11   5   discuss Webzilla's connection to the methbot
15:48:18   6   fraud?
15:48:19   7         A.    No.
15:48:23   8         Q.    Well, strike that.
15:48:23   9               It was not to proactively -- right? --
15:48:29 10    the -- the -- the instruction to Mr. Dolan
15:48:31 11    was to only proactively discuss -- right? --
15:48:35 12    Webzilla's connection to the methbot fraud?
15:48:40 13          A.    Yes.
15:48:40 14          Q.    Okay. So he was not to mention
15:48:44 15    Servers.com unless he was asked?
15:48:45 16                Is that a -- fair?
15:48:46 17          A.    Yes.
15:48:46 18          Q.    Okay.
15:48:46 19                And that was -- and that was because
15:48:51 20    you hoped to influence any publicity about this
15:48:56 21    to focus only on Webzilla?
15:49:00 22          A.    It was because we hoped not to get any
15:49:02 23    publicity for Servers.com.
15:49:03 24          Q.    Okay. And just so I understand again,
15:49:09 25    why was it -- in your mind, if there was going

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15:49:12   1   to be damage, why it was better for the damage
15:49:15   2   to be limited to Webzilla?
15:49:20   3         A.    I was a manager for Servers.com at
15:49:27   4   that moment.
15:49:28   5               (Court reporter clarification.)
15:49:28   6               THE WITNESS: I was a manager for
15:49:28   7   Servers.com only at that moment. I cared more
15:49:32   8   about Servers.com because it was my project
15:49:37   9   I was responsible for.
15:49:38 10          Q.    BY MR. SIEGEL: Okay. And did you
15:49:39 11    understand that Mr. -- Mr. Gubarev to agree
15:49:43 12    with that directive?
15:49:46 13          A.    I never asked him.
15:49:48 14                MR. SIEGEL: Okay. I'll show you
15:49:58 15    Exhibit 66.
15:50:00 16                (Exhibit 66 marked.)
15:50:15 17          Q.    BY MR. SIEGEL: Okay. And 66, at the
15:50:17 18    top, is an e-mail from you to Mr. Dolan in which
15:50:22 19    the last line of your e-mail says:
15:50:24 20                "Remember once more, our idea is to
15:50:26 21    sacrifice Webzilla in favor of Servers.com here
15:50:29 22    as long as we're not nailed down to talk about
15:50:33 23    Servers.com specifically."
15:50:33 24                Right? And that reflects what you
15:50:35 25    just testified about; right?

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15:50:38   1         A.    (Examining.) That reflects what is
15:50:40   2   written here.
15:50:41   3         Q.    Okay.
15:50:44   4         A.    Nothing --
15:50:44   5         Q.    But is it --
15:50:44   6         A.    -- nothing -- not more, not --
15:50:44   7         Q.    It's -- it's the same -- is it fair
15:50:44   8   to say that it is the same directive not -- to
15:50:51   9   only talk about Webzilla proactively and not
15:50:54 10    Servers.com?
15:50:57 11          A.    It is not a directive at all.
15:50:59 12          Q.    Okay. Well, does -- it reflects the --
15:51:01 13    the idea that, if there was going to be damage,
15:51:04 14    that you hoped that the damage would be limited
15:51:06 15    to Webzilla?
15:51:07 16                MR. GURVITS: Object -- objection.
15:51:09 17          Q.    BY MR. SIEGEL: Is that fair?
15:51:11 18          A.    Can you please repeat once more?
15:51:12 19          Q.    Well, that, in other words, our idea
15:51:12 20    to sacrifice -- sacrifice in what way?
15:51:15 21                MR. GURVITS: Objection.
15:51:20 22                THE WITNESS: To be pro -- proactive
15:51:22 23    on mentioning Webzilla.
15:51:23 24          Q.    BY MR. SIEGEL: Okay. And it says:
15:51:25 25                "Our idea."

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15:51:25   1               Who does the -- who does the "our"
15:51:28   2   refer to?
15:51:29   3          A.   It was me.
15:51:30   4          Q.   The royal "we"?
15:51:32   5          A.   Yes. It was the royal. Yes.
15:51:35   6          Q.   Not Mr. Gubarev?
15:51:36   7          A.   I never asked him.
15:51:38   8          Q.   Okay. You never discussed with
15:51:46   9   Mr. Gubarev -- wasn't Mr. Gubarev on a call
15:51:48 10    with Mr. Dolan to discuss what to do?
15:51:54 11           A.   I don't recollect. But not -- probably
15:51:58 12    not.
15:51:58 13           Q.   Probably not?
15:51:59 14           A.   I don't recollect his voice in this
15:52:02 15    call whatever -- whatsoever.
15:52:04 16                MR. SIEGEL: Okay. Okay. I'll show
15:52:12 17    you Exhibit 67.
15:52:14 18                (Exhibit 67 marked.)
15:52:17 19                MR. GURVITS: At some point, can we
15:52:19 20    take a quick break whenever you're --
15:52:21 21                MR. SIEGEL: All right.
15:52:21 22                MR. GURVITS: Thanks.
15:52:30 23           Q.   BY MR. SIEGEL: So 67, at the top again
15:52:33 24    is an e-mail from you to Mr. Dolan, copying a number
15:52:38 25    of other people. And the -- the second sentence

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15:52:43   1   in the e-mail says:
15:52:43   2               "These IPs were not ours. They were
15:52:45   3   brought by customer from IP sellers/brokers
15:52:48   4   with letters of authorization in place."
15:52:50   5               Right?
15:52:50   6               So in -- in Mr. Zhukov's case, he did
15:52:54   7   deliver letters of authorization to you; right?
15:52:56   8         A.    (Examining.) He did.
15:52:59   9               MR. SIEGEL: Okay. Okay. Exhibit 68.
15:53:24 10                (Exhibit 68 marked.)
15:53:24 11                THE WITNESS: Can it be the last
15:53:32 12    exhibit before the break?
15:53:34 13                MR. SIEGEL: Sure.
15:53:43 14          Q.    BY MR. SIEGEL: This is an e-mail
15:53:44 15    exchange with you and Mr. Dolan. If you look
15:53:47 16    sort of towards the bottom of the page of 1547,
15:53:50 17    the last line, it says:
15:53:52 18                "Answer."
15:53:52 19                And Mr. Dolan appears to be proposing
15:53:55 20    an answer that says:
15:53:55 21                "Our servers do not spoof IP addresses.
15:53:59 22    The spoofed IP addresses using Servers.com
15:54:02 23    hardware were completely unknown to us."
15:54:04 24                And you say:
15:54:04 25                "The response might be misleading

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15:54:06   1   a bit. Please avoid the word 'spoof.' It
15:54:08   2   has a very different meaning in this context."
15:54:12   3               What -- what -- what is the different
15:54:13   4   meaning that "spoofed" has?
15:54:16   5         A.    (Examining.) I don't know.
15:54:17   6         Q.    You don't know?
15:54:18   7         A.    I don't know.
15:54:18   8         Q.    Well, when you said "avoid the word
15:54:19   9   'spoof,' it has a very different meaning in
15:54:21 10    this context," what did you mean?
15:54:28 11          A.    I meant it -- it was -- it is a --
15:54:30 12    it means something different.
15:54:32 13          Q.    And what does -- what did it mean?
15:54:34 14          A.    I don't know.
15:54:37 15          Q.    How did you know that it meant something
15:54:39 16    different?
15:54:40 17          A.    Konstantin Bezruchenko told me.
15:54:43 18          Q.    Okay. But he didn't tell you what it
15:54:45 19    meant?
15:54:46 20          A.    I didn't ask.
15:54:47 21          Q.    How did Konstantin Bezruchenko -- in
15:54:50 22    what context did Mr. Bezruchenko tell you that?
15:54:56 23          A.    I asked him --
15:55:00 24          Q.    Okay.
15:55:01 25          A.    -- about this word specifically.

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15:55:03   1         Q.    Okay. And that's what he told you?
15:55:05   2         A.    Yes.
15:55:06   3         Q.    Did you e-mail with him about it?
15:55:11   4         A.    No.
15:55:13   5         Q.    You think you spoke to him about it?
15:55:16   6         A.    I spoke with him --
15:55:18   7         Q.    Okay.
15:55:19   8         A.    -- either personally or on the phone.
15:55:22   9   I don't remember.
15:55:23 10          Q.    So if I understand what you're saying,
15:55:23 11    you're relying on what Mr. Bezruchenko said.
15:55:25 12    You didn't completely understand it yourself?
15:55:27 13          A.    Yes.
15:55:28 14                MR. SIEGEL: Okay. Okay. Let's take
15:55:33 15    a break.
15:55:33 16                THE WITNESS: Let's take a break.
15:55:34 17                THE VIDEOGRAPHER: Going off the record,
15:55:35 18    3:55.
15:55:37 19                (Recess from 3:55 p.m. to 4:06 p.m.)
16:06:54 20                THE VIDEOGRAPHER: Back on the record
16:06:55 21    at 4:06.
16:07:02 22                MR. SIEGEL: I'm going to hand Mr. Dvas
16:07:05 23    Exhibit 69.
16:07:06 24                (Exhibit 69 marked.)
16:07:19 25          Q.    BY MR. SIEGEL: So Exhibit 69 is an

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16:07:21   1   e-mail from Mr. Dolan to you where he says:
16:07:22   2               "I spoke with Krebs today and he was
16:07:24   3   fine. The main question he had was when the
16:07:29   4   contract started. I provided that information
16:07:31   5   to him after a follow-up call to Nick."
16:07:40   6               Did you have such a call with him?
16:07:41   7         A.    (Examining.) With whom?
16:07:44   8         Q.    With Mr. Dolan. Mr. Dolan indicates
16:07:45   9   here that there was a follow-up call to you to
16:07:50 10    ask some information.
16:07:52 11          A.    I don't remember the call.
16:07:52 12          Q.    Okay. Do you have any reason to believe
16:07:54 13    you did not?
16:07:55 14          A.    No, there is no such reason.
16:07:57 15          Q.    Okay. Were you pleased with Mr. Dolan's
16:08:01 16    response to your instructions?
16:08:05 17          A.    I don't remember.
16:08:05 18          Q.    Okay. Did you believe that the company
16:08:17 19    had effectively mitigated potential publicity
16:08:22 20    damage?
16:08:22 21          A.    No.
16:08:23 22          Q.    You didn't think so?
16:08:24 23          A.    No.
16:08:25 24          Q.    Why?
16:08:28 25          A.    Because there always can be something

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16:08:31   1   else.
16:08:31   2         Q.    Okay. Well, I mean specifically in
16:08:35   3   connection with the methbot matter.
16:08:37   4         A.    No.
16:08:37   5         Q.    And by "something else," you mean
16:08:40   6   somebody else could come along at any time and
16:08:43   7   write about it later? Is that what you mean?
16:08:45   8         A.    Yes.
16:08:45   9               MR. SIEGEL: Okay. I'll show you
16:08:51 10    Exhibit 70.
16:08:53 11                (Exhibit 70 marked.)
16:09:13 12          Q.    BY MR. SIEGEL: Webzilla appears to --
16:09:13 13    I'm sorry. Exhibit 70 appears to be an e-mail
16:09:17 14    from Mr. Dolan to you where he's simply including
16:09:21 15    some suggested answers to questions.
16:09:27 16                Right?
16:09:27 17          A.    (Examining.) Uh-huh.
16:09:33 18          Q.    Mr. -- the first one, if you look on
16:09:35 19    page 825 --
16:09:37 20          A.    Uh-huh.
16:09:37 21          Q.    -- my name -- it says:
16:09:40 22                "My name is Chuck Dolan and I'm a
16:09:43 23    spokesperson for Webzilla."
16:09:44 24          A.    Uh-huh.
16:09:44 25          Q.    Was Mr. Dolan a spokesperson for Webzilla?

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16:10:00   1          A.   No.
16:10:00   2          Q.   Well, at least here it was fair to say
16:10:03   3   that he was -- that is what he was supposed to
16:10:05   4   relay to the press; right?
16:10:08   5          A.   For this subject.
16:10:10   6          Q.   Okay. The -- towards the bottom of
16:10:23   7   the page, the second bullet point from the bottom,
16:10:25   8   it says:
16:10:26   9               "Webzilla is now working to create new
16:10:28 10    company guidelines including: Ceasing to announce
16:10:32 11    external or customer IP blocks within our network
16:10:35 12    without deep KYC business of the client."
16:10:38 13           A.   Uh-huh.
16:10:39 14           Q.   But that's the same policy that we
16:10:40 15    talked about before; right?
16:10:41 16           A.   That's that policy.
16:10:43 17           Q.   Okay.
16:10:43 18           A.   Yes.
16:10:43 19                MR. SIEGEL: Okay. I'll show you
16:10:57 20    Exhibit 71.
16:10:58 21                (Exhibit 71 marked.)
16:11:09 22           Q.   BY MR. SIEGEL: This is another e-mail
16:11:10 23    exchange with Mr. Dolan where Mr. Dolan asked
16:11:16 24    you:
16:11:21 25                "Alex gave me the reason for not naming

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16:11:23   1   the individual ... I want to be absolutely
16:11:25   2   accurate." (As read.)
16:11:25   3               And your response was:
16:11:26   4               "The exact answer from the lawyer
16:11:27   5   is 'for privacy reasons, we cannot divulge
16:11:30   6   such information without a court order.'"
16:11:34   7               Right? Is that -- is that --
16:11:35   8         A.    (Examining.) That's what the e-mail
16:11:36   9   says.
16:11:37 10          Q.    Is that information that was provided
16:11:38 11    to you?
16:11:47 12          A.    This is the information that is in the
16:11:48 13    e-mail. Yes.
16:11:49 14          Q.    And -- and that information was provided
16:11:52 15    to you from a lawyer?
16:11:54 16          A.    It was provided to us by a lawyer.
16:11:59 17          Q.    Do you believe that that is true, that
16:12:01 18    that is accurate, that it is an accurate statement
16:12:06 19    of the law?
16:12:07 20          A.    That's what the lawyer advised.
16:12:08 21          Q.    Okay. And my question to you is: Do
16:12:09 22    you believe that that is an accurate statement
16:12:11 23    of the law, that the lawyer's advice was accurate?
16:12:14 24          A.    Yes. I believe my lawyer -- the lawyer's
16:12:20 25    advices [sic] are accurate.

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16:12:33   1               MR. SIEGEL: Okay. I'll just quickly
16:12:35   2   show you 72.
16:12:37   3               (Exhibit 72 marked.)
16:12:52   4         Q.    BY MR. SIEGEL: If you look at page 2
16:12:54   5   of 72, which I think is part of an e-mail to
16:12:59   6   Mr. Gubarev, copying you, Mr. Dolan asked the
16:13:04   7   question:
16:13:04   8               "Who are those companies you are paying
16:13:06   9   the $200,000 to? For how long will you be paying?"
16:13:11 10                Right?
16:13:11 11                And the answer was:
16:13:13 12                "Leasing companies who give us servers"
16:13:15 13    ... we have a financial lease on a 36-month data
16:13:19 14    centers. "TierPoint, for example, we have commit
16:13:19 15    for 24-36 month for power and space." (As read.)
16:13:25 16                Do you know whether Webzilla or Servers
16:13:27 17    or both eventually released the servers that were
16:13:32 18    being used by Mr. Zhukov to other customers?
16:13:36 19          A.    (Examining.) What is your question?
16:13:45 20          Q.    Okay. My understanding of what -- tell
16:13:48 21    me if this is accurate --
16:13:50 22          A.    Yes.
16:13:50 23          Q.    -- right?
16:13:51 24                Was that Mr. Gubarev leased over a
16:13:53 25    thousand servers from you -- right? -- from

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16:13:56   1   Webzilla or Servers.
16:13:57   2         A.    I guess you --
16:13:58   3               MR. GURVITS: Objection.
16:13:58   4               THE WITNESS: I -- I guess you --
16:13:59   5   you are wrong.
16:14:02   6         Q.    BY MR. SIEGEL: I'm wrong?
16:14:02   7         A.    Yes.
16:14:03   8         Q.    How am I wrong?
16:14:04   9         A.    Can you please repeat the question once --
16:14:06 10          Q.    Okay.
16:14:06 11          A.    -- again and --
16:14:10 12          Q.    Mr. -- Mr. Zhukov was a customer --
16:14:12 13    right? -- of Webzilla and of Servers?
16:14:16 14                Correct?
16:14:16 15          A.    Correct.
16:14:17 16          Q.    And he was a customer that retained
16:14:24 17    the services of over a thousand servers; correct?
16:14:27 18          A.    Correct.
16:14:27 19          Q.    Okay. And Webzilla and Servers --
16:14:29 20    right? -- had to lease those servers for some --
16:14:34 21    from somewhere; right?
16:14:37 22          A.    That's correct.
16:14:38 23          Q.    In order to provide those services
16:14:41 24    to Mr. Zhukov; right?
16:14:42 25          A.    That is correct.

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16:14:43   1         Q.    Okay. So when Mr. Zhukov was
16:14:46   2   terminated -- right? -- Webzilla and Servers
16:14:50   3   had lease obligations -- right? -- that continued
16:14:54   4   even though Mr. -- to -- to the companies that
16:14:59   5   Webzilla and Server [sic] were leasing those
16:15:03   6   servers from; right?
16:15:04   7               Those obligations continued even
16:15:06   8   though Mr. Zhukov had been terminated; correct?
16:15:10   9         A.    That's correct.
16:15:10 10          Q.    Okay. And my question is: Do you know
16:15:16 11    what happened to those lease -- to the servers
16:15:21 12    that Webzilla and Servers continued to have to
16:15:25 13    lease even though Mr. Zhukov had been terminated?
16:15:30 14                Were they released -- were they leased
16:15:32 15    to other customers that replaced Mr. Zhukov? Were
16:15:37 16    those leases terminated? Or none of the above?
16:15:40 17                Do you have any idea?
16:15:41 18          A.    Some of them were leased to other
16:15:43 19    customers.
16:15:45 20          Q.    Okay.
16:15:45 21          A.    Some of them not.
16:15:46 22          Q.    Some of them were never -- do you --
16:15:47 23    can you give a rough estimate of the percentage
16:15:51 24    that were not leased to other customers?
16:15:55 25          A.    I don't have such estimate.

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16:15:56   1         Q.    Do you think it is more than 50 percent?
16:16:02   2         A.    I don't have such estimate.
16:16:05   3               (Court reporter clarification.)
16:16:05   4         Q.    BY MR. SIEGEL: You don't have an
16:16:05   5   estimate?
16:16:05   6         A.    I don't have such estimate.
16:16:05   7         Q.    Okay. Do you know about how long
16:16:08   8   it took for any servers to be leased to other
16:16:12   9   customers?
16:16:16 10          A.    I didn't follow specifically. No,
16:16:22 11    I don't know.
16:16:22 12                (Court reporter clarification.)
16:16:22 13                THE WITNESS: I don't know. I didn't
16:16:22 14    follow specifically. I don't know.
16:16:23 15          Q.    BY MR. SIEGEL: Okay. So this methbot
16:16:26 16    issue, how Mr. Zhukov was terminated, little less
16:16:26 17    than two and a half years ago; right?
16:16:26 18                I'm sorry. A little less than a year
16:16:26 19    and a half ago; correct?
16:16:32 20          A.    It was less than a year and a half ago.
16:16:35 21          Q.    Okay. Are there still servers that
16:16:37 22    Webzilla or Servers is leasing that had been
16:16:41 23    used by Mr. Zhukov?
16:16:43 24          A.    Yes.
16:16:44 25          Q.    Yes. Okay.

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16:16:46   1               Do you know approximately how many?
16:16:48   2         A.    I don't know.
16:16:49   3         Q.    Is it more than a hundred?
16:16:54   4         A.    I don't know.
16:16:57   5         Q.    Okay. If you look at the bottom of
16:17:09   6   page 2, the question:
16:17:11   7               "How much will you lose on this project?"
16:17:13   8               "As per our expectation ... from" two
16:17:19   9   to two and a half million, "if we will not sell
16:17:25 10    this servers to somebody else." (As read.)
16:17:27 11                Do you know where that number came from?
16:17:30 12          A.    This number came from Aleksej Gubarev.
16:17:34 13          Q.    And did you have any involvement in
16:17:40 14    calculating that number or estimating that number?
16:17:43 15          A.    I didn't.
16:17:43 16          Q.    Okay. I think you [sic] asked you this
16:17:46 17    before. But sitting here today, do you have any
16:17:49 18    idea how much, in fact, was lost as a result of
16:17:55 19    terminating Mr. Zhukov?
16:17:57 20          A.    I don't know.
16:17:59 21          Q.    Do you think it was -- okay. Never mind.
16:18:00 22    Okay. I'm going to show you a few exhibits quickly
16:18:11 23    just to ask you to explain what they are.
16:18:13 24          A.    Okay.
16:18:14 25                (Exhibit 73 marked.)

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16:18:21   1         Q.    BY MR. SIEGEL: This is 73 and this --
16:18:25   2   these -- I'll tell you these all appear to me
16:18:29   3   to be communications that relate to Mr. Zhukov
16:18:33   4   at this time in some respect.
16:18:34   5               But what is Exhibit 73?
16:18:37   6         A.    (Examining.) It is a printout from
16:18:39   7   a ticket system used by Servers.com.
16:18:45   8         Q.    Okay. And what does the printout
16:18:51   9   reflect? What is being communicated here?
16:18:55 10          A.    It is a pretty large printout. Which
16:18:59 11    part of it are you referring to specifically?
16:19:01 12          Q.    Well, for example, it says -- under
16:19:03 13    "People," it says:
16:19:04 14                "Requestors."
16:19:05 15                "dvas@servers.com."
16:19:05 16                "i-betters@yandex.ru."
16:19:05 17                "ibetters2@gmail.com."
16:19:12 18                What does that mean?
16:19:24 19          A.    I'm not really sure about -- about that.
16:19:26 20          Q.    Okay. Look at the bottom under:
16:19:31 21                "History."
16:19:31 22                It says:
16:19:32 23                "Subject: Service suspension due to
16:19:34 24    allegedly suspicious activity."
16:19:35 25                "From: Dvas@servers.com."

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16:19:37   1               "To: Abuse@servers.com."
16:19:40   2               And then it has a number of lines.
16:19:42   3         A.    Yes.
16:19:43   4         Q.    Do you understand what that means?
16:19:44   5         A.    Yes.
16:19:44   6         Q.    What does it mean?
16:19:46   7         A.    Basically from here and then one, two,
16:19:49   8   three, four -- four lines was creating a ticket
16:19:58   9   that would go to the customer with the subject:
16:20:02 10                "Service suspension due to allegedly" --
16:20:05 11          Q.    Right.
16:20:05 12          A.    (Reading.)
16:20:05 13                -- "suspicious activity."
16:20:07 14          Q.    Okay. And is this -- is this the
16:20:09 15    notification to the customer that their services
16:20:11 16    are being suspended immediately, as it indicates
16:20:14 17    on the next page?
16:20:15 18                Is that what this is?
16:20:17 19          A.    Can you please repeat the question?
16:20:19 20          Q.    Is this a notification that went to
16:20:20 21    the customer?
16:20:22 22          A.    This is a notification that went to
16:20:23 23    the customer.
16:20:24 24                MR. SIEGEL: Okay. Show you 74.
16:20:38 25                (Exhibit 74 marked.)

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16:20:47   1         Q.    BY MR. SIEGEL: So if you look at the
16:20:48   2   first page of Exhibit 74 where it says:
16:20:51   3               "History."
16:20:52   4         A.    (Examining.) Uh-huh. "History."
16:20:55   5   "History."
16:20:56   6               Yeah, I see it.
16:20:57   7         Q.    Yes.
16:20:58   8         A.    Yes.
16:20:58   9         Q.    And, again, it's -- obviously, it's
16:20:58 10    in Russian.
16:20:59 11          A.    It's in Russian.
16:21:00 12          Q.    What does this reflect?
16:21:04 13          A.    It is a request to on-site engineers --
16:21:09 14          Q.    Uh-huh.
16:21:09 15          A.    -- to remove the drives from the server
16:21:16 16    and to store them securely, not to ever use them
16:21:26 17    in any other servers and not to destroy them in
16:21:33 18    any way.
16:21:33 19          Q.    Okay. And why is it written in Russian?
16:21:42 20          A.    Because I wrote it in Russian. I wrote
16:21:46 21    it in Russian because I wrote it to the on-site
16:21:50 22    team in Amsterdam, which at that moment was Russian
16:21:58 23    speaking --
16:22:02 24          Q.    Okay.
16:22:02 25          A.    -- 100 percent.

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16:22:03   1         Q.    And were the -- and so the servers are
16:22:07   2   in -- you wrote it to -- were there also servers
16:22:12   3   in Dallas?
16:22:13   4         A.    Yes, there were.
16:22:14   5         Q.    Would the same communication go to the
16:22:17   6   servers in Dallas?
16:22:19   7         A.    In English.
16:22:19   8         Q.    In English. Okay.
16:22:23   9               MR. SIEGEL: I'll show you quickly
16:22:25 10    Exhibit 75.
16:22:32 11                (Exhibit 75 marked.)
16:22:38 12          Q.    BY MR. SIEGEL: And what is 75?
16:22:45 13          A.    (Examining.) It --
16:22:46 14          Q.    Other than I've learned that the last
16:22:48 15    word means "thank you."
16:22:50 16          A.    That's correct.
16:22:54 17                It is an e-mail generated by the ticket
16:22:58 18    system to my corporate e-mail address.
16:23:03 19          Q.    And what does it say?
16:23:05 20          A.    It says that the drives -- the drives
16:23:09 21    have been removed, marked, and stored.
16:23:11 22          Q.    Okay. So this is, essentially,
16:23:13 23    confirming that the instructions that you
16:23:15 24    gave have been carried out?
16:23:20 25          A.    Yes.

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16:23:20   1               MR. SIEGEL: Okay. We'll go to 76.
16:23:26   2               (Exhibit 76 marked.)
16:23:40   3         Q.    BY MR. SIEGEL: Okay. Now, unit [sic]
16:23:41   4   76 has -- is, again, a printout of some sort.
16:23:44   5   It has the name Alexander Zhukov at the top.
16:23:49   6               Do you understand what this printout
16:23:51   7   reflects?
16:23:51   8         A.    (Examining.) Yes.
16:23:52   9         Q.    What is it?
16:23:53 10          A.    It is part of a customer information
16:24:04 11    in an internal system of Servers.com used for
16:24:10 12    tracking customers.
16:24:11 13          Q.    Okay. Where it says "Fraud check
16:24:14 14    status: Legitimate," what does that mean?
16:24:18 15          A.    It means that the credit card for the
16:24:25 16    customer has not -- that we did not assume that
16:24:34 17    the credit card used for the customer was stolen
16:24:41 18    or something like that.
16:24:42 19          Q.    And "Fraud validation request," what
16:24:47 20    does that refer to?
16:24:48 21          A.    It means that we did not request the
16:24:52 22    information in order to prove that this credit
16:24:59 23    card is not stolen.
16:25:01 24          Q.    And where it says "Tolerance threshold,"
16:25:04 25    a thousand dollars, what does that mean?

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16:25:06   1         A.    It means nothing.
16:25:08   2         Q.    It's nothing. Okay. It doesn't --
16:25:09   3   has no significance?
16:25:11   4         A.    It has zero significance.
16:25:13   5         Q.    Okay. "Billing traffic method: Per
16:25:18   6   server," what does that mean?
16:25:23   7         A.    It means that the customer is charged
16:25:34   8   for bandwidth consumed for each server individually.
16:25:41   9         Q.    Okay. And so does the -- does the payment
16:25:46 10    depend on the amount of bandwidth that's actually
16:25:49 11    consumed?
16:25:50 12          A.    Yes.
16:25:50 13          Q.    Okay. So it's not a fixed payment for
16:25:56 14    each server?
16:25:56 15          A.    It's not a fixed payment.
16:25:58 16          Q.    And last question is: Under "Billing
16:26:00 17    address" and "Shipping address," there's an
16:26:02 18    address listed in the Seychelles.
16:26:06 19                Based on your having met Mr. Zhukov,
16:26:08 20    where did you understand that he was from? Or
16:26:10 21    where he resided?
16:26:15 22          A.    I -- I didn't ask.
16:26:20 23          Q.    Do you have any understanding that
16:26:21 24    he had any connection to the Seychelles?
16:26:24 25          A.    He had some.

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16:26:26   1         Q.    What was that?
16:26:30   2         A.    The company that was paying the invoices
16:26:35   3   was from the Seychelles.
16:26:44   4         Q.    Did you -- do -- do you know whether
16:26:46   5   Mr. Zhukov lived in the Seychelles?
16:26:48   6         A.    I don't know that.
16:26:51   7         Q.    Do you have any idea why that company
16:26:53   8   was located in the Seychelles?
16:26:57   9         A.    I don't know that.
16:26:58 10          Q.    Did you ever ask?
16:26:59 11          A.    No.
16:27:06 12                MR. SIEGEL: Last exhibit in this group.
16:27:10 13                (Exhibit 77 marked.)
16:27:23 14          Q.    BY MR. SIEGEL: And, again, this is
16:27:24 15    a printout. The first page 1770 -- I'm sorry --
16:27:28 16    1776 contains some names.
16:27:31 17                Do you know what this printout reflects?
16:27:34 18          A.    (Examining.) Yes.
16:27:34 19          Q.    What does it reflect?
16:27:36 20          A.    It is a list of users --
16:27:41 21          Q.    Uh-huh.
16:27:41 22          A.    -- that are allowed to -- no. It is
16:27:43 23    a list of contacts that the customer provided
16:27:48 24    for his account.
16:27:51 25          Q.    Mr. Zhukov provided?

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16:27:53   1         A.    I don't know that.
16:27:55   2         Q.    Oh, okay. Well, in your --
16:27:58   3         A.    Some customer.
16:27:59   4         Q.    Some customer?
16:28:00   5         A.    Some customer.
16:28:01   6         Q.    And what -- contacts about -- contacts
16:28:03   7   in what respect? Contacts for what purpose?
16:28:09   8         A.    For any communication Servers.com might
16:28:21   9   want to address to the customer in a written form.
16:28:26 10          Q.    And so are -- so this is a list of
16:28:30 11    people that some customer directed Servers.com
16:28:34 12    to communicate with?
16:28:36 13          A.    The first -- yes, the first page is
16:28:37 14    the list of people. Yes.
16:28:39 15          Q.    And what is the second page?
16:28:41 16          A.    The second page is the list of user
16:28:44 17    log-ins together with their names and statuses.
16:28:50 18    Last IP that was used to log in to the system.
16:29:00 19          Q.    Okay. And what does "Status: Disabled"
16:29:03 20    mean?
16:29:04 21          A.    Hmm?
16:29:04 22          Q.    What does "Status: Disabled" mean?
16:29:07 23          A.    "Status: Disabled" means that this
16:29:09 24    user cannot log in.
16:29:11 25          Q.    Because -- because the company has

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16:29:14   1   prevented future log-ins?
16:29:16   2         A.    Because Servers.com has prevented
16:29:16   3   future log-ins.
16:29:19   4         Q.    Okay. Does this -- I mean, I'll
16:29:23   5   represent to you that I believe this was
16:29:24   6   produced to us in connection with a request
16:29:28   7   for any documents related to methbot.
16:29:34   8               Does this appear to you to be related
16:29:37   9   to the methbot matter?
16:29:49 10          A.    Yes.
16:29:49 11          Q.    And why do you say that?
16:29:51 12          A.    This appears to be the e-mail --
16:29:53 13    the first log-in e-mail "ibetters2@gmail.com."
16:29:59 14                (Court reporter clarification.)
16:29:59 15                THE WITNESS: The first e-mail
16:29:59 16    "ibetters2@gmail.com" --
16:29:59 17          Q.    BY MR. SIEGEL: Okay.
16:30:03 18          A.    -- is the e-mail that customer used
16:30:12 19    as -- that Alexander Zhukov used as a log-in
16:30:19 20    for Servers.com --
16:30:21 21          Q.    Okay.
16:30:21 22          A.    -- portal.
16:30:23 23          Q.    Do you have any idea who Alexander
16:30:25 24    Batrakov is?
16:30:28 25          A.    I have no idea about that.

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16:30:29   1         Q.    Do you have any idea who Dennis -- or
16:30:32   2   Denis Avdeev -- Avdeev is, which is -- this is
16:30:36   3   on the second page?
16:30:39   4         A.    Yes, I do.
16:30:40   5         Q.    Who is Denis Avdeev?
16:30:45   6         A.    It is a system administrator.
16:30:48   7         Q.    And where?
16:30:51   8         A.    I don't know where he is now.
16:30:53   9         Q.    Was he with Servers.com at the time?
16:30:56 10          A.    No. He was not with Servers.com.
16:30:58 11          Q.    So how do you know him?
16:31:04 12          A.    He was allowed log-ins to Servers.com
16:31:08 13    self-service portal as well.
16:31:11 14          Q.    And how does he relate to Mr. Zhukov?
16:31:15 15          A.    I don't know the nature of their
16:31:16 16    relationship.
16:31:17 17          Q.    No, but in other words, how does this
16:31:19 18    in any way connect to the methbot matter with
16:31:25 19    respect to Mr. -- with Denis Avdeev?
16:31:29 20          A.    Mr. Denis Avdeev was -- I don't know
16:31:40 21    who Mr. Denis Avdeev is. But someone using the
16:31:44 22    e-mail "aviapost08@gmail.com" --
16:31:49 23          Q.    Uh-huh.
16:31:49 24          A.    -- and presenting himself as Denis
16:31:52 25    Avdeev was performing some technical actions

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16:32:01   1   like re-booting the servers or re-installing
16:32:05   2   the servers.
16:32:06   3         Q.    Okay. Did you ever communicate
16:32:07   4   with whoever it was holding themselves [sic]
16:32:09   5   out as Denis Avdeev?
16:32:12   6         A.    I did.
16:32:13   7         Q.    When?
16:32:16   8         A.    Late summer, early spring.
16:32:19   9         Q.    Of 2016?
16:32:21 10          A.    Yes.
16:32:21 11          Q.    And in what context did you -- what
16:32:23 12    were those communications about?
16:32:33 13          A.    It was him asking how to re-boot and --
16:32:43 14    how to re-boot many servers at once, many servers
16:32:53 15    belonging to one account at once.
16:32:55 16          Q.    And did you provide that information?
16:33:00 17          A.    Yes, I did.
16:33:01 18          Q.    Any other communication with whoever
16:33:03 19    this was holding themself out as Denis Avdeev?
16:33:07 20          A.    I don't remember anything else.
16:33:08 21          Q.    In -- on page 1767, it indicates that
16:33:13 22    his last log-on was October 24th, 2016, and that
16:33:18 23    his log-in was disabled.
16:33:21 24                Does that indicate that it was disabled
16:33:24 25    in October 2016?

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16:33:26   1         A.    No.
16:33:26   2         Q.    It says -- do you know what date it
16:33:29   3   was disabled just from reading this?
16:33:31   4         A.    No.
16:33:31   5         Q.    Okay. Have you or anyone else, to your
16:33:35   6   knowledge, ever tried to contact this person Denis
16:33:38   7   Avdeev?
16:33:41   8         A.    No.
16:33:45   9         Q.    On the first page, do you know who the
16:33:48 10    second name is, Deny McGrey? Do you know that --
16:33:52 11    do you know that name?
16:33:52 12          A.    No.
16:33:54 13          Q.    So you never communicated with anybody
16:33:56 14    purporting to be Deny?
16:33:58 15          A.    No.
16:33:58 16          Q.    And last, Renat Litvinov, same question?
16:34:03 17          A.    No to both answer -- to both --
16:34:10 18          Q.    Okay.
16:34:10 19          A.    -- questions.
16:34:11 20                MR. SIEGEL: Okay. I'm going to show
16:34:15 21    you Exhibit 78.
16:34:17 22                (Exhibit 78 marked.)
16:34:20 23                THE WITNESS: (Examining.) Okay.
16:34:32 24          Q.    BY MR. SIEGEL: Okay. And I'll represent
16:34:34 25    to you that Exhibit 78 is a series of text messages

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16:34:38   1   that was produced to us by KGlobal.
16:34:42   2         A.    Uh-huh.
16:34:43   3         Q.    If you look at the first two pages, 3870
16:34:49   4   and 3871, those appear to be texts between you and
16:34:54   5   Mr. Dolan.
16:34:55   6               Is that correct?
16:34:55   7         A.    Yes.
16:35:00   8         Q.    And they extend from -- if you go to the
16:35:04   9   bottom of the chain -- July 10th, 2016, and to --
16:35:08 10    they -- until January 30th, 2017?
16:35:21 11          A.    July 30 -- January 30th, 2017.
16:35:25 12          Q.    Yes.
16:35:26 13          A.    Yes. That's -- that's it.
16:35:27 14          Q.    So does this -- reflected between July
16:35:30 15    2016 and January 2017, you sometimes communicated
16:35:33 16    with Mr. Dolan by text?
16:35:35 17          A.    Yes, I have.
16:35:35 18          Q.    What service did you use?
16:35:49 19                What messaging service? Just straight
16:35:54 20    text off your phone?
16:35:55 21          A.    No. I don't -- I don't -- I don't
16:35:58 22    remember.
16:36:01 23          Q.    Have you ever searched texts -- why --
16:36:03 24    have you ever provided these texts in this case
16:36:09 25    to anybody?

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16:36:10   1         A.    No. I haven't provided these texts.
16:36:13   2         Q.    Why not?
16:36:14   3         A.    I don't know where to find it.
16:36:17   4         Q.    Okay. Did you use your phone to send
16:36:22   5   these texts?
16:36:25   6         A.    Most probably I used my phone to send
16:36:29   7   these texts.
16:36:30   8         Q.    Okay. Have you ever searched your
16:36:32   9   phone --
16:36:32 10          A.    Yes, I have.
16:36:32 11          Q.    -- to look for texts in connection
16:36:34 12    with this case?
16:36:36 13          A.    Yes, I have.
16:36:36 14          Q.    When?
16:36:37 15          A.    When requested. I -- I don't remember
16:36:39 16    when it was.
16:36:40 17          Q.    Okay. Roughly how long after the dossier
16:36:44 18    was published do you think that you searched your
16:36:46 19    phone?
16:36:49 20          A.    A fair amount of time. I don't remember.
16:36:54 21          Q.    More than three weeks afterwards?
16:36:56 22          A.    More than three weeks.
16:36:57 23          Q.    And what did you search for? What
16:37:03 24    were you looking for?
16:37:04 25          A.    I searched for -- I opened my

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16:37:14   1   communications with Mr. Dolan and Mr. Malunda.
16:37:24   2         Q.    You looked for communications with
16:37:26   3   Mr. Dolan and --
16:37:27   4         A.    Mr. Malunda. Yes.
16:37:33   5         Q.    Who is somebody else at --
16:37:33   6               THE COURT REPORTER: I'm sorry. What's
16:37:33   7   the second one?
16:37:33   8               THE WITNESS: Mr. Malunda.
16:37:33   9         Q.    BY MR. SIEGEL: Who was also at KGlobal --
16:37:36 10          A.    Yes.
16:37:36 11          Q.    -- right?
16:37:36 12                And what did you find?
16:37:44 13          A.    Nothing.
16:37:45 14          Q.    You didn't find any?
16:37:48 15          A.    Yeah.
16:37:49 16          Q.    Was your phone ever imaged?
16:37:51 17          A.    No.
16:37:55 18          Q.    Is it possible that these texts are
16:37:58 19    on your phone now?
16:38:07 20          A.    I don't know.
16:38:07 21          Q.    Okay. When did you last get a new
16:38:12 22    phone?
16:38:15 23          A.    December.
16:38:16 24          Q.    Of 2017?
16:38:17 25          A.    Yes.

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16:38:18   1         Q.    When you got a new phone, did texts
16:38:24   2   you sent from your old phone transfer over?
16:38:32   3         A.    Not all of them.
16:38:34   4         Q.    What happened to your old phone?
16:38:36   5         A.    I still have it.
16:38:37   6         Q.    What's that?
16:38:39   7         A.    I still have it.
16:38:40   8         Q.    You still have it.
16:38:41   9               Did you have that phone for all of
16:38:43 10    2017, in other words, the last phone you had?
16:38:48 11          A.    No.
16:38:48 12          Q.    Okay. When did you change phones
16:38:53 13    previously of 2017?
16:38:55 14          A.    In summer.
16:38:55 15          Q.    In the summer?
16:38:56 16          A.    Yes.
16:38:57 17          Q.    Okay. Do you still have the phone
16:39:00 18    that you changed to -- I'm sorry.
16:39:04 19                The phone that you stopped using in
16:39:06 20    the summer of 2017, do you still have that?
16:39:08 21          A.    I still have that.
16:39:10 22          Q.    And I take it none of those phones
16:39:12 23    have ever been imaged?
16:39:15 24          A.    None of them.
16:39:16 25          Q.    When you asked to do a search, did

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16:39:18   1   you search that old phone? [sic]
16:39:22   2         A.    I searched the one before the last.
16:39:25   3         Q.    Okay. Why didn't you search the other
16:39:29   4   one, the one that you had switched in the summer?
16:39:32   5         A.    Because, when I switched between them,
16:39:34   6   all the content was migrated.
16:39:39   7         Q.    Okay. I think you just testified that --
16:39:41   8   that they weren't all migrated.
16:39:42   9         A.    No. I just testified that when I
16:39:43 10    performed the last --
16:39:44 11          Q.    Okay.
16:39:45 12          A.    -- switchover, I didn't migrate all
16:39:48 13    the content.
16:39:48 14          Q.    Okay.
16:39:48 15          A.    But the --
16:39:49 16          Q.    Well --
16:39:49 17          A.    -- previous switchover, I did.
16:39:51 18          Q.    The contacts were all migrated --
16:39:51 19          A.    The content, all the --
16:39:51 20          Q.    -- right?
16:39:51 21          A.    -- content, everything.
16:39:53 22          Q.    But do you have any idea whether
16:39:56 23    all communications anywhere on the phone
16:39:58 24    were migrated?
16:39:59 25          A.    Excuse me?

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16:40:00   1         Q.    Do you have any idea whether all
16:40:03   2   communications that might reside and data
16:40:05   3   anywhere on the phone were migrated to the
16:40:08   4   new one in the summer of 2017?
16:40:10   5         A.    All communications, I don't know.
16:40:13   6         Q.    Okay. Are -- is it your testimony
16:40:16   7   today that you do not know how you texted in
16:40:19   8   January 2017?
16:40:26   9         A.    I have more than one idea about that.
16:40:30 10          Q.    Okay. And what is your idea?
16:40:33 11          A.    It is either Facebook Messenger or Skype.
16:40:38 12          Q.    And in the case of -- okay. And -- well,
16:40:40 13    we talked about Skype before.
16:40:43 14                So with Skype -- and you testified before,
16:40:46 15    I believe, that you did not exchange text messages
16:40:50 16    on Skype.
16:40:50 17                Do you believe that that testimony was --
16:40:51 18          A.    No, I didn't testify that.
16:40:52 19          Q.    Well, I think you did.
16:40:54 20          A.    I testified that I did not exchange
16:40:56 21    text messages with Marilyn Gerber in Skype.
16:40:58 22          Q.    Okay. What about Mr. Dolan?
16:41:03 23          A.    I guess I did exchange some messages
16:41:07 24    on Skype with him.
16:41:08 25          Q.    Okay. Can you tell whether these

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16:41:10   1   are by Skype?
16:41:13   2         A.    Hmm?
16:41:13   3         Q.    Can you tell whether these messages
16:41:13   4   were exchanged by Skype?
16:41:13   5         A.    I cannot tell.
16:41:15   6         Q.    And does your phone retain Skype
16:41:18   7   messages?
16:41:21   8         A.    It does.
16:41:22   9         Q.    It does. Okay.
16:41:24 10                So why did you -- we never receive
16:41:31 11    these texts?
16:41:32 12          A.    For Skype specifically, at some point,
16:41:36 13    I lost all the history of my Skype.
16:41:39 14          Q.    At what point was that?
16:41:41 15          A.    I -- I -- I don't know when. But it
16:41:43 16    was, you know, maybe summer or something like
16:41:48 17    that.
16:41:48 18          Q.    Summer of 2017?
16:41:50 19          A.    Yes. It -- it is for Skype specifically.
16:41:54 20          Q.    Okay. And how did you come to lose that?
16:41:56 21          A.    I have no idea. I am clueless about that.
16:42:00 22          Q.    And I take it that, when you checked your
16:42:03 23    phone for purposes of this case, it was after you
16:42:04 24    had lost all of the Skype messages?
16:42:09 25          A.    I guess so.

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16:42:14   1         Q.    Other than communications with Mr. Dolan,
16:42:16   2   were you looking for anything else when you searched
16:42:20   3   your phone?
16:42:23   4         A.    With Mr. Cutler and Ms. Gerber.
16:42:28   5         Q.    Okay. Did you search for anything other
16:42:30   6   than communications with public relations person --
16:42:33   7   people?
16:42:35   8         A.    I searched for communications related
16:42:38   9   to methbot.
16:42:40 10          Q.    Okay. Anything else?
16:42:42 11          A.    With -- and I searched for communications
16:42:47 12    relating to the dossier that was published on
16:42:55 13    Buzzfeed and to the lawsuit that followed this
16:43:00 14    dossier.
16:43:01 15          Q.    Well, and -- and when you say "relating
16:43:04 16    to the lawsuit," what does that mean to you? What
16:43:08 17    relates to the lawsuit?
16:43:11 18          A.    What -- what -- whatever relates to the
16:43:14 19    lawsuit.
16:43:14 20          Q.    Who made -- who made the determination
16:43:16 21    as to what relates to the lawsuit?
16:43:20 22          A.    I made this determination.
16:43:23 23          Q.    And I'll represent to you that we haven't
16:43:25 24    received any text from you. So --
16:43:27 25          A.    That's -- that is correct.

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16:43:28   1         Q.    So is it your testimony that you found
16:43:30   2   no texts that fell into any of those categories?
16:43:33   3         A.    I found no text.
16:43:35   4         Q.    Okay.
16:43:36   5         A.    And --
16:43:36   6         Q.    Did you search -- go ahead.
16:43:38   7         A.    Okay. Sorry. Go ahead.
16:43:39   8         Q.    Did you search Facebook Messenger?
16:43:41   9         A.    I searched Facebook Messenger.
16:43:43 10          Q.    And how long back have your Facebook
16:43:45 11    Messenger texts been retained or messages been
16:43:48 12    retained?
16:43:49 13          A.    I don't know. Probably forever.
16:43:50 14          Q.    Okay. Do you use personal e-mail
16:43:59 15    addresses in -- in addition to your work e-mail --
16:44:02 16          A.    I do.
16:44:02 17          Q.    -- addresses?
16:44:03 18          A.    I do.
16:44:05 19          Q.    Okay. And did you search any personal
16:44:07 20    e-mail accounts?
16:44:08 21          A.    All of them.
16:44:11 22          Q.    And I -- did you find anything?
16:44:13 23          A.    Nothing.
16:44:13 24          Q.    And, again, who -- you performed that
16:44:16 25    search?

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16:44:17   1         A.    I performed that search.
16:44:18   2         Q.    Okay. Which e-mail service do you
16:44:45   3   use personally?
16:44:47   4         A.    Personally I use Gmail, FastMail,
16:44:51   5   and Yandex Mail.
16:44:54   6         Q.    Are those all web-based, or are some
16:44:56   7   of them -- do you use Outlook or some other --
16:44:59   8         A.    They are all web-based.
16:45:02   9         Q.    And do you know how long those are
16:45:04 10    retained?
16:45:07 11          A.    Yes.
16:45:08 12          Q.    And what is the answer?
16:45:17 13          A.    They have -- they retain all the
16:45:19 14    e-mails.
16:45:19 15          Q.    Forever?
16:45:20 16          A.    Forever.
16:45:20 17          Q.    Okay. Does Servers.com or Webzilla,
16:45:24 18    to your knowledge, have any -- the -- the company
16:45:29 19    e-mail system --
16:45:30 20          A.    Uh-huh.
16:45:30 21          Q.    -- does it have any auto-delete function?
16:45:35 22    In other words, do your -- do e-mails disappear
16:45:39 23    after a certain amount of time unless you take
16:45:41 24    some action to save them?
16:45:45 25          A.    They don't disappear for at least five

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16:45:48   1   years.
16:45:48   2         Q.    For at least five years. Okay.
16:45:51   3         A.    That I know.
16:45:51   4         Q.    And is that -- we're -- we're using
16:45:51   5   the "disappear."
16:45:54   6               Do they disappear from your desktop?
16:45:57   7         A.    They -- I don't know if they disappear
16:46:01   8   at all.
16:46:02   9         Q.    Okay. Well, just --
16:46:03 10          A.    I can confirm you that they don't
16:46:06 11    disappear for at least five years. Because
16:46:07 12    that's how long I have this corporate e-mail
16:46:10 13    addresses. And --
16:46:11 14          Q.    Okay.
16:46:11 15          A.    -- nothing has disappeared so far to
16:46:15 16    my knowledge.
16:46:16 17                MR. SIEGEL: Let's show you Exhibit 79.
16:46:18 18                (Exhibit 79 marked.)
16:46:36 19          Q.    BY MR. SIEGEL: Do you recognize what
16:46:37 20    you're discussing with Mr. Dolan in Exhibit 79?
16:46:41 21          A.    (Examining.) I'm not discussing anything
16:46:47 22    here.
16:46:48 23          Q.    Okay. Or -- or -- sorry -- what the
16:46:50 24    subject of the communication is?
16:46:52 25                And I'll go ahead and give you Exhibit 80

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16:46:56   1   as well because they're both about the same thing.
16:46:59   2               (Exhibit 80 marked.)
16:47:02   3               THE WITNESS: (Examining.) I recognize
16:47:03   4   the subject of this e-mail.
16:47:10   5         Q.    BY MR. SIEGEL: And what -- what is the
16:47:13   6   subject of that e-mail?
16:47:16   7         A.    The subject of this e-mail is that --
16:47:20   8   is Charles Dolan trying to understand the line
16:47:39   9   of work performed by one Alan Cullison.
16:47:44 10          Q.    And -- and is it fair to say that
16:47:46 11    somebody noticed that Mr. Cullin had -- Cullison --
16:47:49 12    I'm sorry -- had apparently visited a LinkedIn
16:47:54 13    account?
16:47:54 14          A.    Yes.
16:47:55 15          Q.    And Mr. Bezruchenko evidently noticed
16:47:59 16    that?
16:48:00 17          A.    He told me.
16:48:01 18          Q.    And did you notice it?
16:48:07 19          A.    No.
16:48:09 20          Q.    Oh, I'm sorry.
16:48:10 21                The e-mail indicates that Mr. Gubarev
16:48:12 22    noticed it.
16:48:17 23                I think Exhibit 80 is from Mr. Gubarev.
16:48:21 24                Right?
16:48:26 25                Did you have any suspicion as to why

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16:48:31   1   a national security for the -- reporter for the
16:48:34   2   Wall Street Journal appeared to have visited,
16:48:36   3   you know, at least a couple of LinkedIn accounts
16:48:40   4   connected with company executives?
16:48:41   5         A.    We had.
16:48:41   6         Q.    And what was that?
16:48:43   7         A.    We believed that he was investigating
16:48:47   8   methbot.
16:48:49   9         Q.    And did you ever have -- did you have
16:48:51 10    any discussion with Mr. Dolan about whether you
16:48:55 11    should do anything about that?
16:48:57 12          A.    We had like that.
16:49:00 13          Q.    And tell me about that.
16:49:04 14          A.    I don't remember most of the conversation.
16:49:07 15          Q.    Okay.
16:49:09 16          A.    I remember -- no, I don't remember any
16:49:15 17    of the conversations.
16:49:15 18          Q.    Well, do you -- do you know if any --
16:49:17 19    did --
16:49:20 20          A.    I -- I don't -- I don't even remember
16:49:20 21    if I was part of the conversation.
16:49:23 22          Q.    Okay. Do you know if anybody did
16:49:25 23    anything about it? In other words, was --
16:49:26 24    did anybody reach out to Mr. Cullison?
16:49:31 25          A.    To Mr. Cullison?

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16:49:32   1         Q.    Yes.
16:49:33   2         A.    I don't know.
16:49:33   3         Q.    Or to anybody else out -- in other
16:49:35   4   words, outside of the company, as a result
16:49:37   5   of learning the information?
16:49:39   6         A.    I don't know if anyone reached out
16:49:41   7   to anyone else.
16:49:42   8         Q.    Do you know of any -- any response
16:49:44   9   of any kind or any action of any kind that
16:49:48 10    anyone connected with the company took as
16:49:51 11    a result of learning that Mr. Cullison had
16:49:53 12    visited these LinkedIn accounts?
16:49:56 13          A.    Charles Dolan reported to have taken
16:49:59 14    some actions.
16:50:01 15          Q.    And -- and what actions were those?
16:50:03 16          A.    I don't know.
16:50:03 17          Q.    You don't remember what they were?
16:50:05 18          A.    I believe I didn't know what they were
16:50:09 19    at that time.
16:50:09 20          Q.    Okay. So my understanding is you're
16:50:13 21    saying just -- you had some idea that Mr. Dolan
16:50:15 22    did something, but you didn't know what it was?
16:50:17 23          A.    That -- that he would figure out.
16:50:18 24          Q.    Okay. Did there come a time when you
16:50:25 25    learned that Buzzfeed had published what is now

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16:50:32   1   referred to as the dossier?
16:50:34   2         A.    Yes.
16:50:35   3         Q.    How did you learn that?
16:50:38   4         A.    Aleksej Gubarev showed me.
16:50:41   5         Q.    In your office?
16:50:42   6         A.    Yes.
16:50:42   7         Q.    In the company's offices?
16:50:43   8         A.    In the office.
16:50:45   9         Q.    And tell me about that conversation.
16:50:49 10          A.    He showed me.
16:50:52 11          Q.    And what did you say?
16:50:55 12          A.    Well, what did I say?
16:50:57 13          Q.    Yeah.
16:51:02 14          A.    Am I allowed to use any words?
16:51:04 15          Q.    You are allowed to use any words.
16:51:07 16          A.    I said: Oh, fuck.
16:51:10 17          Q.    Okay. And why did you say that?
16:51:12 18          A.    Because I didn't like that.
16:51:15 19          Q.    You didn't what?
16:51:16 20          A.    I didn't like that.
16:51:17 21          Q.    What you didn't like?
16:51:18 22          A.    I didn't like that Webzilla, XBT,
16:51:20 23    and Aleksej Gubarev appeared --
16:51:23 24          Q.    Okay.
16:51:24 25          A.    -- in the dossier.

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16:51:25   1          Q.   So out of pure curiosity, are you
16:51:29   2   translating what you said to Mr. Gubarev, or
16:51:30   3   is that --
16:51:31   4          A.   I'm translating.
16:51:33   5               MS. BOLGER: What is it?
16:51:35   6               THE WITNESS: All right. If -- if --
16:51:36   7   if translated more correctly, it would be Russian
16:51:43   8   equivalent of -- translated precisely, it will
16:51:47   9   be a Russian saying that translates precisely as:
16:51:51 10    "To fuck, to dick." But that's a little bit hard
16:51:57 11    to explain to a non-Russian-speaking person.
16:52:01 12           Q.   BY MR. SIEGEL: And what did Mr. Gubarev
16:52:02 13    say?
16:52:03 14           A.   When he was showing me that, he said:
16:52:05 15    Look at this weird bullshit.
16:52:10 16           Q.   Okay. And did you ask: Is it true?
16:52:18 17           A.   No.
16:52:20 18           Q.   Why not?
16:52:23 19           A.   I was sure it is not -- it was not.
16:52:28 20           Q.   And why were you sure?
16:52:29 21           A.   I -- I was sure.
16:52:32 22           Q.   Just --
16:52:33 23           A.   I -- I was sure.
16:52:34 24           Q.   Okay. Did you ever undertake any
16:52:40 25    actions to investigate whether the allegations

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16:52:46   1   in the dossier were true?
16:52:47   2         A.    When you say "you," you refer to?
16:52:53   3         Q.    What's that?
16:52:54   4         A.    Whom do you refer to when you say --
16:52:55   5         Q.    I'm first referring to you, Nick Dvas.
16:53:00   6         A.    I -- I did not take any actions.
16:53:00   7         Q.    Okay. Are you aware of anything that
16:53:02   8   anybody else did?
16:53:03   9         A.    Konstantin Bezruchenko took some actions.
16:53:06 10          Q.    And what did you understand those actions
16:53:08 11    to be?
16:53:09 12          A.    I didn't know the specifics. I don't
16:53:12 13    know the specifics.
16:53:13 14          Q.    Okay. And were those ever reported to
16:53:18 15    you in any way?
16:53:20 16          A.    It was communicated orally.
16:53:24 17          Q.    And what was communicated?
16:53:27 18          A.    That there is no sign that can confirm
16:53:41 19    that any of our servers has some help in use for --
16:53:47 20    for that purpose.
16:53:48 21          Q.    And when you use the -- the term "our
16:53:50 22    servers," who is the "our"?
16:53:53 23          A.    That was more or less the exact words.
16:53:57 24          Q.    Okay. And do you have -- did you --
16:54:00 25    do you have an understanding of who the "our"

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16:54:04   1   was?
16:54:05   2          A.   I -- I never asked.
16:54:07   3          Q.   You never asked?
16:54:08   4          A.   (Witness shakes head in the negative.)
16:54:10   5          Q.   So do you know whether Mr. Bezruchenko,
16:54:10   6   in saying "our servers," was referring to "ours,
16:54:16   7   corporate servers," in other words, the corporate
16:54:19   8   ones that are used by XBT and Webzilla employees?
16:54:22   9   Or "ours" in the sense of every single server
16:54:26 10    that's used by a customer?
16:54:27 11           A.   I don't know what he was referring to.
16:54:30 12           Q.   You don't.
16:54:31 13                Did you ask?
16:54:32 14           A.   I didn't.
16:54:43 15           Q.   Is that in any -- was that a question
16:54:44 16    that you were interested in finding the answer
16:54:47 17    to at the time?
16:54:49 18           A.   No.
16:54:51 19           Q.   Why not?
16:54:52 20           A.   Because I was sure we had nothing to
16:54:56 21    do with that.
16:54:57 22           Q.   Well, when you say "we had nothing
16:54:59 23    to do with it," were you sure that any of your
16:55:02 24    customers had nothing to do with it?
16:55:06 25           A.   I was sure. Yes.

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16:55:08   1         Q.    How?
16:55:09   2         A.    I was just sure.
16:55:11   3         Q.    Just a gut feeling?
16:55:12   4         A.    Yes. It was just a strong gut feeling.
16:55:15   5         Q.    And you had that strong gut feeling even
16:55:18   6   though just three weeks -- less than three weeks
16:55:21   7   earlier you had learned that almost 5 percent of
16:55:23   8   your servers were being used as part of a massive
16:55:28   9   fraud?
16:55:28 10          A.    I --
16:55:28 11          Q.    Or might have been used as part of --
16:55:28 12          A.    I don't --
16:55:28 13                MR. GURVITS: Objection.
16:55:28 14                THE WITNESS: -- know if there have been
16:55:34 15    almost 5 percent of our servers used by any single
16:55:39 16    customer.
16:55:42 17          Q.    BY MR. SIEGEL: You had just learned
16:55:43 18    three weeks earlier -- right? -- that White Ops
16:55:46 19    alleged that over a thousand of your servers
16:55:48 20    were being used in connection with a massive
16:55:51 21    fraud; correct?
16:55:52 22                MR. GURVITS: Objection.
16:55:53 23                THE WITNESS: Incorrect.
16:55:54 24          Q.    BY MR. SIEGEL: Not correct?
16:55:54 25          A.    Not correct.

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16:55:56   1         Q.    Why -- what's not correct about that?
16:56:00   2         A.    White Ops did not allege anything about
16:56:03   3   our servers or their amount.
16:56:06   4         Q.    Well, you understood that there were
16:56:09   5   IP addresses -- right --
16:56:10   6         A.    Yes.
16:56:10   7         Q.    -- that White Ops -- had been identified
16:56:12   8   that were connected to a customer who was a customer
16:56:16   9   of over a thousand servers; correct?
16:56:19 10                MR. GURVITS: Objection.
16:56:19 11                THE WITNESS: That's correct.
16:56:19 12          Q.    BY MR. SIEGEL: Okay. And having
16:56:21 13    just learned that three weeks earlier, you had
16:56:26 14    no question in your mind that, jeez, maybe there's
16:56:30 15    another customer who is doing this activity that
16:56:33 16    is discussed in the dossier?
16:56:35 17                MR. GURVITS: Objection.
16:56:35 18                THE WITNESS: Repeat the question,
16:56:42 19    please.
16:56:42 20          Q.    BY MR. SIEGEL: Well, three weeks
16:56:43 21    earlier -- less than three weeks earlier, you
16:56:45 22    hire a public relations firm. You terminate the
16:56:50 23    account of one of your largest customers because
16:56:53 24    somebody reveals -- right? -- that there may have
16:56:56 25    been or alleges a massive fraud being conducted

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16:57:04   1   by a customer -- by a very big customer of yours.
16:57:07   2               Right?
16:57:09   3               Three weeks after that -- less than
16:57:11   4   three weeks after that --
16:57:12   5          A.   I -- I didn't agree --
16:57:13   6               MR. GURVITS: You need to -- you need
16:57:13   7   to let him finish the question --
16:57:16   8               THE WITNESS: Okay.
16:57:16   9               MR. GURVITS: -- and wait for me
16:57:17 10    to object --
16:57:17 11                MR. SIEGEL: You know what? I'll --
16:57:18 12                THE WITNESS: Okay.
16:57:18 13                MR. GURVITS: -- and then ask.
16:57:18 14                THE WITNESS: When you are -- when you
16:57:19 15    are asking "right" --
16:57:20 16                MR. GURVITS: No, no, wait. Wait.
16:57:20 17                THE WITNESS: -- it is not a question;
16:57:21 18    yes?
16:57:21 19                MR. SIEGEL: Okay.
16:57:21 20                MR. GURVITS: I just need you to stop
16:57:22 21    talking. Listen to the question and answer.
16:57:25 22                THE WITNESS: Yes.
16:57:25 23                MR. GURVITS: Thank you.
16:57:25 24                THE WITNESS: My question is: When
16:57:25 25    you --

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16:57:26   1               MR. GURVITS: Don't ask questions.
16:57:27   2               THE WITNESS: Okay.
16:57:28   3         Q.    BY MR. SIEGEL: It never -- you did
16:57:28   4   not think that three weeks after the methbot
16:57:31   5   episode that it might be that there was another
16:57:40   6   example of illegal activity going on on -- by
16:57:44   7   one of your customers --
16:57:46   8               MR. GURVITS: Objection.
16:57:46   9         Q.    BY MR. SIEGEL: -- as described in
16:57:47 10    the dossier? That never occurred to you?
16:57:50 11                MR. GURVITS: Objection.
16:57:57 12                THE WITNESS: No.
16:58:02 13                Now I have a very technical question.
16:58:04 14    When you're asking "right," I'm not supposed
16:58:07 15    to answer that; yes?
16:58:08 16          Q.    BY MR. SIEGEL: Well, sometimes you
16:58:09 17    are. But forget about my question before.
16:58:12 18          A.    Okay.
16:58:12 19          Q.    I just asked you another question;
16:58:12 20    right?
16:58:12 21          A.    Because -- because --
16:58:12 22          Q.    And you understood the question I
16:58:14 23    just asked you; right?
16:58:16 24                MR. GURVITS: Objection.
16:58:18 25                THE WITNESS: No.

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16:58:19   1         Q.    BY MR. SIEGEL: Well, okay. I'll ask
16:58:20   2   it again.
16:58:22   3               Three weeks after the methbot incident
16:58:26   4   or the news about the methbot incident, it never
16:58:32   5   occurred to you that there might be another customer
16:58:37   6   that was conducting illegal activity as alleged in
16:58:42   7   the dossier?
16:58:43   8               MR. GURVITS: Objection.
16:58:49   9               THE WITNESS: I didn't think about that.
16:58:58 10                MR. SIEGEL: Let's go to Exhibit 81.
16:59:17 11                THE WITNESS: (Examining.) None of it
16:59:17 12    is marked.
16:59:18 13                MR. SIEGEL: Yeah, we may need to start
16:59:21 14    marking them again. I thought these were marked.
16:59:23 15    No, I guess not. So let's start marking again.
16:59:28 16    So let's mark it as Exhibit 81.
16:59:32 17                THE WITNESS: Should I return that?
16:59:34 18                MR. SIEGEL: Yeah.
16:59:51 19                (Exhibit 81 marked.)
16:59:56 20          Q.    BY MR. SIEGEL: So Exhibit 81 indicates
17:00:00 21    that -- I'm sorry. Yes. Exhibit 81 indicates
17:00:03 22    that Mr. Gubarev reached out to Mr. Dolan, copying
17:00:08 23    you; right?
17:00:09 24                And did you retain Mr. Dolan to provide
17:00:15 25    services in connection with the dossier?

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17:00:18   1         A.    No.
17:00:19   2         Q.    You didn't? You didn't retain him to
17:00:22   3   provide services in connection with the publicity
17:00:26   4   relating to the dossier?
17:00:27   5         A.    No.
17:00:29   6         Q.    What did you retain him for?
17:00:31   7         A.    We retained him for crisis communications.
17:00:43   8         Q.    Right.
17:00:43   9               (Court reporter clarification.)
17:00:31 10                THE WITNESS: We retained him for crisis
17:00:43 11    communications.
17:00:43 12                MS. BOLGER: "Crisis."
17:00:43 13                THE WITNESS: "Crisis communications."
17:00:43 14    I'm sorry for my English.
17:00:48 15          Q.    BY MR. SIEGEL: Okay. And so did you --
17:00:50 16    in your mind, was this part of the services you
17:00:53 17    had already retained him for?
17:00:59 18          A.    Yes.
17:01:00 19          Q.    Okay. So you reached out to him right
17:01:04 20    away; right? Or Mr. Gubarev reached out to him
17:01:07 21    right away?
17:01:11 22          A.    I don't know when Mr. Gubarev reached --
17:01:13 23          Q.    Well, the e-mail's --
17:01:13 24          A.    -- out to him.
17:01:13 25          Q.    -- dated January 11th at 12:50 a.m.;

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17:01:16   1   right?
17:01:18   2         A.    Right.
17:01:18   3         Q.    And the dossier was published -- I can
17:01:22   4   represent to you -- in U.S. time on January 10th
17:01:25   5   around 5:20, roughly, in the p.m.
17:01:30   6               Right?
17:01:30   7         A.    Uh-huh.
17:01:31   8         Q.    So this, in fact, is January 11, 2017,
17:01:34   9   Cyprus time at 12:50 a.m. That's within about
17:01:38 10    a half an hour of the dossier being published.
17:01:42 11          A.    Okay.
17:01:42 12          Q.    And Mr. Gubarev reaches out right away
17:01:46 13    to Mr. Dolan; right?
17:01:47 14          A.    Yes.
17:01:48 15          Q.    Just as you did when you learned about
17:01:50 16    the White Ops report; right?
17:01:52 17                MR. GURVITS: Objection.
17:01:52 18                THE WITNESS: No.
17:01:53 19          Q.    BY MR. SIEGEL: No?
17:01:56 20                What's wrong about -- what is not
17:01:58 21    correct about that question?
17:02:01 22          A.    I -- it is -- we didn't do the same
17:02:06 23    thing.
17:02:07 24          Q.    What was different?
17:02:11 25          A.    The timing and the content of the e-mail.

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17:02:15   1         Q.    Okay. So the timing was even a little
17:02:18   2   quicker with the dossier; right?
17:02:19   3         A.    I don't remember the timing for --
17:02:26   4         Q.    Well, how can you say the timing was
17:02:29   5   different?
17:02:31   6         A.    Well, actually, yes, probably the
17:02:33   7   dossier was quicker.
17:02:35   8         Q.    The dossier was quicker. Okay.
17:02:37   9               Is it fair to say that you're reaching
17:02:41 10    out for the same reasons? You wanted assistance
17:02:42 11    with crisis communications?
17:02:44 12          A.    I -- I don't know which reason Aleksej
17:02:47 13    pursued.
17:02:48 14          Q.    You really don't? Okay.
17:02:49 15                Do you have a belief that he was doing it
17:02:51 16    because he was interested in crisis communications
17:02:56 17    assistance?
17:02:59 18          A.    No.
17:02:59 19          Q.    No?
17:03:00 20          A.    No.
17:03:00 21          Q.    So what do you -- why do you think he
17:03:03 22    was doing it, reached out to Mr. Dolan?
17:03:07 23          A.    I believe he was asking here -- as it
17:03:11 24    says, he was asking for an advice.
17:03:16 25          Q.    Okay. About how to handle a possible

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17:03:20   1   public relations crisis?
17:03:24   2         A.    He was asking for an advice.
17:03:26   3         Q.    Okay. And --
17:03:26   4         A.    I don't want to imply what he meant.
17:03:33   5               MR. SIEGEL: Okay. Let me show you --
17:03:33   6   let's mark this as Exhibit 82.
17:03:35   7               (Exhibit 82 marked.)
17:03:50   8               THE WITNESS: (Examining.) Aah, no,
17:03:50   9   it's not marked.
17:03:50 10          Q.    BY MR. SIEGEL: Yes, it's just one.
17:03:51 11    I'm sorry. I'm giving you -- it's one marked --
17:03:52 12    the top one 82. And then hand the second copy
17:03:57 13    to Val.
17:03:58 14          A.    Okay. So I just passed one copy.
17:04:20 15          Q.    So Exhibit 82 is an e-mail from Mr. Dolan
17:04:23 16    to Mr. Gubarev, copying you; right?
17:04:25 17                And Mr. Dolan says:
17:04:28 18                "Please be absolutely certain that none
17:04:30 19    of your servers were in any way involved - even
17:04:35 20    innocently."
17:04:37 21                Did you undertake any efforts to make
17:04:39 22    absolutely certain that none of your servers
17:04:41 23    were in any way involved even innocently?
17:04:56 24          A.    I did.
17:04:57 25          Q.    What did you do?

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17:05:01   1         A.    I told Konstantin about this request.
17:05:04   2               (Court reporter clarification.)
17:05:04   3               THE WITNESS: I told Konstantin
17:05:04   4   Bezruchenko about this request.
17:05:08   5         Q.    BY MR. SIEGEL: And did Mr. Bezruchenko
17:05:12   6   do anything in response to it?
17:05:20   7         A.    He -- he did something.
17:05:22   8         Q.    What did he do?
17:05:23   9         A.    I don't know.
17:05:26 10          Q.    How do you know that he did something?
17:05:29 11          A.    He told me he -- he will do something.
17:05:32 12          Q.    And what did he tell you?
17:05:34 13          A.    He told me something along the lines:
17:05:37 14    Okay, I will handle that.
17:05:40 15          Q.    And did he ever report back to you what
17:05:43 16    the results of that were?
17:05:45 17          A.    No.
17:05:45 18          Q.    No? You never asked him?
17:05:47 19          A.    No. I never asked him.
17:05:49 20          Q.    Why not?
17:05:52 21          A.    I wasn't interested in that.
17:06:01 22          Q.    To this day, are you absolutely certain
17:06:06 23    that no server connected to any subsidiary of XBT
17:06:14 24    was ever used in any attempt to hack Democrats
17:06:20 25    in the United States?

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17:06:29   1         A.    I'm certain.
17:06:30   2         Q.    And on what basis are you certain?
17:06:33   3         A.    Just I'm -- I'm positive. That's it.
17:06:39   4         Q.    And how -- why are you positive?
17:06:46   5         A.    Just I -- I'm sure. That's it.
17:06:52   6         Q.    Do you know who John Podesta is?
17:06:57   7         A.    Who?
17:06:57   8         Q.    John Podesta.
17:07:01   9               Have you ever heard that name?
17:07:03 10          A.    No.
17:07:03 11          Q.    Okay. Do you believe that the Russian
17:07:04 12    government was involved in efforts to hack the
17:07:08 13    Democratic National Committee --
17:07:11 14          A.    I don't know.
17:07:11 15          Q.    -- in 2016?
17:07:13 16          A.    I don't know.
17:07:13 17          Q.    I didn't ask you if you knew.
17:07:15 18                I asked you: Do you believe that the
17:07:17 19    Russian government was involved in efforts to
17:07:20 20    hack the Democratic National Committee in 2016?
17:07:24 21          A.    I have no opinion on that.
17:07:26 22          Q.    None whatsoever?
17:07:28 23          A.    None whatsoever.
17:07:29 24          Q.    You're the CEO of an Internet hosting
17:07:31 25    company, and you have no opinion whatsoever as

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17:07:33   1   to whether the Russian government was involved
17:07:39   2   in hacking the DNC or other Democrats in the
17:07:43   3   United States?
17:07:44   4         A.    Yes.
17:07:44   5         Q.    Okay. Who do you think was responsible
17:07:48   6   for hacking the DNC?
17:07:51   7         A.    I don't know.
17:07:51   8         Q.    Do you believe that the Russian
17:07:52   9   government had any involvement in any
17:07:55 10    cyber-activity intended to interfere with
17:07:59 11    the American presidential election in 2016?
17:08:04 12          A.    I have no opinion on that.
17:08:05 13          Q.    Are you giving me that answer because
17:08:07 14    you're afraid of some reprisal from the Russian
17:08:11 15    government if you tell the truth?
17:08:13 16          A.    No.
17:08:17 17          Q.    So how is it that you have absolutely
17:08:20 18    no opinion about a matter that has been at the
17:08:23 19    center of discussion around the world that is
17:08:28 20    directed to Internet-related activity?
17:08:31 21                MR. GURVITS: Objection.
17:08:36 22                THE WITNESS: I don't know if it is
17:08:37 23    a center of any discussion.
17:08:57 24                MR. SIEGEL: Let's mark this Exhibit 83.
17:09:00 25                (Exhibit 83 marked.)

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17:09:28   1         Q.    BY MR. SIEGEL: Exhibit 83 is, again,
17:09:30   2   e-mails in which there was a draft of a statement
17:09:32   3   for a website for XBT. If you go down to the
17:09:37   4   second paragraph in that e-mail, it says:
17:09:42   5               "There has been absolutely no involvement
17:09:45   6   by XBT or any of its subsidiaries with the people
17:09:48   7   or alleged activities in this unsubstantiated
17:09:52   8   report."
17:09:53   9               Is that true?
17:09:53 10          A.    (Examining.) That's what's in the
17:09:56 11    e-mail.
17:09:56 12          Q.    I know it's in the e-mail.
17:09:57 13                But is it true?
17:09:58 14          A.    What?
17:10:00 15          Q.    That there has been absolutely no
17:10:04 16    involvement by XBT or any of its subsidiaries
17:10:04 17    with the people or alleged activities in this
17:10:07 18    unsubstantiated report?
17:10:21 19          A.    It's true.
17:10:22 20          Q.    Okay. How do you know it's true?
17:10:26 21          A.    I -- I know it's true.
17:10:27 22          Q.    You just do?
17:10:29 23          A.    Yeah. I -- I just know it's true.
17:10:37 24          Q.    Do -- do you understand that sentence
17:10:42 25    to mean that there has been absolutely no

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17:10:48   1   involvement by any customer of XBT using any
17:10:51   2   XBT server with the people or alleged activities
17:10:55   3   in this unsubstantiated report?
17:10:58   4               MR. GURVITS: Objection.
17:10:59   5               THE WITNESS: I believe that sentence
17:11:00   6   means exactly what is in this sentence, nothing
17:11:05   7   more, nothing less.
17:11:06   8         Q.    BY MR. SIEGEL: Well, all sentences
17:11:07   9   mean exactly what's in the sentence; right?
17:11:09 10          A.    Yes.
17:11:10 11          Q.    Okay. But do you understand this
17:11:12 12    sentence to be referring only to involvement
17:11:16 13    by XBT or its employees? Or do you understand
17:11:23 14    it to be referring to involvement by any customer
17:11:27 15    of XBT or any of its subsidiaries in connection
17:11:30 16    with a server owned or leased by XBT?
17:11:40 17                MR. GURVITS: Objection.
17:11:41 18                THE WITNESS: Neither of that.
17:11:42 19          Q.    BY MR. SIEGEL: Neither? Okay.
17:11:43 20                So how do you understand it?
17:11:45 21          A.    I understand that this sentence
17:11:49 22    says that there was no involvement by XBT or
17:11:55 23    its subsidiaries with the people or alleged
17:12:02 24    activities --
17:12:03 25          Q.    Okay.

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17:12:03   1         A.    -- in the report.
17:12:04   2         Q.    If it turned out that there was a
17:12:06   3   customer of XBT that was involved --
17:12:07   4               (Brief technical interruption.)
17:12:11   5               THE VIDEOGRAPHER: I have to go off
17:12:13   6   the record.
17:12:13   7               MR. SIEGEL: Okay.
17:12:13   8               THE VIDEOGRAPHER: Sorry about that.
17:21:11   9               (Recess from 5:12 p.m. to 5:21 p.m.)
17:21:15 10                THE VIDEOGRAPHER: This is the beginning
17:21:16 11    of DVD No. 4. Back on the record at 5:21.
17:21:20 12          Q.    BY MR. SIEGEL: Okay. So, again,
17:21:24 13    with Exhibit 83, the line that we've just been
17:21:28 14    discussing, starting with:
17:21:29 15                "There has been absolutely no involvement
17:21:32 16    by XBT."
17:21:33 17          A.    Uh-huh.
17:21:33 18          Q.    If it were to turn out that there was
17:21:35 19    a customer of XBT using a server leased from
17:21:39 20    XBT that was involved in any attempt to hack
17:21:43 21    the Democrats in the United States, would this
17:21:48 22    statement be inaccurate?
17:21:52 23                MR. GURVITS: Objection.
17:21:53 24                THE WITNESS: I don't hypothesize.
17:21:56 25          Q.    BY MR. SIEGEL: So you're telling me

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17:21:58   1   you're refusing to answer that statement -- that
17:22:00   2   question?
17:22:02   3         A.    I refuse to answer that question.
17:22:04   4         Q.    Okay. The statement goes on to say:
17:22:09   5               "XBT ... management believes that the
17:22:11   6   information presented in the report, as well
17:22:13   7   as the media that distribute this information,
17:22:16   8   cannot be accounted as credible." (As read.)
17:22:20   9               Does XBT management believe that
17:22:25 10    Mr. Steele's dossier is not credible?
17:22:29 11          A.    I don't know.
17:22:30 12          Q.    You don't know?
17:22:31 13          A.    I don't know.
17:22:31 14          Q.    Well, you're part of XBT management,
17:22:33 15    aren't you?
17:22:35 16          A.    I am a part.
17:22:36 17          Q.    Do you believe that Mr. deal --
17:22:36 18    Steele's dossier is not credible?
17:22:39 19          A.    I don't know anything about that.
17:22:43 20          Q.    Do you know anyone in XBT management
17:22:45 21    who does?
17:22:52 22          A.    I don't know.
17:22:52 23          Q.    So what is the basis of the statement
17:22:53 24    that XBT Holding management believes the information
17:22:56 25    presented in the report cannot be accounted as

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17:22:59   1   credible?
17:23:00   2         A.    I don't know.
17:23:00   3         Q.    You don't know?
17:23:01   4         A.    I don't know.
17:23:01   5         Q.    It says that:
17:23:09   6               "Our management condemns these
17:23:11   7   activities and has offered to fully cooperate
17:23:13   8   with law enforcement officials investigating
17:23:17   9   this matter."
17:23:18 10                Did XBT or any of its subsidiaries
17:23:19 11    offer to fully cooperate with law enforcement
17:23:22 12    officials?
17:23:24 13          A.    I don't know.
17:23:24 14          Q.    You don't know? So you don't know
17:23:24 15    whether that statement is true either?
17:23:27 16          A.    I don't know.
17:23:28 17                MR. GURVITS: Objection.
17:23:33 18                MR. SIEGEL: Let's make this Exhibit 84.
17:23:35 19                (Exhibit 84 marked.)
17:23:56 20          Q.    BY MR. SIEGEL: Exhibit 84 is an e-mail
17:23:57 21    from you to Mr. Dolan -- right? -- forwarding
17:24:00 22    a message from a Maria Tumar at Russia Today
17:24:05 23    channel; right?
17:24:09 24                Is that correct?
17:24:09 25          A.    (Examining.) It is an e-mail from me

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17:24:13   1   to Mr. Dolan. Correct.
17:24:15   2         Q.    Right. And what is the -- the website
17:24:16   3   [sic] "pr@webzilla.com," what is that, that
17:24:20   4   Ms. Tumar's e-mail appears to?
17:24:21   5         A.    It is an e-mail address.
17:24:23   6         Q.    And who has access to it?
17:24:26   7         A.    I don't know.
17:24:27   8         Q.    Did you have access to it?
17:24:30   9         A.    I did.
17:24:32 10          Q.    And is it -- does "pr" stand for "public
17:24:37 11    relations"?
17:24:39 12          A.    I had an access to this e-mail.
17:24:42 13          Q.    What's that?
17:24:42 14          A.    I had an access to this e-mail. I --
17:24:47 15          Q.    How did you have access to it?
17:24:49 16          A.    I asked Konstantin to provide me that
17:24:54 17    access.
17:24:54 18          Q.    Okay. So that was a website -- that
17:24:57 19    website existed before January 10?
17:25:00 20                I'm -- I'm sorry.
17:25:01 21                Did that e-mail address exist before
17:25:03 22    January 10th?
17:25:05 23          A.    I don't know.
17:25:05 24          Q.    Okay. And you forwarded it to Mr. Dolan.
17:25:08 25    And you say:

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17:25:11   1               "FYI again, Alex was already contacted
17:25:13   2   directly, but this won't make any harm. They're
17:25:18   3   on our side here."
17:25:18   4               Right?
17:25:19   5         A.    Right.
17:25:19   6         Q.    Why did you write that Russia Today
17:25:20   7   international news was on your side here?
17:25:30   8         A.    Because I was told by Aleksej that,
17:25:37   9   just as us, their reporter told him that, just
17:25:44 10    as us, they didn't believe that XBT, Webzilla,
17:25:50 11    or Aleksej Gubarev were involved in the activities
17:25:57 12    mentioned in the report published.
17:25:59 13                MR. SIEGEL: Okay. Let's make this
17:26:19 14    Exhibit 85.
17:26:20 15                (Exhibit 85 marked.)
17:26:43 16          Q.    BY MR. SIEGEL: Okay. Exhibit 85 is
17:26:52 17    a series of e-mails back and forth, involving
17:26:55 18    you, Mr. Dolan, and some others.
17:27:00 19                Do you see, in the middle of the first
17:27:03 20    page, page 48, there's an e-mail from you on
17:27:07 21    January 12th, 2017, at 6:06; right? And you
17:27:12 22    write:
17:27:12 23                "One more question. Should we mention
17:27:14 24    lawsuit in the official statement? Wouldn't it
17:27:17 25    make media willing to follow this topic instead

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17:27:20   1   of dropping it?"
17:27:21   2               What was the -- and Aleksej Gubarev
17:27:24   3   responds:
17:27:25   4               "Ok, remove."
17:27:26   5               What -- what was the concern that you
17:27:28   6   had about mentioning the lawsuit in the official
17:27:31   7   statement?
17:27:31   8         A.    (Examining.) I wanted the fact that
17:27:54   9   XBT, Webzilla were mentioned in the dossier to
17:28:01 10    have as little attention as possible.
17:28:05 11          Q.    And you were concerned that mentioning
17:28:06 12    in a lawsuit would bring more attention to that,
17:28:09 13    more press attention to that?
17:28:11 14          A.    That's correct.
17:28:13 15          Q.    Do you still share that -- do you still
17:28:13 16    have that concern today?
17:28:18 17          A.    I don't know.
17:28:23 18                MR. SIEGEL: Let's go to Exhibit 86.
17:28:27 19                (Exhibit 86 marked.)
17:28:53 20          Q.    BY MR. SIEGEL: Okay. In the -- again,
17:28:56 21    these are e-mails about the statement for the
17:28:59 22    website. In the middle of page 1 of -- of this
17:29:04 23    chain, you write to Mr. Dolan on January 12th
17:29:09 24    at 10:32 a.m. You say:
17:29:09 25                "... Chuck, that looks fine. But

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17:29:14   1   there is one question." (As read.)
17:29:16   2               You go on to say:
17:29:17   3               "I am asking because we want to protect
17:29:20   4   not only XBT/Webzilla brands, but personal brand
17:29:24   5   of Alex, which happens to be our most valuable
17:29:30   6   asset in terms of branding right now."
17:29:32   7               What did you mean by that?
17:29:34   8         A.    (Examining.) I meant that I, as a
17:29:42   9   manager for Servers.com, cared about the image
17:29:49 10    of Aleksej Gubarev.
17:29:53 11          Q.    And why do you care about the image
17:29:56 12    of Aleksej Gubarev?
17:29:58 13          A.    Because he was the CEO of the company.
17:30:00 14          Q.    Okay. And did you also believe that the
17:30:16 15    same concern existed with respect to XBT/Webzilla
17:30:20 16    brands, which is what you wrote in the e-mail?
17:30:30 17          A.    I didn't think much about that.
17:30:34 18                (Court reporter clarification.)
17:30:34 19                THE WITNESS: I didn't think about that.
17:30:35 20          Q.    BY MR. SIEGEL: Okay. The top of the --
17:30:41 21    Mr. Dolan responds by saying:
17:30:45 22                "Nick - yes, I agree. And in terms of
17:30:45 23    branding - please get logo and Amsterdam address
17:30:48 24    signature for all e-mails ASAP."
17:30:53 25                And then you responded:

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17:30:54   1               "... that's agreed, can you please
17:30:55   2   send the final version." (As read.)
17:30:57   3               Why use the logo and the Amsterdam
17:31:00   4   address?
17:31:00   5         A.    I don't know.
17:31:00   6         Q.    You don't know?
17:31:00   7         A.    I don't know.
17:31:00   8               (Court reporter clarification.)
17:31:00   9               MR. SIEGEL: I'll show you -- which
17:31:00 10    exhibit number are we on?
17:31:00 11                MR. GURVITS: 86.
17:31:00 12                MR. SIEGEL: 86.
17:31:00 13                MR. GURVITS: So that's 87.
17:31:00 14                MR. SIEGEL: Right. Mark this 87.
17:31:00 15                (Exhibit 87 marked.)
17:31:00 16          Q.    BY MR. SIEGEL: Exhibit 87 appears
17:31:00 17    to be an invoice for $5,000 from KB -- KGlobal
17:32:13 18    on January 12, 2017, for:
17:32:17 19                "Russian Media."
17:32:18 20                Do you know what that was about or
17:32:20 21    for what services that was for?
17:32:21 22          A.    (Examining.) I know.
17:32:22 23          Q.    What?
17:32:27 24          A.    KGlobal hired a sub-contractor,
17:32:31 25    a Russian-speaking one, who was helping

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17:32:38   1   them to communicate with the media with --
17:32:48   2   who was hired to help them communicate with
17:32:52   3   the Russian-speaking media on the subject of
17:32:55   4   inclusion of XBT and Webzilla in the dossier.
17:32:59   5               MR. SIEGEL: Okay. Let's mark this
17:33:17   6   as Exhibit 88.
17:33:18   7               (Exhibit 88 marked.)
17:33:49   8         Q.    BY MR. SIEGEL: Okay. Exhibit 88 is
17:33:52   9   a e-mail from you to Mr. Dolan, the top one.
17:33:57 10    And this appears to be in connection with the
17:34:01 11    logo. He writes to you:
17:34:04 12                "We suggest using the Luxembourg address."
17:34:06 13                And you say:
17:34:06 14                "Just to clarify, we do not want me or
17:34:10 15    anyone other than Alex himself to be associated
17:34:12 16    with XBT."
17:34:17 17                Why?
17:34:19 18          A.    (Examining.) I didn't want to be
17:35:01 19    associated with XBT because I was a manager
17:35:07 20    for Servers.com. And I was afraid that damage
17:35:16 21    done to XBT with the publication of the dossier
17:35:24 22    would affect Servers.com.
17:35:28 23          Q.    Okay. And as a result, you didn't
17:35:34 24    want anything connected with Servers.com --
17:35:36 25    right? -- to be associated with XBT for any

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17:35:43   1   statement about the dossier?
17:35:45   2         A.    I didn't want that.
17:35:46   3               MR. SIEGEL: Okay. Let's mark this
17:36:02   4   Exhibit 89.
17:36:20   5               (Exhibit 89 marked.)
17:36:26   6         Q.    BY MR. SIEGEL: You write to Mr. Dolan
17:36:28   7   saying:
17:36:29   8               "Alex had an idea (and I generally
17:36:31   9   support it) to bomb the market with press
17:36:33 10    releases from Webzilla."
17:36:36 11                Right? And you offer some ideas.
17:36:39 12                "Webzilla ends 2016 with 27 percent"
17:36:41 13    year-over-year "growth." (As read.)
17:36:42 14                And another one. Did you -- did you
17:36:55 15    end up doing that? Did Webzilla end up doing
17:36:59 16    that, bombing the market with press releases?
17:37:05 17          A.    (Examining.) I don't know.
17:37:05 18          Q.    You don't know?
17:37:08 19                Whatever came of this idea?
17:37:14 20          A.    At least one press release did.
17:37:19 21          Q.    Was released?
17:37:19 22          A.    At least one press release did.
17:37:19 23          Q.    Okay. At the bottom of the e-mail,
17:37:22 24    you say:
17:37:24 25                "BK will be your point of contact for

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17:37:27   1   all Webzilla-related, but no names should be
17:37:29   2   mentioned in Webzilla PR."
17:37:31   3               Why?
17:37:37   4         A.    I don't understand the question.
17:37:38   5         Q.    Why did you say that no names should
17:37:40   6   be mentioned? I gather you mean names of people
17:37:41   7   should be mentioned in Webzilla PR?
17:37:41   8         A.    I meant names of people. I do not
17:37:41   9   recollect why.
17:37:41 10          Q.    Okay.
17:37:41 11                (Court reporter clarification.)
17:37:54 12                MR. SIEGEL: Okay. We just -- we have
17:37:54 13    to leave at 6:00. So --
17:38:02 14                THE VIDEOGRAPHER: Going off the record,
17:38:02 15    5:37.
17:38:02 16                (Brief discussion held off the record.)
17:38:42 17                THE VIDEOGRAPHER: Back on the record
17:38:43 18    at 5:38.
17:38:46 19                MR. SIEGEL: We're on Exhibit 90.
17:38:50 20                THE WITNESS: 89. It was 89.
17:38:50 21                MR. SIEGEL: This is 90. Right.
17:38:53 22    Mark this as 90.
17:38:59 23                (Exhibit 90 marked.)
17:38:59 24          Q.    BY MR. SIEGEL: So you -- you're the
17:39:00 25    CEO of XBT now; right?

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17:39:01   1         A.    That's correct.
17:39:03   2         Q.    Do you know how much money the
17:39:07   3   consolidated companies of XBT made in two
17:39:09   4   thousand -- well, how much revenue they
17:39:11   5   earned in 2017?
17:39:15   6         A.    I don't know the exact number.
17:39:16   7         Q.    What do you understand the number
17:39:17   8   to be approximately?
17:39:30   9         A.    Somewhere between 60 and 70 million.
17:39:34 10          Q.    Somewhere between 60 and 70?
17:39:36 11          A.    Yes.
17:39:37 12          Q.    Okay. I'm going to show you what's
17:39:38 13    been -- let's mark this as Exhibit 90.
17:39:45 14                And -- and what's the basis of that
17:39:47 15    estimate?
17:39:49 16          A.    Just -- I don't know. That's the --
17:39:52 17    the -- the numbers I had in my head.
17:40:08 18          Q.    Mr. Dvas, this is a chart that was just
17:40:11 19    produced to us a few days ago. And -- and I can
17:40:13 20    tell you there are actually a couple versions of
17:40:17 21    the chart that were produced to us in the last
17:40:17 22    few days, which appear to reflect revenue service --
17:40:21 23    revenue numbers for 2014 to 2017.
17:40:25 24                If you turn to the last page --
17:40:27 25          A.    (Examining.) Uh-huh.

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17:40:28   1         Q.    -- it seems to reflect total revenues
17:40:32   2   for whatever this chart is referring to of 58.277
17:40:37   3   million. An earlier document was produced to us
17:40:42   4   with a number that was 60 million or 60 million
17:40:43   5   and a little bit.
17:40:45   6               Do you know if this is the total revenue
17:40:47   7   of -- this number is the total revenue of XBT in
17:40:50   8   2017?
17:40:59   9         A.    I cannot confirm that.
17:41:01 10          Q.    You --
17:41:01 11          A.    I don't know -- I don't know that.
17:41:02 12          Q.    Okay. Have the -- has the consolidated
17:41:08 13    annual report for XBT been completed?
17:41:16 14          A.    No.
17:41:17 15          Q.    No, it hasn't been?
17:41:19 16          A.    It -- we don't have an audited report
17:41:23 17    for this year -- or for the previous year so far.
17:41:26 18          Q.    Okay. Meaning it just hasn't been
17:41:28 19    finished yet?
17:41:29 20          A.    Meaning there is -- there are no
17:41:32 21    figures approved by a independent audit.
17:41:36 22          Q.    By KPMG?
17:41:39 23          A.    Or anyone else.
17:41:39 24          Q.    Okay.
17:41:39 25          A.    Yes.

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17:41:40   1         Q.    Have there been any figures approved
17:41:43   2   internally or submitted to KPMG?
17:41:47   3         A.    I don't know.
17:41:50   4         Q.    The page 3 of this -- of this document
17:41:53   5   indicates that total revenue for XBT in 2016 was
17:41:58   6   49.727 million.
17:42:01   7         A.    Uh-huh.
17:42:02   8         Q.    And then whether the final number
17:42:05   9   in 2017 is 58, 60, or something else, why do
17:42:15 10    you believe that revenue increased by roughly
17:42:19 11    $10 million or perhaps more in 2017?
17:42:25 12          A.    Because we provide the best services
17:42:27 13    on the market.
17:42:29 14          Q.    Okay. Do you know -- do you have any
17:42:38 15    estimate of what the company's consolidated net
17:42:41 16    profit was in 2017?
17:42:44 17          A.    No.
17:42:45 18          Q.    No idea?
17:42:46 19          A.    No idea.
17:42:47 20                (Brief interruption in the proceedings.)
17:42:47 21          Q.    BY MR. SIEGEL: Did XBT or Webzilla
17:43:05 22    lose any customers as a result of the publication
17:43:08 23    of the dossier?
17:43:12 24          A.    Yes.
17:43:12 25          Q.    Which -- why do you say "yes"? What --

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17:43:13   1   what's the basis of that answer?
17:43:20   2          A.   Because I was told by our CFO that the
17:43:26   3   growth is less than expected.
17:43:30   4          Q.   Okay. Can you identify expected by whom?
17:43:34   5   By him?
17:43:37   6          A.   Yes.
17:43:37   7          Q.   Can you identify any customers that were
17:43:41   8   lost due to the publication of the dossier?
17:43:46   9          A.   I cannot.
17:43:59 10           Q.   Do you know who -- can you identify any
17:44:03 11    customers that you did not obtain as new customers
17:44:08 12    as a result of the publication of the dossier?
17:44:11 13           A.   The question is?
17:44:11 14           Q.   Well, are there any customers that you
17:44:14 15    did not -- who did not become new customers after
17:44:19 16    January 10th, 2017, as a result of the publication
17:44:22 17    of the dossier?
17:44:23 18           A.   There are.
17:44:26 19           Q.   And what is the basis of that statement?
17:44:29 20           A.   Because our growth has been slower than
17:44:35 21    expected.
17:44:37 22           Q.   Are you aware that the company grew more
17:44:40 23    in 2017 than any of the previous six years save
17:44:48 24    one?
17:44:48 25           A.   I'm not aware of that.

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17:44:51   1         Q.    Did -- can you identify a single potential
17:45:01   2   customer who you believe did not become a customer
17:45:05   3   due to publication of the dossier?
17:45:07   4         A.    I cannot.
17:45:09   5         Q.    Do you know who Vladimir Fomenko is?
17:45:16   6         A.    No.
17:45:20   7         Q.    Why did you become the CEO of the company?
17:45:23   8         A.    Because I was offered to.
17:45:25   9         Q.    Who offered it?
17:45:27 10          A.    Aleksej.
17:45:30 11          Q.    Did you -- were you offered an increase
17:45:32 12    in salary?
17:45:33 13          A.    Yes.
17:45:35 14          Q.    How much?
17:45:43 15          A.    80,000 euro a year increase.
17:45:46 16          Q.    And what were you making in 2016 before
17:45:50 17    you became CEO?
17:45:57 18          A.    100,000 a year.
17:46:01 19          Q.    And how much was Mr. Gubarev making
17:46:04 20    in 2016?
17:46:05 21          A.    I don't know.
17:46:06 22          Q.    You don't know?
17:46:07 23          A.    I don't know.
17:46:08 24          Q.    How much is he making in 2017?
17:46:11 25          A.    I don't know.

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17:46:12   1         Q.    Is he making a salary in 2017? Is he
17:46:18   2   being paid by XBT or any of its subsidiaries?
17:46:21   3         A.    No.
17:46:22   4         Q.    No? Are you saying "no," or you don't
17:46:26   5   know?
17:46:27   6         A.    He's not getting a salary from XBT or
17:46:29   7   any of its subsidiaries.
17:46:31   8         Q.    Is he getting any money of any kind, any
17:46:32   9   compensation from XBT or any of its subsidiaries?
17:46:48 10          A.    I don't remember him getting any money
17:46:51 11    in 2017 from XBT or from any of its subsidiaries.
17:46:58 12          Q.    Okay. But I'm -- I'm a little -- why
17:46:59 13    does that seem to be a difficult question for
17:47:01 14    you to answer?
17:47:03 15                MR. GURVITS: Objection.
17:47:06 16                THE WITNESS: I don't know why. I
17:47:08 17    might have to -- I don't remember every single
17:47:16 18    transaction made from XBT and its subsidiary
17:47:19 19    companies for sure.
17:47:20 20          Q.    BY MR. SIEGEL: Okay. Why -- do you
17:47:26 21    have an understanding of why Mr. Gubarev is no
17:47:31 22    longer the CEO?
17:47:33 23          A.    Because I am.
17:47:35 24          Q.    Well, yes. But why?
17:47:37 25                Is there any other reason, other than

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17:47:38   1   the mere fact that you are, that he is no longer
17:47:41   2   the CEO?
17:47:49   3         A.    I don't know anything about any other
17:47:51   4   reason.
17:47:55   5         Q.    So is it just that either he or the --
17:47:57   6   the board felt that it was time for a younger
17:48:02   7   man to move up?
17:48:09   8         A.    I don't know their -- his line of
17:48:12   9   reasoning.
17:48:13 10          Q.    So nobody ever told you a reason why
17:48:17 11    Mr. Gubarev was electing to step down as the CEO?
17:48:24 12                Actually, I don't want to -- strike that.
17:48:26 13                Nobody -- did anybody ever give you any
17:48:28 14    reason why Mr. Gubarev was leaving the position
17:48:33 15    of CEO?
17:48:40 16          A.    No.
17:48:42 17          Q.    Do you have any understanding of why
17:48:43 18    he left the position of CEO?
17:48:48 19          A.    I know only what he told me.
17:48:50 20          Q.    What did he tell you?
17:48:53 21          A.    That I'm a very good fit and he believes
17:48:57 22    I will grow the company.
17:49:00 23          Q.    Okay. And he didn't tell you anything
17:49:02 24    more?
17:49:03 25          A.    No.

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17:49:05   1         Q.    And neither did any other member of the
17:49:08   2   board?
17:49:08   3         A.    No.
17:49:10   4         Q.    Was there a board meeting in which you
17:49:12   5   were -- there was a vote on your becoming CEO?
17:49:15   6         A.    I don't know.
17:49:15   7         Q.    Okay. Does Mr. Gubarev continue to
17:49:20   8   have any position with XBT or any other subsidiary
17:49:25   9   today?
17:49:25 10          A.    No.
17:49:27 11          Q.    Does he work at the office?
17:49:42 12          A.    I don't know.
17:49:43 13          Q.    You don't know whether he works in the
17:49:45 14    office?
17:49:46 15                When was the last time you saw him in
17:49:48 16    the office?
17:49:52 17          A.    Beginning of this week.
17:49:53 18          Q.    This week you saw him?
17:49:55 19          A.    Yes.
17:49:55 20          Q.    Okay. Did you see him last week?
17:49:59 21          A.    No.
17:50:00 22          Q.    Before -- were you in the office last
17:50:02 23    week?
17:50:03 24          A.    Yes.
17:50:03 25          Q.    Okay. Before this week, when was the

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17:50:05   1   last time you saw him in the office?
17:50:07   2          A.   A couple of -- like, two, three weeks
17:50:11   3   ago, something like that.
17:50:12   4          Q.   Okay. Does he perform any services for
17:50:15   5   XBT or any of its subsidiaries?
17:50:17   6          A.   No.
17:50:18   7          Q.   Do you know who Nikita Kuzmin is?
17:50:18   8   Nikita Kuzmin?
17:50:24   9          A.   Yes.
17:50:24 10           Q.   Who is he?
17:50:27 11           A.   I met him. That's how I know him,
17:50:30 12    I -- I don't who's him.
17:50:33 13           Q.   When did you meet him?
17:50:37 14           A.   Summer two -- 2017.
17:50:40 15           Q.   Okay. And in what context did you meet
17:50:45 16    him?
17:50:45 17           A.   I met him at the party.
17:50:52 18                (Court reporter clarification.)
17:50:52 19                THE WITNESS: "Party."
17:50:52 20           Q.   BY MR. SIEGEL: What party?
17:50:53 21           A.   It was a corporate anniversary for
17:51:00 22    a customer.
17:51:01 23           Q.   For any customer?
17:51:03 24           A.   For a customer. For a customer of --
17:51:04 25    of -- for one customer of Webzilla.

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17:51:07   1         Q.    Where was the party?
17:51:08   2         A.    In Jurmala.
17:51:11   3         Q.    Which is where?
17:51:13   4         A.    Latvia.
17:51:13   5         Q.    Oh, in Latvia.
17:51:16   6               And who was the customer that the
17:51:17   7   party was for?
17:51:19   8         A.    Ecommpay.
17:51:24   9         Q.    Is that a name of a company or --
17:51:25 10          A.    Yes.
17:51:25 11          Q.    -- a person?
17:51:25 12          A.    It's a name of a company.
17:51:26 13          Q.    And is -- was the company based in
17:51:27 14    Latvia?
17:51:29 15          A.    Yes.
17:51:29 16          Q.    Who is the owner of that company?
17:51:38 17          A.    I don't know.
17:51:39 18          Q.    Is there an individual who owns that
17:51:41 19    company?
17:51:41 20          A.    I don't know who owns the company.
17:51:49 21          Q.    And were you involved in the purchase
17:51:50 22    of a company called ServerClub for Mr. Kuzmin?
17:51:55 23          A.    I was not. I didn't -- I don't even
17:51:59 24    know the fact that any company was purchased.
17:52:02 25          Q.    Okay. Have -- you've exchanged --

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17:52:06   1   I mean, we -- I can show them to you. But we --
17:52:06   2   you have e-mails exchanged in Russian between
17:52:09   3   you and Nikita K.
17:52:11   4               Does that ring a bell, in connection
17:52:15   5   with this company called ServerClub?
17:52:18   6         A.    Yes. We had -- we might have had such
17:52:22   7   communications.
17:52:22   8         Q.    Okay. And why? What was the purpose
17:52:28   9   of communicating with him?
17:52:30 10          A.    The purpose was to -- to facilitate
17:52:44 11    the execution of the agreement for purchase of
17:52:55 12    assets from ServerClub.
17:52:58 13          Q.    Okay. And are you -- do you have any
17:53:04 14    understanding as to whether Mr. Kuzmin ever
17:53:09 15    served time in jail in the United States?
17:53:11 16          A.    I don't know that.
17:53:13 17          Q.    Have you ever heard that?
17:53:14 18          A.    No.
17:53:15 19          Q.    Before today, have you ever heard that?
17:53:19 20          A.    No.
17:53:21 21          Q.    In connection with purchasing assets
17:53:23 22    of Mr. Kuzmin's company, did you ever undertake
17:53:27 23    any efforts to check his background?
17:53:34 24          A.    I didn't take any efforts.
17:53:36 25          Q.    Do you know if anybody else did?

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17:53:39   1         A.    I don't know.
17:53:46   2         Q.    Do you know -- are you familiar with
17:53:48   3   a company called LeaseWeb in Holland?
17:53:51   4         A.    Yes. I am familiar with that company.
17:53:53   5         Q.    And in the past, was there a relationship
17:53:59   6   between Webzilla and LeaseWeb?
17:54:03   7         A.    I don't know about such relationship.
17:54:06   8         Q.    Did Webzilla rent -- lease servers
17:54:12   9   from LeaseWeb?
17:54:14 10          A.    I don't know about that.
17:54:15 11          Q.    You don't know one way or the other?
17:54:19 12          A.    I don't -- don't know one way or the
17:54:21 13    other.
17:54:21 14          Q.    Well, you were the project manager
17:54:24 15    of Webzilla for a year and a half; right?
17:54:26 16          A.    That's correct.
17:54:27 17          Q.    So are -- do you have any knowledge
17:54:28 18    of any dealings with LeaseWeb that Webzilla had
17:54:35 19    in the time that you were the project manager?
17:54:40 20          A.    No.
17:54:40 21          Q.    No? Not at all?
17:54:42 22          A.    No.
17:54:42 23          Q.    You just don't know one way or the
17:54:43 24    other?
17:54:43 25          A.    No. I don't know.

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17:54:44   1         Q.    You don't know whether any of the
17:54:45   2   servers that Webzilla offers to customers came
17:54:50   3   from LeaseWeb or were leased from LeaseWeb?
17:54:53   4         A.    I don't know what happened.
17:54:56   5         Q.    I am going to show you a printout of
17:54:59   6   the policy from a website, the -- of Servers.com,
17:55:04   7   its policies.
17:55:05   8               MR. SIEGEL: Why don't we mark this
17:55:07   9   as Exhibit 91.
17:55:26 10                (Exhibit 91 marked.)
17:55:29 11          Q.    BY MR. SIEGEL: If you look at page 2 --
17:55:35 12          A.    Two. (Examining.)
17:55:35 13          Q.    -- and 3 -- or 2 of those policies; right?
17:55:38 14          A.    Uh-huh.
17:55:38 15          Q.    If you look at the bottom of page 2,
17:55:39 16    Section 5.1 says:
17:55:43 17                "Use and Misuse" of Servers -- "of the
17:55:45 18    Services." (As read.)
17:55:45 19                Do you see that?
17:55:46 20          A.    Which one?
17:55:47 21          Q.    5.1. Paragraph 5.1.
17:55:49 22          A.    Yes. 5.1, yes.
17:55:49 23          Q.    (Reading.)
17:55:50 24                "Use and Misuse of the Services."
17:55:52 25          A.    Yes.

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17:55:52   1         Q.    And it continues down for, oh, about
17:55:55   2   two and a half pages.
17:55:57   3         A.    Uh-huh.
17:56:05   4         Q.    Can you point to anywhere in these
17:56:08   5   policies that prohibits any adult content on
17:56:15   6   Servers.com?
17:56:16   7         A.    I'll have to spend time on that.
17:56:18   8         Q.    Okay.
17:56:18   9               MR. SIEGEL: Why don't you break for
17:56:18 10    a few minutes.
17:56:34 11                THE VIDEOGRAPHER: Going off the record
17:56:34 12    at 5:56.
17:56:34 13                (Recess from 5:56 p.m. to 5:58 p.m.)
17:58:24 14                THE VIDEOGRAPHER: Back on the record
17:58:25 15    at 5:58.
17:58:25 16                THE WITNESS: No, I cannot show it here.
17:58:54 17          Q.    BY MR. SIEGEL: What's that?
17:58:54 18          A.    I cannot show that here.
17:58:56 19          Q.    So what leads you to say that such
17:58:59 20    a policy exists?
17:59:02 21          A.    I'm positive that there is a place
17:59:04 22    on the website where it is stated that such
17:59:10 23    content is not allowed.
17:59:12 24          Q.    Okay. And how is such content defined?
17:59:24 25    What's the content that is not allowed?

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17:59:28   1         A.    Adult content.
17:59:29   2         Q.    What does that mean?
17:59:35   3         A.    I don't know the definition.
17:59:39   4         Q.    And how is it defined on the website?
17:59:47   5         A.    I don't know.
17:59:48   6         Q.    What do you think it means?
17:59:49   7         A.    Hmm?
17:59:49   8         Q.    What do you think it means?
17:59:54   9         A.    I -- I don't have a -- I don't have
17:59:56 10    a definition for that.
17:59:58 11          Q.    Say that again.
17:59:59 12          A.    I don't have a definition for that.
18:00:01 13          Q.    So how is a customer -- if you can't
18:00:04 14    define what the -- adult content that you contend
18:00:08 15    is not permitted even means, how is any customer
18:00:11 16    supposed to know?
18:00:21 17          A.    If an adult -- the customer will know --
18:00:31 18    actually, I don't know because -- I don't know.
18:00:42 19          Q.    If there were a policy against allowing
18:00:45 20    what you call adult content, why is it not anywhere
18:00:52 21    in the Servers policies about use and misuse of
18:00:56 22    the services?
18:00:58 23          A.    I don't know.
18:01:15 24          Q.    Okay. If -- look at page 2, 3, 4, 5 --
18:01:20 25    page 6.

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18:01:26   1         A.    Uh-huh.
18:01:28   2         Q.    You go down, about the third paragraph
18:01:30   3   from the bottom, it says:
18:01:31   4               "Material that constitutes, fosters,
18:01:32   5   or promotes child pornography."
18:01:37   6               That is not permitted; right?
18:01:38   7         A.    Uh-huh.
18:01:39   8         Q.    Okay. And the bottom says:
18:01:43   9               "The posting or display of any image
18:01:44 10    or wording depicting or" relating "to bestiality."
18:01:47 11    (As read.)
18:01:48 12                Right? Is not permitted.
18:01:51 13                And my question is -- so child pornography
18:01:56 14    is not permitted.
18:01:59 15                What about adult pornography?
18:02:02 16          A.    What about?
18:02:03 17          Q.    Adult pornography?
18:02:05 18          A.    It is not permitted.
18:02:07 19          Q.    And where does it say that?
18:02:11 20          A.    It does somewhere else.
18:02:13 21          Q.    Somewhere else?
18:02:14 22          A.    (Witness nods head in the affirmative.)
18:02:15 23          Q.    But you can't tell us where or what
18:02:17 24    it says?
18:02:18 25          A.    Not in this document.

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18:02:20   1         Q.    Well --
18:02:21   2         A.    Not in this document.
18:02:23   3         Q.    And you can't tell us what exactly it
18:02:26   4   says is not permitted?
18:02:28   5         A.    It says: Adult content is not permitted.
18:02:31   6         Q.    That's exactly the words that it uses?
18:02:33   7         A.    That is exactly the words.
18:02:36   8         Q.    If adult content is not permitted, then
18:02:40   9   why would you need to have a prohibition on child
18:02:44 10    pornography?
18:02:45 11                That is an example of adult content,
18:02:47 12    is it not?
18:02:52 13          A.    I don't know the reason.
18:02:55 14          Q.    Is there a document that contains
18:02:57 15    those words that you're referring to?
18:03:00 16          A.    Which words?
18:03:01 17          Q.    "Adult content is not permitted."
18:03:03 18          A.    There is a page from Servers.com website
18:03:05 19    that contains those words.
18:03:08 20          Q.    Okay. Have you ever -- do you know what
18:03:11 21    the FSB is in Russia?
18:03:15 22          A.    I do.
18:03:15 23          Q.    What is it?
18:03:18 24          A.    It is some kind of security agency.
18:03:23 25          Q.    Have you ever had any contact with

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18:03:27   1   any official of the FSB?
18:03:31   2         A.    I don't know.
18:03:32   3         Q.    Why do you say you don't know?
18:03:34   4         A.    Because you never know who's an
18:03:38   5   official in a security agency.
18:03:40   6         Q.    Okay. To your knowledge -- well, to
18:03:43   7   your knowledge, has -- well, have you ever had
18:03:47   8   any contact with anyone who you understood to
18:03:50   9   be an official of the FSB?
18:04:01 10          A.    No.
18:04:04 11          Q.    Are you aware of any contact that
18:04:06 12    Mr. Gubarev has had with anyone whom you
18:04:09 13    understood to be an official of the FSB?
18:04:12 14          A.    No.
18:04:13 15          Q.    And what about anyone -- any
18:04:19 16    representative of XBT or any of its subsidiaries,
18:04:23 17    are you aware of anyone who's ever -- ever had
18:04:25 18    any contact with anyone you understood to be
18:04:28 19    an official of the FSB?
18:04:30 20          A.    No. I'm not aware of that.
18:04:32 21          Q.    Or who worked for the FSB?
18:04:34 22          A.    I'm not aware of that.
18:04:36 23          Q.    How did you learn the name of the
18:04:38 24    official whose first name was Vadim that you
18:04:41 25    said you wrote a letter to? How did you know

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18:04:43   1   to direct that letter to him about the server
18:04:45   2   in Moscow -- or the network -- I'm sorry --
18:04:49   3   in Russia?
18:05:21   4         A.    I was advised by an employee from
18:05:27   5   Russia to do that.
18:05:30   6         Q.    And how did the employee tell you --
18:05:32   7   why did the employee tell you that was the best
18:05:37   8   action to take?
18:05:37   9         A.    I don't know.
18:05:38 10          Q.    I'll try to rephrase that.
18:05:40 11                Did the employee tell you why that
18:05:42 12    employee believed that was the best action to
18:05:46 13    take?
18:05:57 14          A.    No.
18:05:57 15          Q.    In order to open in -- when -- I think
18:06:01 16    you said it was United Networks in Russia opened
18:06:06 17    any points of presence in Russia, did that require
18:06:12 18    any sort of approval from the government --
18:06:17 19          A.    I don't know about that.
18:06:18 20          Q.    -- of Russia?
18:06:19 21          A.    I don't know about that.
18:06:20 22          Q.    You don't know one way or the other?
18:06:22 23          A.    I don't know one way or the other.
18:06:23 24          Q.    Who would know the answer to that
18:06:25 25    question?

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18:06:26   1         A.    The general manager of the United
18:06:29   2   Network.
18:06:30   3         Q.    And where is the general manager of
18:06:33   4   United Network?
18:06:34   5         A.    In Moscow.
18:06:35   6         Q.    What's his or her name?
18:06:38   7         A.    Sergey Krysenko.
18:06:40   8         Q.    And is United Networks, to your
18:06:46   9   knowledge, the only subsidiary that has any
18:06:50 10    points of presence in Russia, the only XBT
18:06:52 11    subsidiary?
18:07:03 12          A.    No.
18:07:04 13          Q.    Which other subsidiaries have points
18:07:07 14    of presence?
18:07:08 15          A.    No, the points of presence, yes. Yes.
18:07:13 16          Q.    Okay.
18:07:13 17          A.    Yes.
18:07:13 18          Q.    Which others -- do other subsidiaries
18:07:15 19    have any data centers in Russia?
18:07:18 20          A.    No.
18:07:18 21          Q.    Do any subsidiaries have any other
18:07:22 22    assets or interests in Russia?
18:07:24 23          A.    Yes.
18:07:25 24          Q.    What?
18:07:26 25          A.    There is a Webzilla Apps subsidiary.

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18:07:31   1   And it outsources some software development
18:07:39   2   to Russia.
18:07:40   3         Q.    Okay. So some of its software
18:07:45   4   development functions are outsourced to
18:07:47   5   Russian companies?
18:07:48   6         A.    Yes.
18:07:51   7         Q.    Does Webzilla Apps have any presence
18:07:54   8   in Russia, either physically or through any
18:07:58   9   employees?
18:08:00 10          A.    Via outsource only.
18:08:02 11          Q.    Okay. And -- and does that mean --
18:08:03 12    by outsourcing remotely, in other words, they
18:08:07 13    have a contract with a company in Russia?
18:08:10 14          A.    I don't know the details.
18:08:11 15          Q.    You don't know the details of it? Okay.
18:08:14 16                What kind of software?
18:08:17 17          A.    They are developing VPN software.
18:08:27 18          Q.    And now you're way above my pay grade.
18:08:27 19                So what is PPN [sic] software?
18:08:28 20          A.    VPN.
18:08:30 21          Q.    Oh, VPN software.
18:08:30 22          A.    VPN. VPN.
18:08:31 23          Q.    I'm sorry.
18:08:31 24          A.    VPN software.
18:08:33 25          Q.    In connection with opening any point

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18:08:37   1   of presence in Russia, did United Networks or
18:08:43   2   any subsidiary of XBT or Webzilla have to submit
18:08:47   3   any paperwork to the Russian government?
18:08:52   4         A.    I don't know.
18:08:52   5         Q.    And I'll ask you the same question in
18:08:53   6   connection with maintaining a point of presence.
18:08:56   7               Is there any paperwork that needs to
18:08:58   8   be submitted to the Russian government?
18:09:06   9         A.    Yes.
18:09:06 10          Q.    And I'm -- I'm --
18:09:06 11          A.    Yes.
18:09:06 12          Q.    And what is that?
18:09:09 13          A.    Tax filings.
18:09:12 14          Q.    All right. I was going to say I'm
18:09:12 15    going to exclude tax filings.
18:09:13 16                Other than tax filings, are you aware
18:09:15 17    of any paperwork that needs to be submitted
18:09:18 18    to the Russian government in connection with
18:09:21 19    maintaining any of those points of presence?
18:09:26 20          A.    No.
18:09:28 21          Q.    Okay.
18:09:28 22          A.    I'm not aware of that.
18:09:30 23                MR. SIEGEL: Let's go off the record.
18:09:31 24    I'll just -- I think that may be it. But we'll
18:09:34 25    just take a little break.

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18:09:40   1               THE VIDEOGRAPHER: Going off the record,
18:09:41   2    6:09.
18:10:17   3               (Brief discussion held off the record.)
18:10:24   4               THE VIDEOGRAPHER: Back on the record
18:10:25   5    at 6:10.
18:10:28   6               MR. SIEGEL: We've concluded. No further
18:10:31   7    questions.
18:10:32   8               THE VIDEOGRAPHER: This is the end of
18:10:32   9    the video deposition of Nikolay Dvas. Going off
18:10:40 10     the record at 6:10.
           11              (The deposition concluded at 6:10 p.m.)
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     1                     CERTIFICATE OF WITNESS
     2
     3               I, NIKOLAY DVAS, witness herein,
     4   do hereby certify and declare the within and
     5   foregoing transcription to be my examination
     6   under oath in said action taken on May 17,
     7   2018, with the exception of the changes
     8   listed on the errata sheet, if any;
     9               That I have read, corrected, and
   10    do hereby affix my signature under penalty
   11    of perjury to said examination under oath.
   12
   13
   14
   15
   16    ___________________________________         ____________
                NIKOLAY DVAS, Witness                    Date
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     1                    CERTIFICATE OF REPORTER
     2
     3               I, BRENDA MATZOV, CA CSR 9243, do hereby
     4   certify:
     5               That, prior to being examined, the witness
     6   named in the foregoing deposition was duly sworn
     7   by me to testify the truth, the whole truth, and
     8   nothing but the truth;
     9               That the foregoing deposition was taken
   10    before me at the time and place herein set forth,
   11    at which time the aforesaid proceedings were
   12    stenographically recorded by me and thereafter
   13    transcribed by me;
   14                That the foregoing transcript, as
   15    typed, is a true record of the said proceedings;
   16                And I further certify that I am not
   17    interested in the action.
   18
   19                Dated this 17th day of May, 2018.
   20
   21                _________________________________________
                     BRENDA MATZOV, CA CSR 9243
   22
   23
   24
   25

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                                      322



     1                          ERRATA SHEET
     2   Case:       ALEKSEJ GUBAREV, ET AL. vs. BUZZFEED,
     3               INC., ET AL.
     4   Date:       MAY 17, 2018
     5   Witness: NIKOLAY DVAS
     6
     7   Page _____ Line _____ Change _______________________
     8   Reason _____________________________________________
     9   Page _____ Line _____ Change _______________________
   10    Reason _____________________________________________
   11    Page _____ Line _____ Change _______________________
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   13    Page _____ Line _____ Change _______________________
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   19    Page _____ Line _____ Change _______________________
   20    Reason _____________________________________________
   21    Page _____ Line _____ Change _______________________
   22    Reason _____________________________________________
   23
   24    ___________________________________         ______________
                NIKOLAY DVAS, Witness                    Date
   25

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